            Exhibit G


Exhibit G
Amazon Kindle Fire
 In-App Purchase
 Usability Report


         Craig Rosenberg, Ph.D.

                 12/7/2015




  CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1

 2
     Table of Contents
 3

 4   Section 1: Introduction ..................................................................................................................1

 5      1.1 Educational and Professional Background and Qualifications .............................................5

 6   Section 2: Experiment Methodology ..........................................................................................11
 7      2.1   Test Subjects .......................................................................................................................11
 8      2.2   Location and Equipment .....................................................................................................12
        2.3   Procedure ............................................................................................................................14
 9      2.4   Tasks ...................................................................................................................................15
                2.4.1 Task 0: Demographic Survey.................................................................................16
10              2.4.2 Task 1: App Description Page ...............................................................................16
                2.4.3 Task 2: In-App Purchase Workflow ......................................................................20
11              2.4.4 Task 3: In-App Purchase Notification and Refund Process...................................22
12              2.4.5 Task Sequence .......................................................................................................23

13   Section 3: Data Analysis ..............................................................................................................25

14
     Section 4: Results .........................................................................................................................27
15
        4.1 Descriptive Statistics ...........................................................................................................27
16
        4.2 Results by Task ...................................................................................................................29
17           4.2.1 Task 1: App Description Page ...............................................................................29
             4.2.2 Task 2: In-App Purchase Workflow ......................................................................38
18           4.2.3 Task 3: In-App Purchase Notification and Refund Process...................................46
        4.3 Counterbalance Validity......................................................................................................48
19
     Section 5: Discussion....................................................................................................................50
20

21      5.1 App Description Page .........................................................................................................51
        5.2 FTUX Popups .....................................................................................................................53
22      5.3 Purchase Notifications and Refunds ...................................................................................56

23   Section 6: Conclusion ..................................................................................................................59
24
     Appendix A: craigslist Ad ...........................................................................................................61
25

26
     Appendix B: Screening Questions ..............................................................................................62
27

                                                                                                                                                        ii
                                 CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   Appendix C: Consent Form ........................................................................................................64

 2
     Appendix D: Facilitator Script ...................................................................................................66
 3
        Experiment Checklist .................................................................................................................66
 4
        Introduction ................................................................................................................................66
 5      Getting Started............................................................................................................................67
        Task 0 .........................................................................................................................................68
 6      Task 1 .........................................................................................................................................69
        Task 2 .........................................................................................................................................72
 7      Task 3 .........................................................................................................................................74
        Debrief ........................................................................................................................................75
 8

 9   Appendix E: Facilitator’s Visual Aid .........................................................................................76

10
     Appendix F: Task Flow ...............................................................................................................87
11

12   Appendix G: Survey Screenshots ...............................................................................................97
13
        Task 0 .........................................................................................................................................97
14      Task 1 .......................................................................................................................................104
        Task 2 .......................................................................................................................................121
15      Task 3 .......................................................................................................................................136

16   Appendix H: Curriculum Vitae ................................................................................................145
17
     Appendix I: Materials Considered ...........................................................................................155
18

19
     Appendix J: Study Data ............................................................................................................157
20

21

22

23

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                                 CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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 2
     Section 1: Introduction
 3

 4      This report presents the results of a usability test conducted to evaluate the user

 5   interface and workflow associated with Amazon Kindle Fire in-app purchases. Many

 6   applications (“apps”) available from the Amazon Appstore that run on the Kindle Fire
 7
     offer the ability for in-app purchasing. In-app purchasing allows Amazon customers to
 8
     buy add-on products within games and other apps. I understand that the Federal Trade
 9
     Commission (FTC) has alleged that Amazon’s in-app billing practices constituted an
10
     unfair business practice under the FTC Act, contending that Amazon customers have
11

12   incurred unauthorized in-app charges when a child is playing an app on a Kindle Fire

13   tablet linked to the account holder’s Amazon account.
14
        Specifically, I was asked to review the expert report of Jennifer King (October 16,
15

16   2015) and determine the validity of the conclusions reached in that report and, if

17   appropriate, to prepare a rebuttal report. I was first contacted by counsel for Amazon after

18   Ms. King published her expert report. Ms. King conducted a subjective, heuristic
19
     usability inspection of Amazon’s in-app purchase disclosures, purchase flow, and the
20
     process for customers to seek a refund. Ms. King’s opinions included her view that
21
     Amazon did not “effectively” convey to consumers “that children can incur in-app
22
     charges, that they can incur in-app charges without parental involvement, or that they
23

24   would have to change their device settings in order to prevent children from incurring in-

25   app charges without parental involvement.”1
26

27      1
            Expert Report of Jennifer King (October 16, 2015) at 68.

                                                                                                    1
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 1      In particular, Ms. King asserts that (1) “there is a lack of education material on the

 2   tablet that defines what [in-app purchases] are”; (2) the “Key Details badge” contained on
 3   the app-description page did not “effectively” convey to consumers “that children can
 4
     incur in-app charges, that they can incur in-app charges without parental involvement, or
 5
     that they would have to change their device settings to prevent children from incurring in-
 6
     app charges without parental involvement”; (3) the “Key Details badge” does not “work
 7

 8   together” with the in-app purchase notice and description contained on the app-

 9   description page and “alone must effectively convey the presence of [in-app

10   purchasing]”; (4) the text of the Key Details overlay “contains no direct discussion” of
11
     the “fact that [in-app purchases] have real costs associated with them that will result in
12
     charges to the customer’s Amazon account”; (5) customers must already be familiar with
13
     the term “in-app purchases” for the Key Details badge to have “any” impact; (6) the
14
     language of the Key Details badge, the Key Details overlay, and the in-app purchase
15

16   notice are “unnecessarily vague”; (7) account holders would not understand that they can

17   activate Parental Controls to limit or prevent unauthorized in-app purchases made by
18   others who are using a tablet linked to owner’s Amazon account; (8) the term “Parental
19
     Controls” ineffectively conveyed that account holders could restrict unauthorized
20
     purchases; (9) the dialog box presented beginning in May 2013 for all first-time in-app
21
     purchasers was ineffective for “many users”; (10) customers who read the May 2013
22

23   dialog box “may be confused” about its meaning; (11) the term “real money” was

24   confusing in the absence of a dollar amount or dollar sign; (12) customers may “assume”

25   that the May 2013 dialog box “is a routine security check rather than a financial
26   authorization”; (13) the text of the May 2013 dialog box is “not clear” and the term
27

                                                                                                   2
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 1   “future in-app purchases” is vague; and (14) Amazon did not effectively convey to

 2   consumers how to contact Amazon to request a refund for an unauthorized in-app
 3   purchase.
 4

 5      I designed a usability test to evaluate many of Ms. King’s subjective opinions and to

 6   assess whether Amazon Kindle Fire tablet interfaces, notifications, and descriptions
 7   associated with in-app purchases were so far below contemporary, accepted business
 8
     practices that they would have unfairly confused parents and resulted in significant
 9
     numbers of unwanted and non-refunded in-app purchases. In short, my usability test,
10
     designed according to accepted standards, would either corroborate or invalidate Ms.
11

12   King’s conclusions. This test was designed and performed to evaluate and assess how

13   clearly the current (and prior)) user interfaces communicate the availability and nature of

14   in-app purchasing, the availability and purpose of Parental Controls as a means to restrict
15   in-app purchasing, and the availability of contacting Amazon to request refunds for
16
     allegedly unauthorized purchases. The test also evaluates customers’ ability to contact
17
     Amazon to request a refund in the event of an unwanted purchase.
18

19      Contrary to Ms. King’s subjective opinions, the results of the usability test indicate
20
     that the availability and nature of in-app purchases was very clearly communicated to and
21
     understood by Kindle Fire users. Subjects reported and demonstrated very little confusion
22
     regarding the information that was provided to them on the Kindle Fire interfaces during
23

24   the in-app purchase process. Subjects well understood the description pages of apps that

25   supported in-app purchases as well as those that did not. Subjects well understood the

26   difference between incurring a cost to download an application and incurring a cost
27   associated with an in-app purchase. Subjects well understood confirmation screens that

                                                                                                   3
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   asked users to enter a password to approve an in-app purchase. Subjects well understood

 2   the purpose of Parental Controls as it relates to preventing future in-app purchases.
 3   Lastly, subjects well understood the content of the email receipt that is emailed to every
 4
     account holder when an in-app purchase is made and all subjects demonstrated various
 5
     successful ways that they could contact Amazon if they desired a refund.
 6

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 2   1.1            Educational and Professional
 3                  Background and Qualifications
 4      I hold a Bachelor in Science in Industrial Engineering, a Masters in Science and a
 5   Ph.D. in Human Factors from the University of Washington School of Engineering. For
 6
     over 25 years I have worked in the areas of human factors, user interface design, software
 7
     development, software architecture, systems engineering, and modeling and simulation
 8
     across a wide variety of application areas including aerospace, communications,
 9

10   entertainment, and healthcare.

11
        For the past 18 years, I have served as a consultant for Global Technica, Sunny Day
12
     Software, Stanley Associates, Techrizon, CDI Corporation, and the Barr Group. In this
13
     capacity I have provided advanced engineering services for many companies.
14

15
        I consulted for the Boeing Company for over 16 years as a senior human factors
16
     engineer, user interface designer, and software architect for a wide range of advanced
17
     commercial and military programs. Many of the projects that I have been involved with
18

19   include advanced software development, user interface design, agent-based software, and

20   modeling and simulations in the areas of missile defense, homeland security, battle

21   command management, networking and communications, air traffic control, location-
22
     based services, and Unmanned Aerial Vehicle (“UAV”) command and control.
23
     Additionally, I was the lead system architect developing advanced air traffic controller
24
     workstations and air traffic control analysis applications, toolsets, and trade study
25
     simulations for Boeing Air Traffic Management.
26

27

                                                                                                  5
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 1      I was also the architect of the Boeing Human Agent Model, which is an advanced

 2   model for the simulation of human sensory, cognitive, and motor performance as applied
 3   to the roles of air traffic controllers, pilots, and UAV operators. In another project, I was
 4
     the lead human factors engineer and user interface designer for Boeing’s main vector and
 5
     raster computer aided drafting and editing system that produces the maintenance
 6
     manuals, shop floor illustrations, and service bulletins for Boeing Commercial Aircraft
 7

 8   Company. Additional responsibilities in my time as a consultant include system

 9   engineering, requirements analysis, functional specification, use case development, user

10   stories, application prototyping, modeling and simulation, object oriented software
11
     architecture, graphical user interface analysis and design, as well as UML, C++, C#, and
12
     Java software development.
13

14      In 1995 and 1996, I was hired as the lead human factors engineer and user interface
15   designer for the first two-way pager produced by AT&T. Prior to this technology, people
16
     could receive pages but had no way to respond utilizing their pager. This new technology
17
     allowed users to use a small handheld device to receive and send canned or custom pages,
18
     access and update an address book, and access and update a personal calendar. This high
19

20   profile project involved designing the entire feature set, user interface/user interaction

21   design and specification, as well as all graphical design and graphical design standards.

22
        From 1999 to 2001, I was the lead human factors engineer and user interface designer
23

24   for Eyematic Interfaces, which was responsible for all user interface design and

25   development activities associated with real-time mobile hand held 3D facial tracking,

26   animation, avatar creation and editing software for a product for Mattel. My work
27

                                                                                                     6
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   involved user interface design, human factors analysis, requirements gathering and

 2   analysis, and functional specifications.
 3
        I was the lead user interface designer for a company called ObjectSpeed that
 4

 5   developed a portable handheld device for use in homes and businesses that had the many

 6   of the same capabilities that we take for granted in mobile cellular phones. This portable
 7   multifunction device supported email, chat, video conferencing, internet radio, streaming
 8
     media, Microsoft Outlook integration, photo taking and sharing, etc. The ObjectSpeed
 9
     device was specifically designed and developed as a portable handheld device.
10

11      I am the founder, inventor, user interface designer, and software architect of
12
     WhereWuz. WhereWuz is a company that produces advanced mobile software running
13
     on GPS-enabled smartphones and handheld devices. WhereWuz allows users to record
14
     exactly where they have been and query this data in unique ways for subsequent retrieval
15
     based on time or location. WhereWuz was specifically designed and developed to run on
16

17   small handheld devices.

18
        I am the co-founder of a medical technology company called Healium. Healium is
19
     developing advanced wearable and handheld user interface technology to allow
20

21   physicians to more effectively interact with electronic medical records. I am also the co-

22   founder of a medical technology company called StratoScientific. StratoScientific is

23   developing a handheld smartphone stethoscope that turns a handheld computer such as a
24
     smartphone, PDA, laptop, or tablet into a full featured digital stethoscope.
25

26      I designed and developed a large software project for Disney World called xGS that

27   allowed the operational employees of Disney World to utilize a handheld device to view

                                                                                                  7
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   the status of all of the guests within multiple attractions as well as within one of their

 2   restaurants. The application could run in a real-time/live mode where it would display
 3   data collected from sensors that showed the location and status of all guests within the
 4
     attraction; the application could also be run in a fast-time/simulated mode. The
 5
     application was developed on a laptop computer and was specifically designed to run on
 6
     a variety of handheld devices including laptops, PCs, smartphones, and tablets.
 7

 8
        I have received numerous awards for my engineering work relating to interface
 9
     design, computer graphics, and the design of spatial, stereographic, and auditory displays,
10
     including a $10,000 scholarship from the I/ISEC for advancing the field of interactive
11

12   computer graphics for flight simulation, a Link Foundation award for furthering the field

13   of flight simulation and virtual interface design. I have created graphics for several

14   popular book covers as well as animations for a movie produced by MIRAMAR. I have
15   published twenty-two research papers in professional journals and proceedings relating to
16
     user interface design, computer graphics, and the design of spatial, stereographic, and
17
     auditory displays.
18

19      I graduated from the University of Washington in 1988 with a B.S. in Industrial
20
     Engineering. After graduation, I continued my studies at the University of Washington.
21
     In 1990, I obtained an M.S. in Human Factors. In 1994, I graduated with a Ph.D. in
22
     Human Factors. In the course of my doctoral studies, I worked as an Associate Assistant
23

24   Human Factors Professor at the University of Washington Industrial Engineering

25   Department. My duties included teaching, writing research proposals, designing and

26   conducting funded human factors experiments for the National Science Foundation, as
27   well as hiring and supervising graduate students.

                                                                                                   8
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 1      While studying at the University of Washington, I also worked as a human factors

 2   researcher and designed and performed advanced human factors experiments relating to
 3   interface design, stereoscopic displays, and advanced visualization research, which was
 4
     funded by the National Science Foundation. My duties included user interface design,
 5
     systems design, software development, graphics programming, experimental design, as
 6
     well as hardware and software interfacing.
 7

 8
        Attorneys for Amazon.com first contacted and retained me for purposes of this report
 9
     on October 20, 2015.
10

11      I am being compensated for my work on this matter and my fee is not contingent on
12
     the outcome of this case or on any of my opinions or the technical positions I explain in
13
     this report. My rate of compensation if $500 per hour, and the rate for the two individuals
14
     assisting me is $250 per hour.
15

16      In the last four years, I have testified as an expert at trial or by deposition in the
17
     following cases:
18

19      x   Silver State Intellectual Technologies v. Foursquare, IPR2014-00159 (deposition)
20
        x   Silver State Intellectual Technologies v. Garmin, District of Nevada, 2:11-cv-
21
            01578-PMP-PAL (deposition and trial testimony)
22
        x   Select Retrieval v. Overstock, District of Delaware No. 1:11-cv-00812-RGA
23
            (deposition)
24

25      x   Location Labs v. Locatio.net, IPR2014-00199 (deposition)

26
        x   Intellectual Ventures v. Google, IPR2014-00787 (deposition)
27

                                                                                                   9
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 1      A detailed record of my professional qualifications, including a list of publications,

 2   awards, research grants, and professional activities, is set forth in my curriculum vitae
 3   that is attached to this report as Appendix H.
 4

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 2
     Section 2: Experiment
     Methodology
 3

 4

 5      A usability test was performed to evaluate what is understood by people using

 6   Amazon Kindle Fire tablet interfaces, notifications, and descriptions that are associated
 7
     with in-app purchasing. This test was carefully designed for neutrality to accurately
 8
     determine what subjects noticed and understood regarding the various interfaces related
 9
     to in-app purchases. Furthermore, the test was designed so that it would identify whether
10
     any of the tested interfaces, notifications, descriptions, and refund protocols associated
11

12   with in-app purchasing were so far below contemporary, accepted business practices that

13   they would have unfairly confused parents and resulted in significant numbers of
14   unwanted and non-refunded in-app purchases.
15

16
     2.1      Test Subjects
17

18      This usability test included 24 subjects (8 experienced Kindle Fire users and 16

19   inexperienced Kindle Fire users). There were a total of 28 people recruited for the study;
20   however, three did not appear and one untimely canceled. All of the subjects were
21
     previously unknown to the researchers and were recruited using a craigslist post that
22
     advertised the study as a mobile tablet study for parents or grandparents. The inclusion
23
     criteria were that all subjects must be over the age of 20 years, comfortable using a tablet
24

25   or smartphone, have at least one child or grandchild currently aged 13 or younger, and be

26   fluent in English. The subjects did not know anything about the purpose of the study until

27   the study was complete.

                                                                                                    11
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 1      A copy of the craigslist post and recruitment screening survey is provided in

 2   Appendices A and B respectively. There were two copies of the craigslist post, one in the
 3   “Community” section November 20-24, 2015, and the second in the “Gigs” section
 4
     November 21-24, 2015. Test subjects were each compensated $150 for their time.
 5

 6      Use of 24 subjects is consistent with the practice in the discipline, as is evident when
 7   considering similar studies published in books, peer reviewed journals, and proceedings.
 8
     For example, a usability study by Page (2014) to evaluate the adoption of touchscreen
 9
     mobile devices by older adults used four subjects. Werner, Werner, and Oberzaucher
10
     (2012) evaluated general usability of iPad tablets in a study with 11 adults over the age of
11

12   60 years old. Another study used 12 subjects to analyze user experience between apps

13   delivered on a mobile smartphone versus a PC desktop (Ryan & Gonsalves, 2005).

14   Madithil, Koikkara, Gramopadhye, and Greenstein (2011) utilized 15 subjects to study
15   the usability of consenting systems on touchscreen interfaces, including tablets. Several
16
     studies have tested the general usability and performance of e-book readers and used 10
17
     subjects (Siegenthaler, Wurtz, & Groner, 2010), 20 subjects (Pattuelli & Rabina, 2010),
18
     and 33 subjects (Bigson & Gibb, 2011). Similarly, (Siegenthaler, Schmid, Wyss, & Wurt,
19

20   2012) used 12 subjects to analyze reading behavior between LCD and e-ink tablets.

21

22

23

24   2.2      Location and Equipment
25      The experiment was performed at the Human Factors and Statistical Modeling Lab at
26
     the Seattle Campus of the University of Washington.
27

                                                                                                    12
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 1      Each subject was provided a Kindle Fire HD 6 tablet, a Windows laptop computer,

 2   and standard telephone for use during the test. The Kindle Fire and laptop computer were
 3   both connected to the Internet and the telephone was fully operational. They were also
 4
     provided the username and password for an active Amazon account.
 5

 6      Subjects completed an online survey using the laptop as they performed each task.
 7   The survey was created using Adobe Captivate 9 and the results were tracked using a
 8
     learning management system provided by Knowledge Anywhere. The survey displayed
 9
     one question at a time to each subject. In this way subsequent questions would not be
10
     able to influence the answers to previous questions. For the questions that required
11

12   interpreting information presented on the Kindle Fire HD tablet, the survey provided a

13   small thumbnail image to the user so that the user could be sure they were viewing the

14   correct stimulus on the Kindle Fire display. Figure 1 shows a typical survey screen and
15   screenshots for all screens are shown in Appendix G of this report.
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11
                                   Figure1.Typicalsurveyscreen
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13
     2.3      Procedure
14

15      Prior to running the test with live subjects, the experimental team performed three dry

16   runs with test subjects. In addition, the study facilitator performed numerous dry runs

17   with no subjects in order to perfect the delivery of the experiment.
18

19      All study sessions were led by the same facilitator, Erika Miller, who has experience

20   running hundreds of subjects through studies in a similar capacity. For some sessions a

21   second facilitator participated as well.
22
        The facilitator(s) led the subjects through the study, using a PowerPoint presentation
23

24   (see Appendix E) containing screenshots guiding the subjects through all of the tasks.

25   When content was presented on the Kindle Fire tablets, the facilitator(s) also observed
26   each subject to ensure they were viewing the correct content associated with the relevant
27

                                                                                                  14
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 1   question. The study included numerous stop points where activity ceased until all

 2   subjects had reached the same point.
 3
        To ensure consistency for all subjects, the instructions provided to the subjects were
 4

 5   read by the facilitator(s) from a script, included in Appendix D of this report.

 6

 7   2.4      Tasks
 8
        The study design included four different tasks:
 9

10
        x   Task 0 was a simple demographic survey that collected information about the
11          subjects, such as their gender, age, education, occupation, experience with Kindle
12          Fires, smartphones, and age of children or grandchildren.

13
        x   Task 1 related to the description of an app that is provided to a user before the
14          user purchases that app. If the app offers in-app purchasing, information relating
15          to in-app purchasing is also provided as part of this description.
16
        x   Task 2 related to the confirmation dialog box presented to users when they try to
17
            make their first an in-app purchase (testing both a version first implemented by
18          Amazon in May 2013 and a revised version implemented in June 2014). This
19          confirmation dialog box includes a request for an account password and provides
20          information about and the option to set Parental Controls to require a password

21          for future in-app purchases.

22      x   Task 3 related to the emailed order confirmation that is sent to Amazon account
23          holders immediately after completion of an in-app purchase, as well as the various
24          methods account holders use to contact Amazon to request a refund, if desired.

25

26

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 1       The stimuli for Task 1 and Task 2 were presented on the Kindle Fire. Task 3 was

 2   presented on a computer, as that would be a typical way to view and react to an email,
 3   particularly if the email arrived while a child or grandchild was using the Kindle Fire.
 4

 5       Some Task 2 activities were based on an older version of the user interface. Since

 6   these screens are no longer available live on a Kindle Fire, subjects were shown
 7   screenshots. The Kindle Fire was used to display all screenshots that relate to interfaces
 8
     that would be viewed on a Kindle Fire to ensure that the display was properly replicating
 9
     the interface (e.g., size, location, resolution, brightness) that a Kindle Fire user would
10
     experience. A series of full-size screenshots were saved in the photo viewer on each
11

12   Kindle Fire, and the test facilitator loaded the appropriate image onto the tablet as needed

13   to accomplish each task.

14
         Appendix F shows the task flow for each of the four tasks that were used in the study.
15

16

17   2.4.1      Task 0: Demographic Survey
18       A demographic survey was given at the outset to gather general information about
19
     each user (for example, gender, age, education, occupation, and age of children or
20
     grandchildren) and the users’ experience with smart devices such as smartphones and
21
     tablets.
22

23

24   2.4.2      Task 1: App Description Page
25       Task 1 evaluated subjects’ understanding of the information provided on the app-
26
     description page that Amazon customers see when selecting apps from the Amazon
27

                                                                                                    16
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 1   Appstore. This task evaluated two types of apps: apps that are free to download and

 2   (1) provide opportunities for in-app purchases and (2) do not provide opportunities for in-
 3   app purchases. The app “Jump Racer” was used to represent apps with opportunities for
 4
     in-app purchases (see Figure 2). The app “Jeweled Bricks” was used to represent apps
 5
     without opportunities for in-app purchases (see Figure 3).
 6

 7      Amazon Underground launched after the relevant time period and began labeling
 8
     apps as “Actually Free” in the description page. Therefore, only apps that did not include
 9
     this “Actually Free” reference were used in the study. Furthermore, for both types of apps
10
     (with and without opportunities for in-app purchases), only apps with app-description
11

12   pages that included “Key Details” badging were presented to the subjects. Also, the

13   application that had the opportunity for in-app purchases (“Jump Racer”) included the “+

14   Read More” feature, which when clicked would show the balance of the app-description,
15   including the text description for in-app purchases and Parental Controls.
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25   Figure2.“JumpRacer”appͲdescriptionpage(inͲapppurchasing)

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           CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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25   Figure3.“JeweledBricks”appͲdescriptionpage(noinͲapppurchasing)
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                                                                               19
              CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1      The subjects were asked seven questions (see Task 1 in Appendix G) regarding each

 2   subject’s interpretations for each app-description page. A
                                                              As discussed in Section 2.4.5 , the
 3   order of the apps presented was counterbalanced so that previous experimental conditions
 4
     would not affect the subject’s answers. As part of Task 1, subjects were asked to interpret
 5
     the “PLEASE NOTE” in-app purchase notice, and, as a separate subtask, subjects were
 6
     asked to interpret the “Key Details” badging and in-app purchasing popup definition. The
 7

 8   “PLEASE NOTE” and “Key Details” badging topics were also counterbalanced between

 9   subjects.

10

11   2.4.3       Task 2: In-App Purchase Workflow
12
        Task 2 evaluated the purchase workflow for the first-time in-app purchases as
13
     experienced by Amazon customers in May 2013 (“May 2013 First-Time User
14

15   Experience” or May 2013 FTUX”) and June 2014 (“June 2014 First-Time User

16   Experience” or “June 2014 FTUX”). For this task, the subjects were shown the May 2013
17   FTUX popup and June 2014 FTUX popup displayed to confirm an attempted first-time
18
     in-app purchase. In
                      I this scenario, the subjects were told that they had given their Fire
19
     tablet to their child/grandchild, who is playing a game. The child then gives the Fire
20
     tablet back to the subject with the popup showing. This task was randomized between
21

22   subjects as to which popup (May 2013 versus June 2014) was shown first to the subject.

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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               Figure4.May2013FTUX
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27             Figure5.June2014FTUX


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     CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1       There were two components to this task. The first was a timing task, where the

 2   subjects were instructed to flip over the Kindle Fire tablet and read the contents of the
 3   screen at the same pace they would if their child or grandchild had just handed them the
 4
     tablet. Prior to flipping over the Fire tablet to begin, the subjects clicked “Next” on the
 5
     computer survey, which started a timer unknown to the subjects. The subjects were told
 6
     to enter the word “password” and click the “Submit” button after they finished reading
 7

 8   the popup. Entering any text in the password box and clicking the submit button on the

 9   computer stopped each timer (i.e., it was not necessary to enter the correct password as

10   reading time was being measured and not accuracy of password typing).
11

12      The second component to this task asked the subjects a series of questions about their

13   understanding and interpretation of the information and options provided on the popup

14   screens.
15

16
     2.4.4      Task 3: In-App Purchase Notification and
17              Refund Process
18
        Task 3 evaluated the in-app purchase email notification and refund process. For this
19
     task, the subjects viewed an in-app purchase email receipt on the laptop and were told
20
     that they had received the email from Amazon. The subjects were then told that the
21

22   product identified in the email was either never purchased or was accidentally purchased

23   by their child or grandchild while using an app and the participants were instructed to go

24   about seeking a refund from Amazon for the unintended charge. The various survey
25
     questions in Task 3 asked the subjects to interpret the email.
26

27

                                                                                                   22
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1      This task was performed on the computer because it is more typical to receive email

 2   on a computer than to receive email on a Kindle Fire. This HTML-formatted email
 3   message included links that the subject could select as though the email had been
 4
     received via the subject’s inbox. The subjects also had access to an Internet browser (both
 5
     Microsoft Internet Explorer and Google Chrome) that they could use to find contact
 6
     information for Amazon customer support, if desired. Both Internet browsers were set to
 7

 8   a default home screen of www.washington.edu, which was selected as an unbiased page

 9   and not suggestive of using www.amazon.com or a search engine such as

10   www.google.com. The subjects were also provided an active Amazon username and
11
     password, which was paired to the email links.
12

13      In the survey questions, the subjects were first asked how they planned to contact

14   Amazon to request the refund. The subjects were then instructed to contact Amazon to
15   request the refund for the charge identified in the email in any manner they desired.
16
     Facilitators stopped the subjects just before they would reach Amazon (e.g., before
17
     dialing the phone or when they found the appropriate web form to contact customer
18
     support). During this last task where the user needed to determine how they would
19

20   contact Amazon regarding the in-app purchase, each participant was timed without their

21   knowledge. Lastly, the subjects were asked their subjective perception of how easy or

22   difficult it was to contact Amazon.
23

24
     2.4.5      Task Sequence
25
        Task 0 was a demographic survey and was always presented first. Task 3 was an
26

27   evaluation of the Amazon in-app purchase confirmation email and contacting Amazon


                                                                                                   23
                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   customer support and this task was always presented last. The order of Task 1 and Task 2

 2   as well as the subtasks within Task 1 and Task 2 were counterbalanced, with different
 3   subjects performing the tasks in different orders so as not to influence the results due to
 4
     previous exposure to the various experimental conditions. This counterbalancing was
 5
     accomplished by the facilitator instructing the subjects which subtask to perform at the
 6
     various branch points and by whether Tasks 1 or Task 2 was performed first.
 7

 8
        This resulted in four different variations. Of the six experiment sessions conducted,
 9
     two performed Order A, one performed Order B, one performed Order C, and two
10
     performed Order D. Due to scheduling and the failure of four subjects to appear, the
11

12   groups were not evenly balanced across all four orders, but the analysis verified that the

13   order of the tasks and subtasks did not affect subjects’ responses (see Section 4.3).

14
            x   Order A: (n = 9)
15

16                  o Task 1 > Task 1.1 > Task 1.2 > Task 2 > Task 2.1 > Task 2.2

17
            x   Order B: (n = 2)
18
                    o Task 1 > Task 1.2 > Task 1.1 > Task 2 > Task 2.2 > Task 2.1
19

20          x   Order C: (n = 3)
21
                    o Task 2 > Task 2.1 > Task 2.2 > Task 1 > Task 1.1 > Task 1.2
22

23          x   Order D: (n = 10)

24                  o Task 2 > Task 2.2 > Task 2.1 > Task 1 > Task 1.2 > Task 1.1
25

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        (CORRECTED, January 6, 2016)                                                               24
 1

 2
     Section 3: Data Analysis
 3

 4      The raw data was retrieved from the Knowledge Anywhere database using a SQL

 5   query. This output contained the applicable information for each question, including the

 6   question number, question text, answer type (e.g. fill-in versus choice), subject response,
 7
     and time to respond. Approximately 10,900 rows of data were generated and analyzed for
 8
     the subjects that participated in the test. The experimental data is available at Appendix J
 9

10      The raw data was then exported using R data analysis software (version 3.2.2) to
11   create a spreadsheet with one row per subject and two columns for each question (subject
12
     response and timing). Because the experiment was counterbalanced with subjects
13
     receiving questions in different order, the questions across subjects were matched based
14
     on the unique identifier for each question. Responses within topics were collapsed based
15

16   on the subject identifier number.

17
        Most of the questions called for open-ended responses. Prior to reviewing the data,
18
     the research team defined the various elements required in the response to each question
19

20   such that the response be deemed correct (rather than incorrect). Each response was

21   thereafter individually assessed and coded as either correct or incorrect. The researchers

22   conservatively coded responses; ambiguous responses were coded as incorrect to ensure
23   that the coding did not favor Amazon. In fact, often responses that were coded as
24
     incorrect could have been coded as correct because the words used indicate that the
25
     subject understood additional costs were involved and Parental Controls were available to
26

27

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   prevent those costs. Nonetheless, out of an abundance of caution, where a response was

 2   ambiguous, not necessarily erroneous, it was coded incorrect.
 3
        Once each response was coded, all data was tabulated and analyzed using the R
 4

 5   statistical software program to identify trends and extrapolate to the general public.

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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 2
     Section 4: Results
 3

 4
     4.1         Descriptive Statistics
 5
        General demographic information was collected on the subjects prior to beginning the
 6

 7   usability tasks. As displayed in Table 1, a comprehensive and applicable sample

 8   population was used in this experiment.

 9
     Table1.Demographicinformation
10
      Variable                          Response                     Count
11
                                        Male                         16
12    Gender
                                        Female                       8
13                                      20-29                        4

14                                      30-39                        9
      Age (years)                       40-49                        8
15
                                        50-59                        2
16                                      60-69                        1

17                                      Some High School             1
                                        High School Diploma          3
18
                                        Some College                 11
      Highest Level of Education
19                                      Associate Degree             1
                                        Bachelor Degree              6
20
                                        Graduate School              2
21

22
            In addition, the subjects were asked if they had at least one child or grandchild
23
     under the age of 14 years old; all subjects satisfied this criterion. The range of ages for
24
     children/grandchildren was 2 years to 13 years old, where many subjects had more than
25
     one child/grandchild within this age group. The mean age for children/grandchildren was
26

27   7.38 years old, with a standard deviation of 3.39 years.


                                                                                                   27
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1          Descriptive information was also gathered on user experience with smart devices,

 2   such as smartphones and tablets. Two subjects had never owned a smartphone and one
 3   subject had never downloaded an app onto a smart device. However, when asked during
 4
     the screening, all subjects stated they were comfortable using a smart device. Table 2
 5
     tabulates the responses for users’ experience with smart devices.
 6

 7   Table2.ExperiencewithSmartDevices
 8
     Question                                                            Response
 9

10   Have you ever owned a smartphone, such as an iPhone, Android
     Phone, or Windows Phone?
11

12

13
     Do you currently own a smartphone, such as an iPhone, Android
14   Phone, or Windows Phone?

15

16

17
     Have you ever owned an Amazon Kindle Fire tablet?
18

19

20

21
     Do you currently own an Amazon Kindle Fire tablet?
22

23

24

25   Have you ever downloaded an application (also known as an “app”)
     onto your smartphone or tablet?
26

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   4.2      Results by Task
 2
        The results from each of the three tasks are individually presented in this section.
 3

 4

 5
     4.2.1      Task 1: App Description Page

 6      There were two apps used in this task and all the subjects confirmed that they had
 7   never used or downloaded either of the two apps (“Jeweled Bricks” and “Jump Racer”).
 8
     Therefore, the subjects’ responses are representative of their interpretation of the content
 9
     controlled within the study, rather than from past experience.
10

11      Immediately after first viewing the app-description page for each app, the subjects
12
     were asked about what information was provided by the page. For
                                                                 F both apps, all 24
13
     subjects were able identify that the page contained content regarding general information
14
     about the app, such as game description, reviews, target ages, etc.
15

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25            Figure6.WhatinformationisprovidedbythisappͲdescriptionpage?
              Figure 6. What information is provided by this appͲdescription page?

26

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                                                                                                    29
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1      The second question that each subject was asked after navigating to the app-

 2   description page for each app was whether they thought it was possible to incur
 3   additional costs based on actions taken while using the app. T
                                                                  These results are shown in
 4
     Figure 7. For the app that provided opportunities for in-app purchases, none of the
 5
     subjects answered incorrectly, meaning all of the subjects (20) correctly understood or
 6
     were unsure (4) that it was possible to incur additional costs while using the app.
 7

 8   Answering unsure is not the same as answering incorrectly because those subjects admit

 9   that they do not fully know what is possible within the game play. Although 8 of the

10   subjects were unsure and 3 answered incorrectly about the app with no opportunity for in-
11
     app purchasing, their misconception (in the absence of any additional information on the
12
     screen) would not result in any accidental purchases made by children because that app
13
     does not contain any opportunities for in-app purchases.
14

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22     Figure7.Doyouthinkitispossibletoincuradditionalcostsbasedonactionstaken
       Figure 7. Do you think it is possible to incur additional costs based on actions taken
                                        whileusingtheapp?
                                        while using the app?
23

24
        The subjects were then asked questions relating specifically to the “PLEASE NOTE”
25
     in-app purchase description under “+ Read More” and the “Key Details” badging for the
26
     app with opportunities for in-app purchasing. The “PLEASE NOTE” and “Key Details”
27

                                                                                                 30
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   subtasks were tested separately, such that a subject was asked to review and interpret the

 2   “PLEASE NOTE” description, then review and interpret the “Key Details” badging and
 3   in-app purchasing description. The subtask was counterbalanced so that some of the
 4
     subjects answered questions about the “PLEASE NOTE” description first and the
 5
     remaining subjects answered questions about the “Key Details” badging first. For ease of
 6
     presentation and comparative purposes, the discussion and figures below address the
 7

 8   “PLEASE NOTE” and “Key Details” results together.

 9
        After viewing each of the “PLEASE NOTE” and “Key Details” concepts, subjects
10
     were also asked about how they could limit being charged money for actions taken while
11

12   using the app. The responses were coded as correct if they mentioned Parental Controls

13   setting up a password (see Figure 8). There were 48 total responses for the “PLEASE

14   NOTE” (24) and “Key Details” (24) questions with 45 correct answers. The sole
15   incorrect response regarding the “Key Details” content was so coded because the
16
     response was too vague, not because it was erroneous. IIn fact, the language suggests that
17
     like all other 23 subjects, even this subject understood that account holders could enable
18
     Parental Controls to prevent unauthorized in-app purchasing: “it is implied that you can
19

20   down [sic] this with parental controls. But, noyt [sic] specifically stated. I am not

21   certain.”

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                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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 8      Figure8.What,ifanything,doyouthinkyoucandoifyouwanttopreventbeing
        Figure 8. What, if anything, do you think you can do if you want to prevent being
                     chargedmoneyforactionstakenwhileusingtheapp?
                     charged money for actions taken while using the app?
 9

10      For both the “PLEASE NOTE” and “Key Details” concepts, the subjects were asked
11
     about their understanding of Parental Controls (Figure 9) and the term in-app purchasing
12
     (Figure 10). All but one subject correctly understood the purpose of Parental Controls in
13
     the context of in-app purchasing as described in the “PLEASE NOTE” description, and
14
     all but one subject correctly understood the meaning of Parental Controls in the context
15

16   of in-app purchasing as identified in the “Key Details” badging. T
                                                                      The sole incorrect

17   response about the “PLEASE NOTE” description was so coded because the subject
18   seemed to indicate that Parental Controls have the ability to monitor application usage.
19
     That said, the subject had a good understanding that Parental Controls were for parents or
20
     legal guardians and was used for applications: “Settings where parents or legal
21
     guardians can monitor other’s current application usage.” The sole incorrect response
22

23   within the “Key Details” badging was so coded because the response did not explicitly

24   mention that Parental Controls can prevent unauthorized in-app purchasing: “‘parental

25   controls’ allows me to monitor the content that my child is getting exposed to. I can set
26   the levels with regards to violence, language etc.”
27

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                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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 8       Figure9.Asitisdisplayedonthispage,whatisyourunderstandingof‘Parental
                   As it is displayed on this page, what is your understanding of ‘Parental
                                               Controls’?
                                               Controls’?
 9

10       With regard to Figure 10, 23 out of 24 subjects correctly understood the meaning of
11
     in-app purchasing as the term was used on the “Key Details” badging. The sole incorrect
12
     response within the “Key Details” badging was so coded because the subject indicated
13
     that the purchase was within the “site” rather than within the application, but the subject
14

15   clearly demonstrated that they were aware that an in-app purchase results in a purchase:

16   “making purchase while on this site.” All but one subject correctly understood the

17   meaning of in-app purchasing as the term was used in the “PLEASE NOTE” description.
18   The sole incorrect response within the “PLEASE NOTE” description was so coded
19
     because the response was too vague about purchases within an app, “buying while on
20
     this site.”
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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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 8    Figure10.Asitisdisplayedonthispage,whatdoyouunderstandthephrase‘InͲApp
                 As it is displayed on this page, what do you understand the phrase ‘InͲApp
                                        Purchasing’tomean?
                                        Purchasing’ to mean?
 9

10      All 24 subjects properly interpreted the phrase “which allows you to buy items within
11
     the app using actual money” to mean they would be charged real currency, withdrawn
12
     from their credit card on file with Amazon (see Figure 11).
13

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      Figure11.Asitisdisplayedonthispage,whatdoyouunderstandthephrase‘which
                 As it is displayed on this page, what do you understand the phrase ‘which
23
             allowsyoutobuyitemswithintheappusingactualmoney’tomean?
             allows you to buy items within the app using actual money’ to mean?
24

25      Subjects were asked one additional question about the “PLEASE NOTE” content,

26   which was a general question about what they understood by the information provided in
27   the “PLEASE NOTE” description (see Figure 12). All but three subjects correctly

                                                                                                34
                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   understood its meaning. Two of the three incorrect responses were so coded because their

 2   language implied that the user would have to purchase more content later in the future to
 3   continue playing the game. This misconception would not result in any accidental
 4
     purchases, however, because at this point the user thinks they will need to spend money
 5
     to progress in the future and still has the opportunity to choose not to download the app.
 6
     These responses were “You will be expected to purchase additional tools and features
 7

 8   via in-app purchasing” and “letting the costomer [sic] know that with buying the

 9   particular app you will have to purchase items later.” The third incorrect response was

10   so coded because it was too vague, though even it suggests that the subject understood
11
     that it meant purchases could be made within the app: “using this too [sic] buy w/ money
12
     using in-app site.”
13

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23
      Figure12.Asitisdisplayedonthispage,whatdoyouunderstandthistexttomean?
24

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1      Similarly, subjects were asked to interpret what they understood the “Key Details”

 2   badging to mean. All 24 subjects correctly identified that this content was to point out
 3   important information regarding the app; see Figure 13.
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14     Figure13.Asitisdisplayedonthispage,whatdoyouunderstandthephrase‘Key
       Figure 13. As it is displayed on this page, what do you understand the phrase ‘Key
15                                       Details’tomean?
                                         Details’ to mean?

16
        Before being instructed to tap on the “Key Details” badging to access the popup
17
     window with additional information, the subjects were asked what they understood the
18
     bullet point “In-App Purchasing” to mean (see Figure 14). All but three answers were
19

20   correct. Of the three responses coded incorrect, one misunderstood the question and

21   explained what happens when clicking on “Key Details”: “well when you click on the

22   key details section it brings up a more in depth description of what it means. (enhanced
23
     functionality, game content etc).” Another was coded incorrect because it implied that
24
     additional content would need to be purchased in the future to play the game, though
25
     even that response suggests that the subject understood that it meant purchases could be
26
     made within the app: “app will need further purchases to operate the app being
27

                                                                                                36
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   played.”. The last response was coded incorrect because it was vague and difficult to

 2   understand: “purchaseing [sic] this game while on site.”
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13       Figure14.Asitisdisplayedonthispageunder‘KeyDetails’text,whatdoyou
         Figure 14. As it is displayed on this page under ‘Key Details’ text, what do you
                     understandthephrase‘InͲAppPurchasing’tomean?
                     understand the phrase ‘InͲApp Purchasing’ to mean?
14

15      The subjects were then instructed to tap on the “Key Details” badge and read the
16
     content under “In-App Purchasing” in the popup window. After reading this content, they
17
     were asked their understanding of the displayed text. All 24 subjects were able to
18
     correctly state that the app would allow opportunities to make purchases within the app
19

20   using actual money (see Figure 15).

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                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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10    Figure15.Asitisdisplayedonthispage,whatdoyouunderstandthetextunder‘InͲ
      Figure 15. As it is displayed on this page, what do you understand the text under ‘InͲ
11                                   AppPurchasing’tomean?
                                     App Purchasing’ to mean?

12
     4.2.2        Task 2: In-App Purchase Workflow
13

14       Subjects were provided screenshots of the May 2013 FTUX and June 2014 FTUX

15   first-time in-app purchase confirmation popup. The subjects on average spent 10 more
16   seconds reading the June 2014 FTUX than reading the May 2013 FTUX.2
17

18   Table3.Timetoreadandinputpassword:May2013vs.June2014FTUX

19
                                                             Time (seconds)
20   FTUX Popup
                           Mean           Standard Deviation               Minimum                  Maximum
21     May 2013             25.17                  6.82                        15                       39

22    June 2014             35.79                  12.54                       25                       83

23

24

25
         2
           A paired t-test was used to compare the timings to read each FTUX, on a participant level. The results
26   showed that there was a mean difference of 10.625, for p < 0.001. This indicates that there was a significant
     difference between each subject’s times to read the two FUX popups. More specifically, the June 2014
27   FTUX took on average 10.625 seconds longer to read as compared to the May 2013 FTUX. The results of
     the timings between these two displays are provided in Table 3.

                                                                                                                     38
                           CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1          After reading each FTUX popup, the subjects were asked questions regarding

 2   their understanding of each screen. The first question for each task asked subjects, “What
 3                                 A 24 subjects correctly identified the primary purpose of
     is the purpose of this page?” All
 4
     the May 2013 FTUX as asking whether they confirm an in-app purchase; 23 subjects
 5
     correctly identified the same for the June 2014 FTUX (Figure 16). The one incorrect
 6
     response for June 2014 failed to identify the purpose of confirming the current in-app
 7

 8   purchase (noting that the purpose was “[t]o inform you that a purchase has just been

 9   made”).

10

11          Subjects were then asked, “What are your options as described by this page?”
12
     This question was designed to test whether the subject identified the option of turning on
13
     Parental Controls to require a password for future in-app purchases. For the May 2013
14
     FTUX, 21 subjects correctly identified that option and 22 subjects identified that option
15
     in response to the June 2014 FTUX (Figure 17). The three incorrect responses for the
16

17   May 2013 FTUX did not identify the option to require a password for future in-app

18   purchases: “Enter your password to complete purchase” and “to buy or not to buy” and
19   “you can allow a purchase by giving password and this password will also be required
20
     for any future purchases.”
21

22
            The two incorrect responses for the June 2014 FTUX are listed below. In the first
23
     response, the subject did not know if he or she could cancel the in-app purchase: “Im
24

25   [sic] not sure if you can stop the purchase just made the child or not- it is unclear to

26   me from the wordikng [sic]. Yo may set a password tocpnfirm [sic] future purchasing

27   or choose to allow no password confirmation for future purchasikng [sic].” In the

        (CORRECTED, January 6, 2016)                                                              39
 1   second response, the subject failed to address the Parental Controls aspect of the dialog:

 2   “to require a password.”.
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12
                           Figure16.Whatisthepurposeofthispage?
                           Figure 16. What is the purpose of this page?
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22

23                 Figure17.Whatareyouroptionsasdescribedbythispage?
                   Figure 17. What are your options as described by this page?

24
            Figure 18 through Figure 20 provide the results for questions that were asked
25
     identically between the two FTUX popups. For the question asking what would happen if
26

27   the subject closed the screen without entering the password (Figure 20), there were three


                                                                                                  40
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   incorrect responses. One of the responses was so marked incorrect because it addressed

 2   only issues pertaining to Parental Controls, not that it was erroneous with respect to
 3   canceling the particular in-app purchase: “No limits will be set on my account unless I
 4
     take the step to go to Parental Controls and set limits.” Another was so marked incorrect
 5
     because it simply reiterated the question, not that it was erroneous with respect to
 6
     canceling the particular in-app purchase: “it will close.”
 7

 8
            For the June 2014 FTUX, the sole response coded incorrect for interpreting the
 9
     meaning of Parental Controls was so coded because it was too vague as to what the
10
     subject meant: “on adults are too use for their use.” There were three answers coded
11

12   incorrect for the question asking about the consequences of closing the window without

13   entering the password. Two of the responses were coded incorrect because they did not

14   address what would happen regarding the in-app purchase, not because they were
15   erroneous: “it will close” and “i think it will go back to the main page of the app,
16
     homepage, etc.”
17

18

19

20

21

22

23

24

25
        Figure18.Asitisdisplayedonthispage,whatisyourunderstandingof‘Parental
        Figure 18. As it is displayed on this page, what is your understanding of ‘Parental
26
                                              Controls’?
                                              Controls’?
27

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 9
     Figure19.What,ifanything,doyouthinkyoucandotopreventbeingchargedmoney
     Figure 19. What, if anything, do you think you can do to prevent being charged money
10                foractionstakenwhileyourchild/grandchildusetheapp?
                  for actions taken while your child/grandchild use the app?
11

12

13

14

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16

17

18
     Figure20.Whatdoyouthinkwillhappenifyouclosethescreenwithoutenteringyour
     Figure 20. What do you think will happen if you close the screen without entering your
19                                        password?
                                          password?
20

21          The subjects were asked additional questions about the May 2013 FTUX and June

22   2014 FTUX using varying wording depending on the specific text usedd for the individual

23   dialog box. The results are provided in Table 4.
24

25

26

27

                                                                                               42
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 1   Table4.InterpretationsofthetwoFTUXpopups

 2   FTUX Popup        Question                                                          Response

 3                                 p y on this page,
                       As it is displayed        p g , what do you
                                                               y understand the          Correct: 24
     May 2013          phrase
                       p        “which allows you
                                              y to buy items inside the app using
                       real money” to mean?                                              Incorrect: 0
 4
                       As it is displayed
                                   p y on this page,
                                               p g what do you
                                                             y understand the            Correct: 23
 5   May 2013
                       phrase “This app contains in-app purchasing” to mean?             Incorrect: 1
 6                     As it is displayed
                                   p y on this page,
                                               p g , what do you understand the          Correct: 23
     June 2014
                       phrase “In-App Purchase” to mean?                                 Incorrect: 1
 7
                       What do you think will happen if you enter your password and      Correct: 21
     May 2013
 8                     select “Continue”?                                                Incorrect: 3

 9                     What do you think will happen if you select “Do not require a     Correct: 22
     June 2014         password for future purchases,” enter your password, and
                       select “Continue”?                                                Incorrect: 2
10
                       What do you think will happen if you select, “Require a           Correct: 23
11   June 2014         password for future purchases (turns on Parental Controls),”
                       enter your password, and select “Continue”?                       Incorrect: 1
12
                       As it is displayed
                                    p y on this page,
                                                    p g what do you
                                                                  y understand the       Correct: 22
13   May 2013          phrase
                       p        “If you’d
                                    y     like to require
                                                    q     a password
                                                            p        for future in-app
                       purchases, please turn on Parental Controls” to mean?             Incorrect: 2

14                     As it is displayed on this page, what do you understand the       Correct: 24
     June 2014         phrase “Do not require a password for future purchases” to
15                     mean?                                                             Incorrect: 0

                       As it is displayed
                                   p y on this page,
                                                p g what do you y understand the         Correct: 23
16   June 2014         phrase
                       p        “Require
                                    q    a password
                                           p        for future purchases (turns on
                       Parental Controls)” to mean?                                      Incorrect: 1
17

18      For the May 2013 FTUX, all 24 subjects correctly understood that “buying items

19   inside the app using real money” would cost them actual currency from their credit card
20
     on file with Amazon.
21

22      In the second row of Table 4, 23 out of 24 subjects correctly answered the question

23   about the meaning of applications that contain in-app purchases. The sole incorrect
24   response was so coded because the subject did not indicate why he or she would be
25
     charged, even though the subject seems to well understand that he or she would need to
26
     access an electronic form of payment and therefore presumably be charged once that
27

                                                                                                        43
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 1   electronic form of payment was accessed: “You need access to an electronic form of

 2   payment.” The one response coded incorrect for the June 2014 FTUX was so coded
 3   because it was too vague, not because it was erroneous: “purchasing in-house apps.”
 4

 5      All but three subjects correctly understood what would occur on the May 2013 FTUX

 6   if they entered their password and continued. Two responses were coded incorrect
 7   because they did not mention that the in-app purchase would be completed, though even
 8
     those responses suggest that the subjects understood the process would be completed: “it
 9
     will go bac [sic] to app” and “it will continue too [sic] site.” All but two subjects
10
     correctly understood what would occur on the June 2014 FTUX when the “Do not require
11

12   a password for future purchases” option was selected. One response was coded incorrect

13   because the subject thought there would be a follow-up popup window that confirmed the

14   future password requirement decision, though even that response suggests that the
15   specific purchase would require a password and additional passwords may still be
16
     required: “it will most likely still make me type in the password for this purchase and
17
     perhaps confirm with a question whether or not i want to remove the password
18
     requirement for future purchases for sure.” All but one subjectt correctly understood
19

20   what would occur on the June 2014 FTUX when the “Require a password for future

21   purchases (turns on Parental Controls)” option was selected. The sole incorrect response

22   was so coded because the answer was too vague, not because it was erroneous: “it will
23
     continue on”.
24

25      For the May 2013 FTUX, the subjects were asked about their understanding of the

26   phrase “if you’d like to require a password for future in-app purchases, please turn on
27   Parental Controls.” All but one subject correctly understood the meaning of that phrase.

                                                                                                44
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 1   The vast majority of the subjects answered this question correctly. There were two

 2   responses out of 24 that were coded as incorrect. One of the responses was coded
 3   incorrect because the response indicated that the subject was not sure if the current
 4
     purchase could be immediately canceled, though even that response indicates that the
 5
     subject understood that settings were available to control future purchases: “meaning
 6
     that maybe you can not stop the transaction in process but can set your settings to
 7

 8   control how purchases are approved in the future”. The other response that was coded

 9   incorrect was coded as such because the subject did not talk about the need for users to

10   provide a password when trying to make in-app purchases in the future. That said, the
11
     response revealed that the subject realized that users would need to provide a password:
12
     “In order to turn on this feature you need to provide a password.”
13

14      All 24 subjects correctly understood that the option in the June 2014 FTUX for “do
15   not require a password for future purchases” meant that future in-app purchases could be
16
     made without entry of a password. All but
                                           b one subject correctly understood the meaning
17
     of the option “Require a password for future purchase (turns on Parental Controls)” in the
18
     June 2014 FTUX. T
                     The sole response coded incorrect was so coded because the subject
19

20   did not appear to understand the context of the question: “Make it so that if you think

21   your password is compromised, you can change on PC and the tablet will double

22   check.”
23

24

25

26

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                                                                                                  45
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   4.2.3       Task 3: In-App Purchase Notification and
 2
                 Refund Process

 3       The subjects were asked their understanding of the information provided in the in-app
 4   purchase order-confirmation email. The summary of their responses is provided in Table
 5
     5. Note that for this task, the computer system failed to record one of the subject’s
 6
     responses for some of the questions; therefore, there are only a total of 23 responses for
 7
     some of the questions related to the last part of this Task 3. Of the 11 total survey
 8

 9   questions asked within Task 3, responses to four questions were collected by all 24

10   subjects.

11
         All of the subjects correctly answered the questions about the information provided
12

13   by the email order confirmation; everyone identified what information was provided in

14   the email, what product was ordered, when it was ordered, and how much the credit card

15   had been charged.
16
     Table5.Interpretationsofemailnotification
17

18   Question                                                                 Correct    Incorrect
     What information is provided by this email?                                24           0
19
     As described in this email, what is the name of the product that has
                                                                                24           0
20   been ordered?
     As described in this email, when was this product ordered?                 24           0
21
     If you received this email, do you think your credit card on file with
                                                                                24           0
22   Amazon has been charged for buying this product?
     How much money do you think your credit card on file with Amazon
23                                                                              23           0
     has been charged for this order?
24
         Before the subjects were told they were going to actually contact Amazon, they were
25
     asked what methods they would use to contact Amazon to request a refund. Their
26
     responses about which modality they would use are summarized in Table 6. Note that for
27

                                                                                                     46
                          CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   this task their computer screen displayed the email notification, which may explain why

 2   so many subjects referenced the links within the email.
 3
     Table6.PossiblewaystocontactAmazontorequestrefund
 4

 5   Question                                                     Modality              Count
                                                                  www.amazon.com        4
 6
                                                                  Links in email        10
 7   What possible way or ways could you try to contact
                                                                  Online chat           2
     Amazon and request a refund from Amazon?
 8                                                                Phone                 6
                                                                  Email                 6
 9
                                                                  Unsure                1
10                                                                www.amazon.com        3
11                                                                Links in email        4

     Are there other possible ways to contact Amazon to request   Online chat           4
12
     a refund? Please identify.                                   Phone                 6
13                                                                Email                 2
14                                                                Amazon Appstore       1
                                                                  Unsure                6
15

16      All subjects were successfully able to contact Amazon to request a refund (that is, all

17   of the subjects located the pertinent information to call Amazon directly, have Amazon
18
     call them, begin an online chat with customer service, or complete the online form, at
19
     which point the facilitator told the subject he or she was finished). The methods the
20
     subjects tried included visiting www.amazon.com, www.google.com, locating a phone
21
     number, online chat, and email. It took the subjects an average of 5.26 minutes to contact
22

23   Amazon, with a standard deviation of 3.72 minutes. However, outliers substantially

24   skewed this, where the range was 14 seconds to 15.9 minutes. The subjects were also
25   asked their subjective perception of how easy or difficult it was to contact Amazon,
26
     which was based on a 5-point Likert scale. The results of this are provided in Table 7.
27

                                                                                                  47
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 1   Table7.LikertscaleondifficultytocontactAmazon

 2        Question: How difficult was it to contact Amazon before the facilitator told you to stop?

 3     Very Easy              Easy               Neutral              Difficult        Very Difficult

 4          1                    2                   9                    8                    3

 5
        Not surprisingly in light of the subjective nature of the question, responses to the
 6

 7   question on how difficult to contact Amazon include some anomalous results. For

 8   example, one subject who said the task was “very difficult” completed it in 1:54. Two

 9   subjects deemed the task “difficult” despite completing it in 14 seconds and 2:26,
10   respectively. The former of these two subjects considered the task “difficult” because she
11
     “was using someone else[’]s name and purchases.” A subject who completed the task in
12
     41 seconds answered “Neutral.” By comparison, a subject who completed the task in 5:10
13
     responded that it was “easy” to contact Amazon.
14

15

16   4.3        Counterbalance Validity
17
        The order of Tasks 1 and 2, as well as the subtasks within Task 1 and Task 2 were
18
     counterbalanced across participants. There were four variations of ordering that were
19
     used in the experiment (see Section 2.4.5). By controlling the order of the tasks, the
20

21   results are robust against variation due to exposure within the study (e.g., knowledge

22   acquired and carried across tasks or adjusting to experiment setting).

23
        There were very few responses that were incorrect; in fact, many of the questions had
24

25   no incorrect responses and several only had one incorrect response. Therefore, a

26   statistical analysis on differences between the groups would not yield significant power.

27   However, it is apparent from analyzing the data that the distribution of incorrect

                                                                                                        48
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   responses was not correlated with the ordering of the tasks. Therefore, these results are

 2   not subjective based on exposure.
 3

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 1

 2
     Section 5: Discussion
 3

 4      The results of the usability study overwhelmingly indicate that subjects understood

 5   the various interfaces and workflow associated with Amazon Kindle Fire in-app

 6   purchases.
 7

 8      Parents and grandparents with children/grandchildren under the age of 14 years old

 9   participated in this study. All of the subjects were comfortable using a smart device given

10   their responses from the initial screening questions. The cohort included people with and
11   without experience using an Amazon Kindle Fire. The sample population used in this
12
     study was an accurate representation of the general public: the study included males and
13
     females, a comprehensive assortment of age groups, and a wide range of education levels.
14

15      The study counterbalanced experiment tasks and subtasks to account for exposure.
16
     Furthermore, the study was designed to be as unbiased as possible, in order to accurately
17
     evaluate what subjects understood and noticed regarding the various interfaces associated
18
     with in-app purchases. The majority of the questions asked for short-answer (fill-in the
19

20   text box) responses from the subjects. This eliminated the potential for the study to

21   provide suggestive answers (e.g., multiple choice). The open-ended questions were

22   categorized as either incorrect or correct by the research team. Prior to reviewing the
23   responses, a criterion for each question’s response was determined. In cases where the
24
     subject’s response was unclear, the response was marked as incorrect to ensure
25
     conservative results that did not improperly favor Amazon.
26

27

                                                                                                   50
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1      None of the participants had ever played or downloaded any of the apps used in the

 2   analysis. Therefore, their responses were not subject to influence through past
 3   experiences with the apps.
 4

 5
     5.1        App Description Page
 6

 7      Task 1 tested the following opinions offered by Ms. King:

 8          x   The in-app purchasing notice and “Key Details badge” contained on app-
                description pages “does not effectively convey to consumers that children can
 9
                incur IAPs [in-app purchases], that they can incur in-app charges without
10              parental involvement, or that they would have to change their device settings
                to prevent children from incurring in-app charges” (p. 32);
11

12          x   The text of the Key Details overlay “contains no direction discussion” of the
                “fact that IAPs have real costs associated with them that will result in charges
13              to the customer’s Amazon account” (p. 27);
14
            x   Customers must already be familiar with the term “in-app purchases” for the
15              Key Details badge to have “any” impact (p. 30);
16
            x   The language of the Key Details badge, the Key Details overlay, and the in-
17              app purchase notice are “unnecessarily vague” (p. 30);

18          x   Account holders would not understand that they can activate Parental Controls
19              to limit or prevent unauthorized in-app purchases made by others who are
                using a tablet linked to owner’s Amazon account (pp. 30-31); and
20
            x   The term “Parental Controls” ineffectively conveyed that account holders
21
                could restrict unauthorized purchases (p. 31).
22
        The test results are wholly inconsistent with the above-listed opinions of Ms. King.
23
     All of the subjects clearly identified what type of information was presented on the app-
24
     description page (Figure 6). After viewing the app-description page and being asked if
25

26   there was potential to incur additional costs based on actions taken while using the app,

27   there was very little confusion that would have resulted in unwantedd charges (Figure 7).

                                                                                                   51
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 1   The majority of the subjects correctly identified that the app without opportunity for in-

 2   app purchases would not result in additional costs. Although some subjects were unsure
 3   or incorrect in their interpretations, this misconception could not have resulted in
 4
     additional costs to the consumer.
 5

 6      For the app with in-app purchase opportunity, none of the subjects incorrectly
 7   interpreted the information (Figure 7). In other words, zero subjects said there was no
 8
     opportunity to incur additional charges. When asked to identify possible ways to prevent
 9
     being charged money for actions taken while using the app, 92% correctly answered after
10
     reading “PLEASE NOTE” content and 96% correctly answered
                                                            d after reading the “Key
11

12   Details” content (Figure 8).

13
        After reading the “PLEASE NOTE” content, 96% of the subjects correctly
14
     understood Parental Controls (Figure 9) and 96% understood the phrase “in-app
15
     purchasing” (Figure 10). After
                               f reading the “Key Details”
                                                  Details” content, 96% understood
16

17   Parental Controls (Figure 9) and 96% understood the phrase “in-app
                                                                    a purchasing” (Figure

18   10). All of the subjects were able to correctly interpret the phrase “which allows you to
19   buy items within the app using actual money.” (Figure 11). Furthermore, after viewing
20
     the popup by selecting “Key Details” and reading the section about in-app purchasing,
21
     100% of the subjects correctly described the meaning of in-app purchasing (Figure 13)..
22

23      King indicated that it was inadvisable to “wait until the end of the checkout process”
24
     to discuss in-app purchasing (p. 21). These results indicate that there is ample previous
25
     disclosure about in-app purchasing prior to “checking out.” This disclosure is provided
26

27

                                                                                                  52
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   by the “Key Details” badging, the “PLEASE NOTE” indication, and the “Key Details”

 2   popup, and the study indicated that this information was well understood.
 3

 4
     5.2        FTUX Popups
 5

 6      Task 2 tested Ms. King’s opinions aboutt the May 2013 FTUX and June 2014 FTUX.

 7   Ms. King opined that:

 8          x   The dialog box presented beginning in May 2013 for all first-time in-app
                purchasers was ineffective for “many users” (pp. 36-39);
 9

10          x   Customers who read the May 2013 dialog box “may be confused” about its
                meaning (p. 37);
11

12          x   The term “real money” was confusing in the absence of a dollar amount or
                dollar sign (p. 37);
13

14          x   Customers may “assume” that the May 2013 dialog box “is a routine security
                check rather than a financial authorization” (pp. 37-38);
15
            x   The text of the May 2013 dialog box is “not clear” and the term “future in-app
16
                purchases” is vague (p. 38).
17
        On the contrary, the results from the May 2013 and June 2014 FTUX in-app purchase
18
     workflow show that Amazon clearly communicated the relevant information to
19
                                                    Although King is critical of the wording
     parents/grandparents across both time periods. A
20

21   and design of the FTUX popups, the study results demonstrate that they communicate

22   clearly and effectively.
23
        Despite the shorter text of the May 2013 FTUX, subjects understood that the popup
24

25   provided the option to require a password for future in-app purchases nearly as well as

26   when shown the revised and expanded content within the June 2014 FTUX. For the May

27   2013 FTUX, 88% of the subjects understood the options that were available to them as

                                                                                                 53
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   presented in the popup (Figure 17), and 96% understood what Parental Controls were and

 2   how to prevent being charged for actions taken while their child/grandchild use the app
 3   (Figure 18). After reading the May 2013 FTUX, all off the subjects understood the
 4
     meaning of the phrase “which allows you to buyy items inside the app using real money”
 5
     (Table 4).
 6

 7      King indicated that there may be some customer confusion over the use of the term
 8
     “real money” in the in-app purchasing confirmation prompt to indicate that actual costs
 9
     would be incurred (p. 37). All study participants understood “real money” to mean that
10
     their credit card on file with Amazon would be charged.
11

12
        For the June 2014 FTUX, 23 out of 24 subjects (96%) understood the purpose of the
13
     page (Figure 16) and the meaning of Parental Controls (Figure 18). After reading the
14
     June 2014 FTUX, all of the subjects were able to identify how to prevent being charged
15
     money for actions taken while their child/grandchild used the app (Figure 19). Although
16

17   3 out of 24 subjects incorrectly interpreted what would happen if they close the screen

18   without entering their password (Figure 20), this misconception would not have resulted
19   in additional or unwanted charges.
20

21      When asked about the term in-app purchasing, 96% correctly defined it after reading

22   the May 2013 FTUX and 96% also correctly defined it after reading June 2014 FTUX

23   (Table 4). When asked specifically about their options within the popup, 21 out of 24
24
     correctly stated what would happen if they selected continue (May 2013 FTUX), 22 out
25
     of 24 correctly stated what would happen if they selected “Do not require a password for
26
     future purchases” and “Continue” (June 2014 FTUX), and 23 out of 24 correctly stated
27

                                                                                                54
                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   what would happen if they selected “Require a password for future purchases” and

 2   “Continue” (June 2014 FTUX) (Table 4). Moreover, 22 out of 24 correctly understood
 3   the phrase “If you’d like to require a password for future in-app
                                                                   a purchases, please turn on
 4
     Parental Controls” after reading the May 2013 FTUX (Table 4). All 24 correctly
 5
     understood the meaning of the phrase “Do not require a password for future purchases”
 6
     on the June 2014 FTUX, and 23 out of 24 correctly understood the meaning of the phrase
 7

 8   “Require a password for future purchases (turns on Parental Controls)” on the June 2014

 9   FTUX (Table 4).

10
        King indicated that customers presented with the May 2013 FTUX may not
11

12   understand that, by entering a password to authorize an in-app purchase, they were

13   permitting in-app purchases to occur without password entry (pp. 36-37). I believe that

14   the dialog box is quite clear in the regard. The May 2013 prompt stated: ““If you’d like to
15   require a password for future purchases, please turn on Parental Controls.” Study
16
     participants had no trouble correctly understanding this language.
17

18      With regard to the in-app purchasing verification window, King also indicates that
19   “the only direct action one can take in this window other than to cancel is to enter one’s
20
     password” (p. 37). It is not clear to me whatt other action should be available, as for the
21
     vast majority of users this should be a binary decision point: enter a password to make the
22
     purchase or click Cancel to decline the purchase. Introducing other options would clutter
23

24   the dialog box, potentially require scrolling, and generally make the dialog box more

25   difficult to understand or use.

26

27

                                                                                                   55
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   5.3      Purchase Notifications and Refunds
 2
        The results from the study also indicate that Amazon clearly communicated
 3
     information regarding the notification that an in-app purchase was made. After viewing
 4

 5   the in-app purchase notification email, all of the subjects were able to correctly interpret

 6   the information provided. All of the subjects were able to clearly state what information

 7   was provided in the email, the name of the product that had been ordered, when it had
 8   been ordered, and how much the credit card had been charged.
 9

10      When asked how they would seek a refund from Amazon for the purchase, 22 out of

11   23 subjects (a computer malfunction caused one subject’s data to not be collected) were
12   able to identify pertinent modalities of communication (Table 5). Even though the survey
13
     questions relating to contacting Amazon were only collected for 23 of the subjects, all 24
14
     subjects attempted to contact Amazon for a refund. All 24 subjects successfully reached
15
     the point where they were about to commence a connection with Amazon customer
16

17   service (e.g., dial the phone number, open an online chat). The average time it took

18   subjects to reach this point was 5.26 minutes, with a range from 14 seconds to 15.9

19   minutes. Nearly 40% of the subjects completed the task in under 3 minutes, while nearly
20   75% completed the task in 6:12 or under.
21

22      As noted above, some of the responses describing how difficult it was to contact

23   Amazon reveal inconsistencies across subjects when compared against the time it took to
24   complete the task. For example, it is difficult to reconcile the response that it was
25
     “difficult” to contact Amazon for the subject who completed the task in 14 seconds. The
26
     responses also demonstrate the importance of an individual’s expectations, as some
27

                                                                                                    56
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   subjects considered the task “difficult” or “very difficult” when completing it in under

 2   3 minutes, while another subject who finished in just over 5 minutes thought it was
 3   “easy” to contact Amazon.
 4

 5       With regard to subjects’ expectations, it should be noted that Amazon’s reputation for

 6   excellent customer service is well known. Subjects were not asked to contact the
 7   customer service department for any other company, nor were they asked their perception
 8
     of how difficult it was to contact Amazon in comparison to their experience with any
 9
     other company. It is my opinion that the responses could have been influenced by
10
     subjects’ high expectations for Amazon and their consideration of the task in isolation,
11

12   without comparison to other companies.

13
         Regarding the time required to contact Amazon, although the experimenters tried to
14
     create an environment that was as close as possible to the environment that the users
15
     would experience at home, it is important to note that this task may have been more
16

17   difficult and more complex than it would have been if experienced in the user’s home

18   environment. For example, subjects were in a room with up to four other people
19   completing the same task. It is difficult to determine if this setting accidentally tunneled
20
     subjects towards one modality, when they may have tried something else if they had been
21
     at home. Also, there are many ways to reach Amazon’s Contact Us page, but many
22
     require multiple clicks.3 Although the facilitator told subjects it was not a race, the
23

24   presence of others in the room may also have led some subjects to start down a path to

25
         3
           Amazon’s Supplemental Responses and Objections to Plaintiff’s Third Set of Interrogatories
26   (September 28, 2015), at 2-12. For example, the Contact Us page can be reached by clicking on “Your
     Apps and Devices” in a confirmatory email, then selecting “Customer Service” on the left of the screen;
27   similarly, clicking on “Your Account” or the Order ID in a confirmatory email, then clicking “Help,” will
     provide numerous routes to reach the Contact Us page with one or two additional clicks.

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                           CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   contact Amazon and quickly abandon it if not immediately successful. One subject wrote

 2   that it was confusing for them to be using someone else’s Amazon account.
 3
         On December 6, 2015, I was provided a copy of a survey for this case conducted by
 4

 5   Dr. Barry A. Sabol.4 I reviewed Dr. Sabol’s report, which summarized the findings of a

 6   survey of 1,237 Amazon customers (with children under the age of 17 living in their
 7   households) who had purchased a digital product from Amazon, including 301 in-app
 8
     purchasers.5 The 272 respondents who had previously contacted Amazon customer
 9
     service about a digital product were asked the following question: “Compared to your
10
     experience with other companies, was it easier, about the same or more difficult to
11

12   contact Amazon’s customer service?”6 Dr. Sabol summarized the results as follows:

13   “Overall, 94% responded that it was easier (73%) or about the same (21%) to contact

14   Amazon’s customer service compared to other companies. Among In-App Purchasers,
15   97% responded that it was easier (74%) or about the same (23%) relative to other
16
     companies.”7
17

18       Given that Dr. Sabol’s survey asked respondents about their actual experience
19   contacting Amazon’s customer service and as compared to contacting other companies, it
20
     is my opinion that the results of Dr. Sabol’s survey are more reliable than the results in
21
     this test regarding the task of contacting Amazon and the subjects’ subjective perception
22
     of that task.
23

24

25
         4
26         Expert Report of Barry A. Sabol, Ph.D. (December 7, 2015).
         5
           Expert Report of Barry A. Sabol, Ph.D. (December 7, 2015) at 16.
         6
27         Expert Report of Barry A. Sabol, Ph.D. (December 7, 2015) at 16-17.
         7
           Expert Report of Barry A. Sabol, Ph.D. (December 7, 2015) at 16.

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                          CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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 2
     Section 6: Conclusion
 3

 4       My opinion is that the Amazon notifications and purchase flows tested informed

 5   parents adequately about in-app purchases. The results of this usability test strongly

 6   support this opinion. The results are conclusive that the Kindle Fire user interfaces and
 7
     email notifications should not have resulted in significant percentages of unwanted and
 8
     non-refunded in-app purchases. The results of the usability test substantially undermine
 9
     Ms. King’s opinions that the Kindle Fire notices, user interfaces, and confirmatory email
10
     were “ineffective.”8
11

12
         When considering these results, it is important to balance the user protection that
13
     Amazon provides regarding in-app purchases with the needs of those who do desire to
14
     make in-app purchases. There are many pieces of information that Amazon needs to
15

16   disclose to consumers at various phases in the purchase flow and the intricacies of how

17   in-app purchasing works are not the most important information to convey. It would be

18   inappropriate for in-app purchasing information to always be front and center on every
19
     screen, particularly given that the results of this study show in-app purchasing
20
     information to be clearly understood as currently presented.
21

22       Further, Amazon’s ongoing intention to improve the in-app purchasing experience is
23   evident. For example, the FTUX popup was changed in June 2014. It is important to note
24
     that the study results show that the both the May 2013 and June 2014 FTUX popups were
25

26
         8
27         In my experience, a valid usability test is typically a superior way to evaluate a user interface than a
     usability inspection, particularly one performed by a single evaluator, as was done in Ms. King’s report.

                                                                                                                      59
                            CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   very well understood by the subjects of the experiment. It can be concluded from this

 2   result that subjects well understood both the May 2013 and June 2014 FTUX.
 3

 4

 5
        Dated: Dec 7, 2015
 6

 7

 8

 9

10                                                       CRAIG ROSENBERG, PH.D.

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 2
     Appendix A: craigslist Ad
 3

 4   $150 for Mobile Tablet Study
 5

 6      Are you interested in participating in a research study involving mobile table devices?

 7   Global Technica invites parents and grandparents to participate in a study evaluating
 8   mobile tablet devices and interfaces.
 9

10      The study will take place at the University of Washington. Your participation will

11   involve interacting with a tablet and answering a questionnaire. It will take approximately

12   2 hours to complete.
13

14      Who can be part of this study?

15      x    Adults over the age of 20 years old
        x    Must have at least one child or grandchild currently aged 13 or younger
16      x    Fluent English speakers
17      x    Comfortable using a tablet or smartphone

18      Compensation $150

19
        If interested, please register online at http://goo.gl/forms/4oWws95Zzp
20

21      or
22

23      Email: erika@globaltechnica.com

24

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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     Appendix B: Screening Questions
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     CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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     Appendix C: Consent Form
 3

 4                                        CONSENT FORM

 5                                   Mobile Tablet Usability Study

 6

 7   Researchers:
 8   Craig Rosenberg (PI), Global Technica
 9   Doug Wieringa, Global Technica
10
     Erika Miller, Global Technica
11

12
                                     PURPOSE OF THE STUDY
13
     The purpose of this study is to evaluate mobile tablet interfaces.
14

15
                                     STUDY PROCEDURES
16
     Your involvement will consist of one visit lasting approximately 2 hours, which will take
17
     place in a conference room with up to eight other people.
18
     You will be asked to interact with a computer and mobile tablet during the study. On the
19   computer, you will be asked a series of questions about the tablet as well as computer-
     generated images. Your input will be collected using a survey, but we will not ask for
20   your name on the survey. There are no right or wrong answers in the study.
21   Before dismissing you, the researcher will compensate you for your time.
22

23
                                     BENEFITS AND RISKS
24
     There are no anticipated physical or emotional risks to participants. No risk greater than
25   those experienced in ordinary conversation is anticipated. You will receive $150 after
     you complete all study procedures.
26

27

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1                 CONFIDENTIALITY OF RESEARCH INFORMATION

 2   Unless ordered otherwise by a court, your confidentiality will be protected throughout the
     experiment and evaluation, as well as in any subsequent reports. All findings used in any
 3   written reports or publications that result from this study will be reported in aggregate
     form with no identifying information.
 4

 5   For good and valuable consideration, including monetary payment received in exchange
     for your participation in this research exercise, you agree not to in any way discuss,
 6   disclose, or communicate that you participated in the study, the fact that the research is
     taking place, the conduct of the research, the content of the materials provided during the
 7   study, and the opinions and conclusions reached by the participants involved in the
     research including your own, whether in discussions with family, friends, or third parties
 8   (including any representatives of the media). You further agree that you will not publish
 9   your knowledge of the research, including via posting any information learned in the
     research in books, articles, or online resources such as websites, blogs, emails, any social-
10   media platforms or on social media in any form, including but not limited to Facebook,
     Twitter, Instagram, Vine, Snapchat, or YouTube.
11

12

13
                                    OTHER INFORMATION
14
     Your participation in this evaluation is completely voluntary. You may refuse to
15   participate and you are free to withdraw from this study at any time.

16   If you agree to participate in this study, you will be compensated for your time and effort.
     You will be given $150 after you complete all study procedures.
17

18
                                        AUTHORIZATION
19

20   By signing this consent form, you are indicating that you fully understand the above
     information and agree to participate in this focus group.
21
     Printed Name of the Participant
22
     Signature of the Participant
23
     Date
24

25

26

27

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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     Appendix D: Facilitator Script
 3

 4      Note: Because of randomization of the experimental conditions, this script shows only

 5   one order in which the tasks were performed.

 6

 7
     Experiment Checklist
 8

 9   Date:
10

11   Number of Subjects:

12
     Usernames:
13

14   Experimenter:
15

16

17

18   Introduction
19
        Hi my name is Erika and I am from Global Technica. You are here today because we
20
     are doing a usability study on mobile tablet interfaces. Your involvement today should
21

22   take about 1 to 2 hours.

23
        How many of you are familiar with using a Kindle Fire? All right, well we are going
24
     to do a series of tasks on a Kindle Fire. But I will guide you through the steps so it
25

26   shouldn’t be too challenging if you’re unfamiliar with the interface.

27

                                                                                                66
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1       We are going to be going through all the tasks as a group, so please don’t jump ahead.

 2   During the study, you are going to answer questions on the computer as you look at
 3   various screens on the Fire tablet. I will tell you what screen you should be looking at,
 4
     but if you have any questions during the process please ask.
 5

 6       I am now handing out a copy of the consent form. It’s fairly short, so I am going to
 7   give you all a few minutes to read through it and answer any questions you may have.
 8

 9       Are there are questions I can answer? If you are still interested in being in the study,

10   then please go ahead and sign the consent form.

11
         (Collect consent form)
12

13

14   Getting Started
15
         Before we get started, here are a few things to keep in mind. During this study you
16
     will be going through a series of questions prompted through the computer. I am going to
17
     use this overhead projector to guide you through many of the steps. When you finish a
18

19   task, the computer will prompt you to stop. Anytime you see a stop sign or a navigation

20   screen; do not continue past these breaks in the tasks. Again, please do not continue

21   forward until I tell you to.
22
         Also remember that this is not a race. Please read through the questions carefully and
23

24   consider your responses. Please do not look at the computer screen for the person sitting

25   next to you. Others may or may not have the same number or order of questions as you,
26   so please do not base your progress off others. Lastly, there are no right or wrong answers
27
     to these questions, just answer as you see appropriate.

                                                                                                    67
                         CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1      Login to Quest Track Website for Each Subject

 2
        http://qtsandbox.knowledgeanywhere.com/Enterprise
 3

 4

 5   Task 0
 6
        All right, we are ready to get going. First off we are going to take a preliminary
 7
     survey. I am going to log into the computer for each of you.
 8

 9      (set up computer, survey screen)
10
        Please launch “Kindle Study: Task 0 (Survey)” on the computer. A popup window
11

12   should appear. Please make sure you expand the window so it takes up your entire screen.

13   Did everyone find how to make the window take up the entire screen?
14
        You can now fill out the questions. When you are finished please just wait until the
15

16   whole group is ready.

17

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                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   Task 1
 2
          Overview:
 3
          1.1.    No IAP - Jeweled Bricks
 4

 5        1.2.    IAP – Jump Racer

 6                          1.2.7 PLEASE NOTE (read more)

 7                          1.2.8 Key Details + Popup (scroll down)
 8

 9
          Order A:
10

11        1.1; 1.2; 1.2.7; 1.2.8

12
          Note that because of randomization of the experimental conditions, this order
13

14   above only shows only one order in which the tasks were performed.

15
          Instructions:
16
     1.   Now that everyone has had a chance to finish the survey. Please close the popup
17
          window. And your screen should look similar to mine.
18

19   2.   (navigate to Kindle Study: Task 1) use PPT

20   3.   Remember to expand the popup window so it takes up your entire screen. And your
21        computer should now look like mine.
22
     4.   (stop sign) > proceed
23
     5.   Select Task 1.1
24
     6.   (stop sign)
25

26   7.   Now if you could focus your attention on the Kindle Fire in front of you. Please pick

27        it up and we are going to navigate through it together.

                                                                                                  69
                          CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   8.   For this task, we are going to navigate to the App store and look at the description

 2        pages for some apps. Imagine you are going to the App store to look for an app for
 3        your child or grandchild.
 4
     9.   Steps to get to “Jeweled Bricks”
 5
     10. Do not play or download the game.
 6
     11. Now does everyone’s Kindle Fire show this screen? If it does not, please raise your
 7

 8        hand.

 9   12. For this task, you have now navigated to the app store and selected the app “Jeweled

10        Bricks.” When you click next on the computer you will be asked a series of questions
11
          regarding the app description page you see on your Kindle Fire. You will notice on
12
          the computer a small version of the Kindle Fire screen has been provided. Please do
13
          not answer the questions by trying to read the screenshot on the computer, but please
14
          focus on the Kindle Fire. The screenshot is merely provided for you so that you can
15

16        verify you are looking at the correct content.

17   13. Remember, this is not a race. Please answer thoughtfully. The people next to you
18        may or may not have the same questions as you, so don’t worry about their progress.
19
     14. Now go ahead you can begin and answer the questions through this task and stop
20
          when you get back to the navigation page, which I will display on the screen in a few
21
          minutes.
22

23   15. Alright we are now going to select Task 1.2

24   16. (stop sign)

25   17. Navigate to “Jump Racer”
26

27

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   18. Similar to before, you have now navigated to the app description page in the app

 2       store for the app “Jump Racer”. Please answer the following questions regarding the
 3       content you see on your Kindle Fire. Again, do not try to read the small screenshots
 4
         provided on the computer.
 5
     19. Stop when you get to the next stopping point.
 6
     20. (stop sign)
 7

 8   21. We are now going to select Task 1.2.7

 9   22. (stop sign)

10   23. If you haven’t already done so on your Kindle Fire, please tap the Read More link on
11
         the left of the page. I’m directing your attention to the bottom of the text starting with
12
         the capital letters PLEASE NOTE
13
     24. Raise your hand if you do not see this.
14
     25. Click next on your computer and answer the following question or questions.
15

16   26. We are now going to do Task 1.2.8

17   27. (stop sign)
18   28. For this task, please focus your attention on the Kindle Fire again.
19
     29. Please direct your attention to the “Key Details” section on the screen, which should
20
         be on the right side.
21
     30. Is there anyone that does not see “Key details” on their screen?
22

23   31. Okay, please proceed through the following questions relating to this Key Details

24       section.

25   32. (stop sign)
26   33. Please press on “Key Details” on the right side of the screen.
27

                                                                                                      71
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   34. This popup window should appear. Does everyone see it?

 2   35. Please use your finger to scroll down. And you will see the section In-App
 3       Purchasing.
 4
     36. Please proceed through the questions on the computer, referencing this screen you
 5
         see on your Kindle Fire.
 6

 7

 8

 9   Task 2
10
        Overview:
11

12          2.1 May 2013 Screenshot
13
            2.2 June 2014 Screenshot
14

15
        Order A:
16

17      2.1; 2.2

18
        Instructions:
19

20   1. Go through PowerPoint to navigate to survey

21   2. (stop sign after selecting Task 2.1)

22   3. Please hand your Kindle Fire to me and I am going to load an image.
23   4. Please do not turn over your Fire tablet yet.
24
     5. For this task, you have a Fire tablet, which has been placed face down in front of you
25
        and an account password, which is simply the word “password.” Imagine that you
26
        have given your Fire tablet to your child or grandchild, who has been playing a game
27

                                                                                                 72
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1      app on the tablet. Your child hands you the tablet. When I instruct you to do so, click

 2      ‘Next’ on the computer screen, turn your Fire tablet over and read the information
 3      displayed on the screen. When you are done reading the information on the screen,
 4
        enter your password on the computer and click Submit. This is neither a race nor a
 5
        memory test. Please read the information on the screen at the pace you would if your
 6
        child or grandchild had just handed you the device.
 7

 8   6. (charades, slow) Just to repeat, When I instruct you to do so, click ‘NEXT on the

 9      computer screen, turn your Fire tablet over and read the information displayed on the

10      screen. When you are done reading the information on the screen, enter the word
11
        ‘password’ on the computer and click ‘Submit.’ Whenever you are ready, you may
12
        click ‘Next’ and proceed.”
13
     7. (stop sign)
14
     8. You may now resume looking at the tablet displaying the same page you just saw.
15

16      Click ‘Next’ on your computer and answer the following questions about that page.

17      Remember it is not a race. Your screens may or may not be the same as the person
18      next to you, so don’t base your progress off others.
19
     9. PowerPoint to show select 2.2
20
     10. Please hand Kindle Fire back to me.
21
     11. Do not turn over the tablet yet.
22

23   12. Repeat Step 4 and 5.

24

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   Task 3
 2
        Overview:
 3

 4                3.1      Email Notification (split screen)
 5

 6                3.2      Refund Plan (split screen)

 7
                  3.3      Contact Amazon (minimize survey)
 8

 9      Instructions:
10   1. For this task, I am going to set up your computer for you. (dual screen email and
11
        survey)
12
     2. You are now looking at two windows. One is the survey. The other is an email. Note
13
        that the email can be scrolled down to view more content.
14

15   3. For this task, imagine that your child or grandchild has been playing with your Fire

16      tablet. At some point, you check your email and see that you have received the email

17      that is displayed on the left of your computer screen. Whenever you are ready, click
18
        Next on the right side of your computer and answer the following questions about the
19
        email. Remember, this is neither a memory test nor a race.
20
     4. Imagine that the product identified in the email was never purchased or was
21
        accidentally purchased by you, your child, or your grandchild and that you would like
22

23      to seek a refund from Amazon for the charge. Click Next on the right side of your

24      computer and answer the questions about contacting Amazon.
25   5. For this task, we are going to actually try to contact Amazon just as you would in real
26
        life. When I instruct you to do so, please try to contact Amazon to seek a refund for
27

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1      the product identified in the email that you believe was never purchased or was

 2      accidentally purchased by you, your child, or your grandchild. The tools you have
 3      available to contact Amazon include the computer in front of you, which has access
 4
        to the Internet.
 5
            If you would like to use the Internet, you may click on the Internet Explorer icon
 6
        or the Google Chrome Icon located at the bottom of the computer. You also have
 7

 8      your Fire tablet, which has access to the Internet using the Silk Browser. You also

 9      have a telephone by which you may call Amazon. And you have the confirmation

10      email identifying the product for which you seek a refund. If you need them, your
11
        account email address and password will be provided on the following slide.
12
     6. Remember, this is neither a memory test nor a race. Imagine that you have actually
13
        received this email and want to seek a refund from Amazon for the product identified
14
        in the email. How will you do so? Whenever you are ready, please begin.
15

16   7. (Stop people when they are finished)

17

18   Debrief
19
        We are now finished with the study. Just for your interest, the purpose of this study
20
     was to evaluate the Amazon interfaces specifically regarding in-app purchases.
21

22
        I am now going to give each of you $150 and then you will be free to go. Thank you
23
     again very much for your time and effort.
24

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     Appendix E: Facilitator’s Visual Aid
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     CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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     Appendix F: Task Flow
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           CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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     CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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     CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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     CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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     CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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     CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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     CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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 2
     Appendix G: Survey Screenshots
 3

 4      This appendix presents Captivate storyboards showing the survey questions.

 5
        Note that the box marked Review Area is not visible to survey participants. Note also
 6
     that because of branching and randomization subjects did not necessarily view slides in
 7

 8   the order shown here.

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              CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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              CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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               CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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                   CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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              CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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              CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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              CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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               CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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               CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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               CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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               CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
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 2
     Appendix H: Curriculum Vitae
 3

 4   Craig S. Rosenberg, Ph.D.
 5

 6   An accomplished human factors engineer, user interface designer, and systems and

 7   software engineer specializing in analysis and design of mobile computing devices,
 8   complex systems, user centered design, information architecture, user experience,
 9
     systems and software engineering, object oriented analysis, and modeling and simulation.
10
     Extensive experience in the entire software design and development life cycle applied to
11
     a wide range of domains from embedded mobile devices though enterprise class mission
12

13   critical applications.

14

15   SUMMARY OF QUALIFICATIONS
16

17       x   Human Factors, User Interface Design, Information Architecture, Cognitive
             Engineering, Experimental Design
18
         x   Systems Engineering, Software Architecture, Modeling and Simulation, Virtual
19
             Environments, Animation, Art
20
         x   C++, C, C#, JAVA, UML, .NET, VISUAL BASIC, HTML, XML, LISP,
21           FORTRAN, SAS
22
         x   Visual Studio, Eclipse, Rhapsody, RSA/RSM, ClearCase, ClearQuest,
23           Dreamweaver, Photoshop, Illustrator
24       x   3D Studio, Alias, AutoCAD, Rogue Wave, GD Pro, Motif, Builder Accessory,
25           JSPWiki, Spark, MS Office

26       x   Windows, Linux, OSX, PC, Macintosh, Sun, HP, IBM, StereoGraphics
27

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                         CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1      x   Scholarship from the Interservice/Industry Training Simulation & Education
            Conference
 2

 3      x   Moderator of the Seattle Android Users Group and founder of the Northwest
            Alias Users Group
 4

 5   EDUCATION
 6

 7      x   Ph.D. Human Factors, University of Washington, 1994
 8      x   M.S. Human Factors, University of Washington, 1990
 9
        x   B.S. Industrial Engineering, University of Washington, 1988
10
        x   Graduate GPA: 3.83
11

12
     PROFESSIONAL EXPERIENCE
13

14
     Global Technica, Seattle, WA                                              Nov 1996 - Present
15
     Senior human factors engineer, user interface designer, and software architect for a wide
16
     range of advanced commercial and military programs.
17

18
        x   Senior modeling and simulation engineer developing advanced discrete event and
19          agent based software tools, models, and simulations in the areas of missile
20          defense, homeland security, battle command management, networking and
21          communications, mobile computing, air traffic control, software simulation, and

22          UAV command and control.

23      x   Lead system architect developing advanced air traffic control analysis
24          applications, toolsets, and trade study simulations for Boeing Air Traffic
25          Management. Technical lead responsible for tasking of twelve engineers.

26

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                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1      x   Architect of the Boeing Human Agent Model; an advanced model for the

 2          simulation of human sensory, cognitive, and motor performance as applied to the
            roles of air traffic controllers, pilots, and UAV operators.
 3

 4      x   Lead human factors engineer and user interface designer for Boeing’s main
 5          internal vector and raster computer aided drafting and editing system that

 6          produces all maintenance manuals, shop floor illustrations, and service bulletins
            for all Boeing commercial aircraft.
 7

 8      x   Systems Engineer for the Future Combat Systems Network Systems and Software
 9          Engineering group.

10
        x   Senior Software Developer for Level 11 and Disney, working on software for
11          tracking of visitors to Disney World
12
     Additional responsibilities include system engineering, requirements analysis, functional
13
     specification, use case development, user stories, application prototyping, modeling and
14

15   simulation, object oriented software architecture, graphical user interface analysis and

16   design, as well as UML, C++, C#, and Java software development.

17

18   WhereWuz, Seattle, WA                                                   March 2010 - Present
19   Founder, inventor, user interface designer, and software architect for a company
20   producing advanced mobile software running on GPS enabled smartphones. WhereWuz
21
     allows users to record exactly where they have been and query this data in unique ways
22
     for subsequent retrieval based on time or location. Currently available for iPhones and
23
     Android handheld devices.
24

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   Entrepreneur in Residence,                                              April 2008 – Dec 2009
     Spyglass Ventures, Los Angeles, CA
 2

 3   Lead technologist and entrepreneur in residence for a Los Angeles based media oriented

 4   venture capital firm focusing on early stage private equity investing. Responsibilities

 5   include evaluating investment opportunities, generating new business ideas, and
 6   providing functional expertise to assist existing investments in the mobile and
 7
     entertainment sectors.
 8

 9
     User Interface Designer,                                                 Feb 2006 – June 2007
10   ObjectSpeed, Seattle WA
11   Lead user interface and interaction designer for a technology company specializing in
12   consumer hand held VoIP products. Responsible for all user interface design, user
13
     interaction, information architecture design, industrial design and human factors
14
     activities. Additional responsibilities include functional specification, human factors
15
     analysis, requirements analysis, application prototyping, graphical design, and user
16

17   interface programming for a hand held VoIP mobile consumer device.

18

19   User Interface Designer,                                                 June 2001 - Dec 2001
     Ahaza Systems, Seattle, WA
20
     Lead user interface and interaction designer responsible for all user interface design and
21
     development activities associated with a complete line of advanced IPv6 network
22

23   hardware devices. Duties include user interface design, human factors analysis, and

24   interactive application prototyping.
25

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                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
 1   User Interface Designer,                                                   Oct 99 - April 2001
     Eyematic Interfaces, Seattle, WA
 2

 3   Lead human factors and interaction designer responsible for all user interface design and

 4   development activities associated with real-time mobile hand held 3D facial tracking,

 5   animation, avatar creation and editing software. Duties include requirements analysis,
 6   functional specification, user interface design, and human factors analysis.
 7

 8   User Interface Designer,                                                   June 95 - March 96
 9   AT&T Wireless/ Teague Corporation, Redmond, WA
10   Lead human factors and interaction designer for a large industrial design firm.

11   Responsible for all functionality, human factors analysis, user interface design, graphical
12   design, systems analysis, and documentation for the first two-way wireless pager
13
     produced by AT&T Wireless.
14

15
     Associate Assistant Professor                                                     Dec 94 - Dec 95
16   University of Washington, Seattle, WA
17   Human Factors Professor at the University of Washington Industrial Engineering
18
     Department. Duties include teaching, writing research proposals, designing and
19
     conducting funded human factors experiments for the National Science Foundation, as
20
     well as hiring and supervising students.
21

22
     Software Design Engineer                                                       Aug 94 - Sept 95
23   Socha Computing, Bellevue, WA
24
     Responsible for designing and developing interactive multimedia games as well as
25
     educational software for children and adults. Duties include functional specification,
26

27

                                                                                                   149
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 1   software design and architecture, user interface design, application prototyping, software

 2   development, focus group testing, and internet research.
 3

 4   Network Engineer,                                                            March 92 - Nov 96
 5
     PSF Industries, Seattle, WA

 6   Independent consultant to a mechanical engineering firm specializing in the design,

 7   fabrication, and installation of large scale, high pressure vessels. Responsible for

 8   designing, procuring, and installing a state of the art networked computer aided
 9
     engineering system to greatly improve design quality and engineer productivity.
10

11   Human Factors Researcher                                                        Jan 89 - June 94
12   University of Washington, Seattle, WA
13   Responsible for designing and performing advanced human factors experiments relating

14   to virtual worlds and advanced visualization research. Funded by the National Science
15
     Foundation to conduct research on advanced software and hardware interfaces for virtual
16
     environments. Duties include user interface design, systems design, software
17
     development, graphics programming, experimental design, as well as hardware and
18
     software interfacing.
19

20

21
     Alias Animator,                                                                April 91 - Jan 92
     Technology Design, Bellevue, WA
22
     Independent contractor to an industrial design firm specializing in high technology
23
     hardware design for computers and consumer electronics products. Created models,
24

25   animations, and renderings that were used for product engineering and marketing.

26   Services also included training, hardware and software installation, and system

27   optimization.

                                                                                                  150
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 1   Operations Manager,                                                           June 88 - Sept 88
     Micro Products, Bellevue, WA
 2

 3   Managed large scale computer graphics conversion contracts. Installed and optimized a

 4   custom optical scanning and capture system for a computer graphics scanning company.

 5   Responsibilities also included employee management, production scheduling,
 6   subcontracting and outsourcing, and software development.
 7

 8   Industrial Engineering Consultant,                                             Jan 88 - June 88
 9   Avtech Corporation, Seattle, WA
10   Professional industrial engineer for a large aerospace digital electronics company. Solely

11   responsible for completely redesigning the entire manufacturing facility to optimize the
12   assembly of multiple lines of digital avionics communication equipment. Additional
13
     responsibilities included integrating software for a CNC milling center to completely
14
     automate the production of lighted instrument displays panels.
15

16

17   ADDITIONAL INFORMATION

18
     I have published twenty-two research papers in professional journals and proceedings
19
     relating to user interface design, computer graphics, and the design of spatial,
20

21   stereographic, and auditory displays. I was the sole recipient of a $10,000 scholarship

22   award from the I/ITSEC for advancing the field of interactive computer graphics for

23   flight simulation. I received an award from the Link Foundation for my work furthering
24
     the field of virtual interface design. I created five book covers for books by Harcourt
25
     Brace Publishing that feature the authors Arthur C. Clarke, Isaac Asimov, and Stephen
26
     King. Several minutes of my computer graphics animations appear in the movie Beyond
27

                                                                                                  151
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 1   the Mind’s Eye produced by MIRAMAR. I have won two engineering design awards

 2   from the City of Los Angeles for the design of an energy saving product. In my free time
 3   I enjoy creating computer graphic images and animations as well as composing and
 4
     recording music. My company’s website can be found at: www.globaltechnica.com
 5

 6

 7

 8

 9   SELECTED PUBLICATIONS
10
     Rosenberg C., Advanced Systems Engineering and Human Factors Engineering,
11
        International Forum on Composite Material Applications for Large Commercial
12
        Aircraft, Shanghai, China, 2011.
13

14   Parks P., Rosenberg C., Interactive Distributed Simulation Environment for Collaborative
        Technology Experiments and Analysis, SimTecT, Brisbane, Australia, 2008.
15

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19   Barfield, W., Rosenberg, C., & Lotens, W. A., Augmented-Reality Displays. In W.
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 3

 4   Rosenberg, C., Barfield, W., Estimation of Spatial Distortion as a Function of Geometric

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21   Barfield, W., Rosenberg, & Cohen., Presence as a Function or Frame of Reference within
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22
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 3

 4   Rosenberg, C., and Barfield, W., The Effects of Scene Complexity and Object Density

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 8      Commands on the Design of a Hierarchical On-line Menu, IEEE Transactions on

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 2
     Appendix I: Materials Considered
 3

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 5   00385372.

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 9
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14      FTC Complaint for Permanent Injunction and Other Equitable Relief (2014, July 20),

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                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
            Exhibit H


Exhibit H
                                                                       4
                          Rosenberg - Confidential
FTC v. Amazon.com, Inc.                                          1/7/2016

  1                       UNITED STATES DISTRICT COURT
  2               FOR THE WESTERN DISTRICT OF WASHINGTON
  3
  4
  5   FEDERAL TRADE COMMISSION,                  )
  6                             Plaintiff,       )
  7                       vs.                    ) Case No.
  8   AMAZON.COM, INC.,                          ) 2:14-cv-01038-JCC
  9                             Defendant.       )
 10   ______________________________________)
 11
 12
 13            VIDEOTAPED DEPOSITION OF CRAIG S. ROSENBERG
 14
 15                               January 7, 2016
 16                             Seattle, Washington
 17
 18                        ***** Confidential *****
 19
 20
 21               The deposition of CRAIG STUART ROSENBERG was taken
 22   on Thursday, January 7, 2016, commencing at 9:05 a.m., at the
 23   Federal Trade Commission, 915 Second Avenue, Suite 2896,
 24   Seattle, Washington, before John M.S. Botelho, CCR, RPR,
 25   Certified Court Reporter.



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                                                                    5
                          Rosenberg - Confidential
FTC v. Amazon.com, Inc.                                       1/7/2016

  1                         APPEARANCES
  2
  3   ON BEHALF OF THE PLAINTIFF:
  4                 Helen Wong
  5                 Katherine Worthman
  6                 Federal Trade Commission
  7                 600 Pennsylvania Avenue Northwest
  8                 Mail Stop:      CC-10232
  9                 Washington, D.C. 20580
 10                 202.326.3779
 11                 202.326.3768 Fax
 12                 hwong@ftc.gov
 13                 kworthman@ftc.gov
 14
 15   ON BEHALF OF THE DEFENDANT:
 16                 Jeffrey M. Hanson
 17                 Perkins Coie
 18                 1201 Third Avenue
 19                 Suite 4900
 20                 Seattle, Washington 98101
 21                 206.359.8000
 22                 206.359.4206 Fax
 23                 jhanson@perkinscoie.com
 24
 25            Also present: Melody Sorensen, videographer


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                                                                           6
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FTC v. Amazon.com, Inc.                                          1/7/2016

  1                                 PROCEEDINGS
  2
  3                             THE VIDEOGRAPHER:        We're now on the
  4       record.   Please note that recording will continue
  5       until all parties agree to go off the record.             My
  6       name is Melody Sorensen, videographer for For the
  7       Record, Inc.     Today is January 7th, 2016, and the
  8       time is now 9:05 a.m.
  9           This is the videotaped deposition of Craig
 10       Rosenberg being taken in the case of Federal Trade
 11       Commission vs. Amazon.com, Inc., Cause No.
 12       2:14-cv-01038-JCC.       This deposition is being held at
 13       915 Second Avenue, Room 2896, Seattle, Washington.
 14           Will the attorneys please introduce themselves
 15       for the record, including the parties they represent.
 16                             MS. WONG:    I'm Helen Wong.     I'm
 17       appearing on behalf of the plaintiff, Federal Trade
 18       Commission.
 19                             MS. WORTHMAN:        Katherine Worthman,
 20       on behalf of the Federal Trade Commission.
 21                             MR. HANSON:     Jeff Hanson, on behalf
 22       of Amazon.
 23                             THE VIDEOGRAPHER:       The court
 24       reporter today is John Botelho.            Please swear in the
 25       witness and proceed.


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                                                                      7
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FTC v. Amazon.com, Inc.                                       1/7/2016

  1       CRAIG S. ROSENBERG,             having been first duly sworn
  2                                       by the Certified Court
  3                                       Reporter, deposed and
  4                                       testified as follows:
  5
  6                                EXAMINATION
  7       BY MS. WONG:
  8   Q   Mr. Rosenberg, can you please state and spell your
  9       full name for the record?
 10   A   Sure.   Craig Rosenberg.      Craig Stuart Rosenberg.
 11       C-r-a-i-g S-t-u-a-r-t R-o-s-e-n-b-e-r-g.
 12   Q   Have you ever been deposed before?
 13   A   I have.
 14   Q   How many times?
 15   A   Five times.
 16   Q   Okay.   So I'll just -- I'll remind you of some ground
 17       rules so that we're on the same page.      I'll be asking
 18       you a series of questions, and everything we say will
 19       be recorded.     Where possible, please try to give a
 20       verbal response so that it appears on the transcript.
 21       If I ask a question and you did not understand,
 22       please let me know and I'll repeat it.      If you answer
 23       a question, I will assume that you understand it.
 24           If at any point you need a break, please let me
 25       or your attorney know, and answer the question that's



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                                                                        149
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  1       together made it such that I couldn't test everything
  2       we spoke earlier in the deposition about, given an
  3       arbitrarily long time, could have tested every
  4       interface.
  5   Q   So despite not testing the interface from 2011 until
  6       May 2013, you still believe that the conclusions of
  7       your study can be generalized to Amazon app users in
  8       2011 and 2012?
  9   A   Well, I think some of the questions apply.           Like I
 10       just said, some of the questions definitely apply.
 11       But some of them don't.        I'd have to go and review
 12       the specific questions.        But if it says, you know,
 13       "What's your understanding of parental controls?" --
 14       in the earlier interface, I mean, you could ask that
 15       in general:      "What's your understanding of parental
 16       controls?"      But I think it was more tied to the task
 17       at hand and the later two interfaces where that term
 18       actually appears on the dialogue box.
 19   Q   Okay.   Going back to the script.          I think we're still
 20       on Page 72.      So we were at the section where
 21       Ms. Miller, on Paragraph 33 of Page 71, tells the
 22       users to press "Key Details" on the screen.          The
 23       pop-up window should appear.         She asks if everyone
 24       can see it.      And then she states, "Please use your
 25       finger to scroll down.        And you will see the section


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                                                                  257
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FTC v. Amazon.com, Inc.                                       1/7/2016

  1                          CERTIFICATE OF REPORTER
  2
  3       DOCKET/FILE NUMBER:        2:14-cv-01038-JCC
  4       CASE TITLE:      FTC v. AMAZON.COM, INC.
  5       HEARING DATE:      JANUARY 7, 2016
  6
  7             I HEREBY CERTIFY that the transcript contained
  8       herein is a full and accurate transcript of the steno
  9       notes transcribed by me on the above cause before the
 10       FEDERAL TRADE COMMISSION to the best of my knowledge
 11       and belief.
 12
 13                         DATED:   January 11, 2016
 14
 15                         ______________________________
 16                         JOHN M.S. BOTELHO
 17
 18
 19
 20
 21
 22
 23
 24
 25


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            Exhibit I


Exhibit I
                     UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF WASHINGTON


FEDERAL TRADE COMMISSION,

               Plaintiff,
     v.
                                                     Case No. 2:14-cv-01038
AMAZON.COM, INC.,

               Defendant.




                             EXPERT REPORT OF
                            BARRY A. SABOL, PH.D.




               CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
                                 Background and Qualifications

       1.      My curriculum vitae appears as Exhibit A to this report.

       2.      Strategic Consumer Research, Inc., of which I am founder and President, was

engaged by Perkins Coie, on behalf of its client, Amazon.com, Inc., to design and execute a

scientific study to measure experiences and perceptions with respect to contacting Amazon

customer service, experiencing Amazon customer service as well as likely actions and

perceptions in the instance of receiving an email from Amazon showing a charge for an

unrecognized digital purchase.      This study was conducted among Amazon digital product

purchasers in general including a subset of In-App Purchasers.

       3.      For the past 33 years, I have designed, executed and interpreted over one

thousand research studies similar to the one detailed in this report. During this time, Strategic

Consumer Research, Inc. and I have conducted similar scientific studies for hundreds of

companies, which have relied on the results of said studies to make business decisions and

develop strategies relating to their products and services.

       4.      I have provided sworn testimony in a number of lawsuits over the past seven

years. A list of the cases in which I have provided sworn testimony during that period is

attached as Exhibit B.

       5.      I was first contacted by Amazon.com attorneys and retained in early November

2015 to conduct the survey and provide this expert report. Strategic Consumer Research, Inc.

was paid a total of $71,000 to design and execute this research study. This compensation was

not contingent upon the obtained study results, nor was it contingent on the opinions I render for

the interpretation of the study results, or the outcome of this case.




                                                  2
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                                     Summary of Conclusions

       6.       This study was conducted primarily to measure experiences and perceptions with

respect to contacting Amazon customer service among Amazon digital product purchasers in

general and Amazon In-App Purchasers in particular, as well as likely actions and perceptions in

the instance of receiving an email from Amazon showing a charge for an unrecognized digital

purchase.

       7.       To make this determination, I conducted an anonymous survey of 1,237 Amazon

customers including 301 In-App Purchasers who (a) had children under the age of 17 living in

their households (and thus likely had younger children in the households during the 2011—2014

period) and (b) who had purchased a digital product from Amazon. This survey was conducted

online using a widely-accepted and commonly used methodology. Respondents were asked

about the following:

            x   Whether or not they had ever contacted Amazon’s customer service for any

                reason about a digital product. A digital product was defined as a video, a song,

                an app or an in-app purchase.

            x   Among those who had actually contacted Amazon’s customer service about a

                digital product, the ease or difficulty of doing so, relative to their experiences with

                other companies.

            x   Among those who had actually contacted Amazon’s customer service about a

                digital product, their evaluation of the customer service experience relative to

                their experiences with other companies.




                                                  3
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          x   Among those who had never contacted Amazon’s customer service about a digital

              product:

                  o The perceived ease or difficulty of doing so in relation to other companies.

                  o The perceived evaluation of the likely customer service experience

                     relative to their experience with other companies.

          x   The likelihood of contacting Amazon’s customer service if they received an email

              from Amazon showing that they had been charged by Amazon for a digital

              product purchase that they did not recognize.

          x   The extent to which digital product purchasers think that they would be entitled to

              a refund:

                  o If they received an email from Amazon showing that they were charged by

                     Amazon for a digital product purchase that they did not recognize.

                  o If Amazon’s stated policy was that digital products were not returnable,

                     but they received an email from Amazon showing that they were charged

                     by Amazon for a digital product purchase that they did not recognize.

       When those who had contacted Amazon’s customer service about a digital product were

asked if it was easier, about the same or more difficult to do so compared to their experiences

with other companies, 94% responded that it was easier (73%) or about the same (21%). There

was no significant difference between In-App Purchasers (97%) and Non-In-App Purchasers

(92%). This data suggests that the vast majority of In-App and Non-In-App digital product

purchasers had no more difficulty in contacting Amazon’s customer service than they had ever

experienced with any other company and in fact strong majorities of both digital product




                                               4
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purchaser groups indicated that it was easier to contact Amazon’s customer service than had

been their experience with other companies (In-App – 74%, Non-In-App – 72%).

       When those who had contacted Amazon’s customer service about a digital product were

asked if their experience with Amazon’s customer service was better, about the same or worse

than their experiences with other companies, 96% responded that it was better (77%) or about the

same (19%). There was no significant difference between In-App Purchasers (99%) and Non-In-

App Purchasers (95%).

       When those who had never contacted Amazon’s customer service about a digital product

were asked if they thought that it would be easier, about the same or more difficult to contact

Amazon’s customer service compared to other companies, 94% responded that it would be easier

(46%) or about the same (48%). There was no significant difference between In-App Purchasers

(97%) and Non-In-App Purchasers (93%).

       When those who had never contacted Amazon’s customer service about a digital product

were asked if they thought that the experience with Amazon’s customer service would be better,

about the same, or worse than their experiences with other companies, 97% responded that it

would be better (58%) or about the same (39%). There was no significant difference between In-

App Purchasers (98%) and Non-In-App Purchasers (97%).

       When asked how likely they would be to contact Amazon’s customer service if they

received an email from Amazon showing that they were charged by Amazon for a digital product

purchase that they did not recognize, 95% responded that they would be very likely (84%) or

somewhat likely (11%) to do so. There was no significant difference between In-App Purchasers

(95%) and Non-In-App Purchasers (95%).




                                               5
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       When asked if they thought that they would be entitled to a refund if they received an

email from Amazon showing that they were charged by Amazon for a digital product purchase

that they did not recognize, 92% responded in the affirmative with no significant difference

between In-App Purchasers (93%) and Non-In-App digital product purchasers (92%).

       When asked if they thought that they would be entitled to a refund if Amazon’s stated

policy was that digital products were not returnable, but they received an email from Amazon

showing that they were charged by Amazon for a digital product purchase that they did not

recognize, 91% responded in the affirmative with no difference between In-App (91%) and Non-

In-App (91%) digital product purchasers.

       I understand from having read the expert report submitted by Jennifer King that it is her

belief that contacting Amazon’s customer service to request a refund for a digital product

purchase is complex and time consuming and that Amazon did not effectively convey to

consumers that refunds were available for accidental or unauthorized in-app purchases or how to

request such refunds. My survey results show otherwise. The vast majority of Amazon digital

product purchasers and In-App Purchasers in particular:

           x   Found it to be or believe it to be easier to contact Amazon’s customer service than

               they have experienced with other companies.

           x   Found or believed that the actual Amazon customer service experience was or

               would be better than what they had experienced at other companies.

           x   Would be likely to contact Amazon’s customer service if they received an email

               from Amazon showing that they were charged by Amazon for a digital product

               purchase that they did not recognize.




                                                6
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             x   Believe that they would be entitled to a refund if they received an email from

                 Amazon showing that they were charged by Amazon for a digital product

                 purchase that they did not recognize.

             x   Believe that they would be entitled to a refund if Amazon’s stated policy was that

                 digital products were not returnable, but they received an email from Amazon

                 showing that they were charged by Amazon for a digital product purchase that

                 they did not recognize.



                                            Introduction

       8.        The overriding goals of this study were:

             x   To determine actual and perceived level of difficulty in contacting Amazon’s

                 customer service

             x   To determine actual and perceived quality of Amazon’s customer service

             x   To determine the likelihood of contacting Amazon’s customer service about any

                 unrecognized digital product purchase

             x   To determine beliefs about refunds for unrecognized digital products purchases

       9.        The survey instrument appears in Exhibit C.

       10.       The methodology and survey questionnaire are described below.

       11.       Other materials considered for this report are the FTC’s Complaint for Permanent

Injunction and Other Equitable Relief, filed July 20, 2014, and the expert reports of Jennifer

King and Daniel S. Hamermesh, Ph.D, dated October 16, 2015, and October 15, 2015,

respectively.




                                                  7
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                                       Survey Methodology

Survey Participants

       12.     This research study was designed to elicit beliefs surrounding contacting

Amazon’s customer service about digital product purchases and the availability of refunds for

unrecognized digital product purchases. This was done by having respondents answer a number

of specific questions designed to elicit these responses.

       Studies using this type of design and methodology are widely used to produce empirical

data regarding consumer attitudes, beliefs and behavior.

       Studies of this type are widely used and relied upon by companies to gauge consumer

attitudes, beliefs and behaviors.

       This study design is widely used by our company and many others, and consistently

produces valid, reliable data useful for decision-making.

       This type of quantitative study produces valid, reliable empirical data which can be used

to test/validate/refute claims made by the parties in this case.

       13.     The relevant survey universe for this study consisted of consumers who (1) had

children under age 17 currently living in their households; and (2) had purchased a digital

product from Amazon. A digital product was described as a video, song, app or in-app purchase.

       14.     This study was conducted using a web-based survey to collect data. Pivotal to

conducting a web-based survey is the acquisition of e-mail addresses of the relevant universe, so

that invitations to participate in a survey can be sent. In this case, no database existed which met

the criteria for the relevant survey universe, necessitating that the relevant survey universe be




                                                  8
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constructed through screening of general consumer population databases. This study relied on

such a database panel provided by Research Now.

       15.     This panel identifies consumers with respect to the presence of children under age

17 in the household, but not Amazon digital product purchasers. This was accomplished through

screening questions contained in the survey instrument.         All respondents were promised

confidentiality of responses and in fact the survey was conducted on a blind basis with respect to

the names of the participants. Participant names were not and are not known. There was no pre-

or post-survey contact with any of the participants. The survey itself was never identified as

being undertaken for any particular purpose, including this lawsuit.

       16.     This survey began on November 19, 2015, and concluded on November 28, 2015.

The median time to complete the survey was 1.4 minutes per respondent. All respondents were

provided an incentive to participate by Research Now using their own established guidelines for

respondent incentives for their constructed panels.     This practice is common to all panels

constructed for research purposes by all companies who construct them. Panels of this type offer

potential respondents monetary or other incentives to participate prior to their actual entry into

the survey website. Thus, incentives are not contingent upon any particular response or result.

       17.     A total of 2,614 potential respondents entered the survey website.           After

answering all screening questions (to become members of the relevant survey universe), there

were 1,237 qualified respondents. The disposition of terminated respondents was as follows:




                                                9
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                 No children under age 17 in household                  183

                 No digital purchases from Amazon                       1,135

                 Abandoned the survey prior to completing the entire
                                                                         59
                 questionnaire

                 Qualified and completed survey                         1,237



       18.     The final sample size of 1,237 qualified respondents yields a maximum error rate

(margin of error) of ±2.7% at the 95% confidence interval. This means that if this same survey

were to be conducted 100 times with different populations of 1,237 qualified consumers, the

obtained results would not differ by more than 2.7% in 95 of 100 cases. This is a very low

margin of error and makes this an exceptionally reliable study.

       There was a subsample of 301 In-App Purchasers as part of the total sample described

above. This sample of 301 respondents yields a maximum error rate of ±5.8% and the Non-In-

App sample of 936 respondents yields a maximum error rate of ±3.3%, both at the 95%

confidence interval.

The Survey Questionnaire

       19.     All potential respondents who accepted the invitation to participate in this survey

by clicking the link in the invitation e-mail were introduced to the survey as follows: “Thank you

for participating in this survey which will take no more than 2 minutes to complete. Your

responses will be kept completely confidential. There are no right or wrong answers. Your

opinion is all that counts.”

       20.     All potential respondents were then asked: “Do you have any children under the

age of 17 living in your household?” All those responding in the negative were terminated,




                                                  10
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while those responding in the positive were next asked: “Have you ever purchased any one or

more of the following digital products from Amazon:

                    o A video

                    o A song

                    o An app

                    o An in-app purchase

                    o None of these

       All those responding “none of these” were terminated, while those choosing one or more

digital products were next asked:

       “Have you ever contacted Amazon’s customer service for any reason about a digital

product? A digital product is defined as a video, a song, an app or an in-app purchase?”

             o Yes

             o No

       21.      Those respondents who answered “no” were skipped past the next two questions.

Those respondents who answered “yes” were next asked:

       “Compared to your experience with other companies, was it easier, about the same or

more difficult to contact Amazon’s customer service?”

             o Much easier

             o A little easier

             o About the same

             o A little more difficult

             o Much more difficult




                                               11
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                í And –

       “Compared to your experience with other companies, was your experience with

Amazon’s customer service better, about the same or worse that with other companies?”

             o Much better

             o A little better

             o About the same

             o A little worse

             o Much worse

       22.      Those respondents who answered “yes” to the earlier Amazon customer service

contact question were skipped past the next two questions. Those respondents who answered

“no” to the earlier Amazon customer service contact question were next asked:

       “Compared to other companies, do you think it would be easier, about the same or more

difficult to contact Amazon’s customer service?”

             o Much easier

             o A little easier

             o About the same

             o A little more difficult

             o Much more difficult

                í And –

       “Compared to your experience with other companies, do you think your experience with

Amazon’s customer service would be better, about the same or worse than with other

companies?




                                              12
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             o Much better

             o A little better

             o About the same

             o A little worse

             o Much worse

       23.      ALL respondents were next asked:

       “If you received an email from Amazon showing that you were charged by Amazon for a

digital product purchase that you did not recognize, how likely would you be to contact

Amazon’s customer service?”

             o Very likely

             o Somewhat likely

             o Unsure

             o Somewhat unlikely

             o Very unlikely

       Those who chose either the very likely or somewhat likely responses were skipped past

the next question. Those who chose the unsure, somewhat unlikely or very unlikely responses

were next asked:

       “Why would you be unsure or unlikely to contact Amazon’s customer service?”

       24.      ALL respondents were next asked the final two questions:

       “If you received an email from Amazon showing that you were charged by Amazon for a

digital product purchase that you did not recognize, do you think you would be entitled to a

refund for that charge?”




                                               13
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             o Yes

             o No

             o Not sure

                í And –

                “If Amazon’s stated policy was that digital products were not returnable, but you

received an email from Amazon showing that you were charged by Amazon for a digital product

purchase that you did not recognize, do you think you would be entitled to a refund for that

charge?”

             o Yes

             o No

             o Not sure

       25.      The survey concluded with the following statement: “Thank you very much for

your time.”



                                         Survey Results

       26.      This survey analysis was based on the responses of 1,237 consumers who had

children under age 17 living in the household and who had made a digital product purchase from

Amazon. This data has been analyzed in total and by In-App Purchasers and Non-In-App

Purchasers with the following maximum margins of error:

       Total (N=1,237)                                      ±2.7%

       In-App Purchasers (N=301)                            ±5.8%

       Non-In-App Digital Product Purchasers (N=936)        ±3.3%




                                                14
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       This data was analyzed using StatPac statistical analysis software.           This statistical

analysis software is used by many market research companies and has been used continuously by

me and my company for over 25 years. Over that period, I have gained experience in the use of

the program and the interpretation of results. A cross-tabulation program was used to compare

responses between In-App Purchasers and Non-In-App digital product purchasers in order to

detect statistically significant differences in responses. Throughout the balance of this report,

arrows (o m) are used to denote statistically significant differences between responses of

respondents comprising these two customer segments.           The level of statistical significance

testing used throughout this analysis was p<.01. This means that where statistical significance

was found, there is only 1 chance in 100 that this obtained result could have occurred by chance.

       27.     For each analysis detailed in this section of this report, the results will be detailed

along with an explanation of the significance of the finding and in some cases a conclusion for

each significant finding.

       28.     The first analysis details the types of digital product purchases made by this

sample of respondents. As can be seen in the table below, there was no difference between In-

App and Non-In-App Purchasers in terms of the rates of purchasing videos or songs.



                                                           In-App         Non-In-App
                                           Total
                Digital Product                          Purchasers       Purchasers
                                         (N=1,237)
                                                          (N=301)          (N=936)
             A video                        59%              58%              60%
             A song                         55%              60%              53%
             An app                         47%              67%              41%
             An in-app purchase             24%             100%               0%




                                                  15
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       29.     The next analysis compared rates of actually contacting Amazon customer service

for any reason about a digital product. While 22% had done so overall, In-App Purchasers were

more likely to have contacted Amazon customer service than Non-In-App Purchasers as shown

in the table below:

                Ever Contacted
                                                          In-App       Non-In-App
              Amazon Customer            Total
                                                        Purchasers     Purchasers
             Service About Digital     (N=1,237)
                                                         (N=301)        (N=936)
                   Product?
                      Yes                 22%              35%             18%
                      No                  78%              65%             82%




       30.     The next analysis focused only upon those respondents who had contacted

Amazon’s customer service about a digital product. These respondents were asked:

       “Compared to your experience with other companies, was it easier, about the same or

more difficult to contact Amazon’s customer service?”

       Overall, 94% responded that it was easier (73%) or about the same (21%) to contact

Amazon’s customer service compared to other companies. Among In-App Purchasers, 97%

responded that it was easier (74%) or about the same (23%) relative to other companies. This

data, presented in the table below, also shows that there were no significant differences between

In-App Purchasers and Non-In-App Purchasers in their responses.




                                                16
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              Ease or Difficulty in                          In-App     Non-In-App
                                           Total
              Contacting Amazon                            Purchasers   Purchasers
                                          (N=272)
              Customer Service?                             (N=105)      (N=167)
             Much easier                    42%               45%          41%
             A little easier                31%               29%          31%
             About the same                 21%               23%          20%
             A little more difficult        6%                3%           8%
             Much more difficult            0%                0%           0%



       31.     The next analysis again focused only upon those respondents who had contacted

Amazon’s customer service about a digital product. These respondents were asked:

       “Compared to your experience with other companies, was your experience with

Amazon’s customer service better, about the same or worse than with other companies?”

       Overall, 97% responded that their experience was better (77%) or about the same (20%)

as their experiences with the customer service departments of other companies. Among In-App

Purchasers, 99% responded that their experience with Amazon’s customer service was better

(76%) or about the same (23%) compared to other companies. This data, presented in the table

below, also shows that there were no significant differences between In-App Purchasers and the

purchasers of other digital products in their responses.




                                                  17
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
                                                           In-App     Non-In-App
               Amazon Customer            Total
                                                         Purchasers   Purchasers
               Service Experience        (N=272)
                                                          (N=105)      (N=167)
             Much better                   47%                 49%       45%
             A little better               30%                 27%       32%
             About the same                20%                 23%       17%
             A little worse                 3%                 1%        5%
             Much worse                    <1%                 0%        1%



       32.     While the previous two analyses focused upon actual contact experiences with

Amazon’s customer service, this next analysis focuses upon the expected ease or difficulty of

contacting Amazon’s customer service among those respondents who had not done so. This

information is relevant to determine whether there is any reputational deterrent to contacting

Amazon’s customer service. These respondents were asked:

       “Compared to other companies, do you think it would be easier, about the same or more

difficult to contact Amazon’s customer service?”

       Overall, 94% responded that they thought it would be easier (46%) or about the same

(48%) to contact Amazon’s customer service compared to other companies. Among In-App

Purchasers, 97% responded that they thought it would be easier (55%) or about the same (42%)

to contact Amazon’s customer service relative to other companies. This data, presented in the

table below, also shows that there were no significant differences between In-App Purchasers

and purchasers of other digital products in their responses.




                                                 18
                        CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
          Expected Ease or Difficulty                     In-App          Non-In-App
                                           Total
             to Contact Amazon                          Purchasers        Purchasers
                                          (N=965)
             Customer Service?                           (N=196)           (N=769)
         Much easier                       21%              25%              20%
         A little easier                   25%              30%              24%
         About the same                    48%              42%              49%
         A little more difficult            5%              2%               6%
         Much more difficult                1%              1%               1%



       33.    The next analysis focuses upon the expected experience with Amazon’s customer

service compared to other companies, again among those who had not contacted Amazon’s

customer service about a digital product. These respondents were asked:

       “Compared to your experience with other companies, do you think your experience with

Amazon’s customer service would be better, about the same or worse than with other

companies?”

       Overall, 97% responded that they thought the Amazon customer service experience

would be better (58%) or about the same (39%) relative to their experiences with other

companies. Among In-App Purchasers, 99% responded that they thought the Amazon customer

service experience would be better (60%) or about the same (39%) as they had experienced at

other companies.     This data, presented in the table below, also shows that there were no

significant differences between In-App and Non-In-App Purchasers.




                                              19
                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
                Expected Amazon                                In-App          Non-In-App
                                           Total
                Customer Service                             Purchasers        Purchasers
                                          (N=965)
                   Experience                                 (N=196)           (N=769)
             Much better                      22%                  23%            22%
             A little better                  36%                  37%            36%
             About the same                   39%                  39%            39%
             A little worse                   2%                   1%             2%
             Much worse                       1%                   <1%            1%



Actual vs. Expected Ease or Difficulty of Contacting Amazon’s Customer Service

       34.      As can be seen in the table below, the actual experience of contacting Amazon’s

customer service was found to be better than the expected experience of contacting Amazon’s

customer service. This data suggests that Amazon exceeds customer expectations regarding the

ease or difficulty of contacting Amazon’s customer service.

                                                                                   Non-In-App
      Ease or Difficulty to           Total              In-App Purchasers
                                                                                   Purchasers
       Contact Amazon’s
      Customer Service?         Actual   Expected         Actual    Expected     Actual   Expected
                               (N=272)   (N=965)         (N=105)    (N=196)     (N=167)   (N=769)
     Much easier                42%           21%         45%            25%     41%        20%
     A little easier            31%           25%         29%            30%     31%        24%
     About the same             21%           48%         23%            42%     20%        49%
     A little more difficult     6%           5%           3%            2%       8%        6%
     Much more difficult         0%           1%           0%            1%       0%        1%



Actual vs. Expected Amazon Customer Service Experience

       35.      As can be seen in the table below, the actual Amazon customer service experience

was found to be better than the expected Amazon customer service experience. This data

suggests that Amazon’s customer service experience exceeds customer expectations.




                                                    20
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                                                                                     Non-In-App
                                        Total              In-App Purchasers
      Amazon Customer                                                                Purchasers
      Service Experience         Actual    Expected         Actual    Expected     Actual   Expected
                                (N=272)    (N=965)         (N=105)    (N=196)     (N=167)   (N=769)
     Much better                  47%           22%         49%            23%     45%        22%
     A little better              30%           36%         27%            37%     32%        36%
     About the same               20%           39%         23%            39%     17%        39%
     A little worse               3%            2%           1%            1%       5%        2%
     Much worse                   <1%           1%           0%            <1%      1%        1%



       36.      The next analysis focused upon the likelihood of respondents contacting Amazon

if they received an email from Amazon showing a charge they did not recognize.                         All

respondents were asked:

       “If you received an email from Amazon showing that you were charged by Amazon for a

digital product purchase that you did not recognize, how likely would you be to contact

Amazon’s customer service?”

       Overall, 95% responded that they would be very likely (84%) or somewhat likely (11%)

to contact Amazon’s customer service. This was true for both In-App Purchasers and Non-In-

App Purchasers as shown in the table below.

                                                                 In-App          Non-In-App
                   Likelihood to             Total
                                                               Purchasers        Purchasers
                 Contact Amazon?           (N=1,237)
                                                                (N=301)           (N=936)
              Very likely                       84%                  84%            84%
              Somewhat likely                   11%                  11%            11%
              Unsure                            4%                   4%             4%
              Somewhat unlikely                 1%                   1%             1%
              Very unlikely                     <1%                  <1%            <1%




                                                      21
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         37.       The next analysis focuses upon the reasons given by those who indicated in the

previous question that they would be somewhat unlikely, very unlikely or unsure if they would

contact Amazon if they received an email from Amazon showing a charge for a digital product

which they did not recognize. These respondents were asked:

         “Why would you be unsure or unlikely to contact Amazon’s customer service?”

         Verbatim responses are summarized below:



                                     Contact Amazon Customer Service?

               Unsure                         Somewhat Unlikely                           Very Unlikely
               (N=44)                             (N=10)                                     (N=5)
Don’t know / Not sure / NA (19)       Long process (1)                          The wait (1)
No need to (9)                        Wouldn’t feel the need (1)                They rarely mess up (1)
Depends on amount (7)                 Don’t like to deal with people – prefer   I’d call my bank (1)
Not sure how (1)                      troubleshooting (1)                       You can never get a human being at
Poor service (1)                      No reason to contact them (1)             Amazon (1)
I speak broken English (1)            Difficult to find a number to call (1)    In past dealings I had to be
                                      No problems with them (1)                 transferred several times just to get
Like to solve things on my own (1)                                              right department and still got
No help (1)                           Not much help (1)                         nowhere with the problem (1)
They wouldn’t help me (1)             Probably nothing wrong (1)
Don’t usually do that (1)             Usually satisfied with Amazon and
                                      don’t have a need to call customer
Don’t have time (1)                   service (1)
If I ran into some trouble (1)        No time (1)



         Only 9 of 59 comments reflect poorly on Amazon. This represents less than 1% of the

total sample of respondents.

         38.       The next analysis focuses upon customer refund expectations for digital products.

All respondents were asked:




                                                         22
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       “If you received an email from Amazon showing that you were charged by Amazon for a

digital product purchase that you did not recognize, do you think you would be entitled to a

refund for that charge?”

       Overall, 92% responded that they thought they would be entitled to a refund. Only 3%

responded with “no” while 5% were “not sure.” Among In-App Purchasers, 93% indicated that

they thought they would be entitled to a refund. As can be seen in the table below, there were no

significant differences between In-App and Non-In-App Purchasers.



                                                        In-App        Non-In-App
                                         Total
              Entitled to Refund?                     Purchasers      Purchasers
                                       (N=1,237)
                                                       (N=301)         (N=936)
                  Yes                    92%              93%             92%
                  No                      3%              4%               3%
                  Not sure                5%              3%               5%



       39.     The next analysis focuses upon customer refund expectations for digital products

in light of Amazon’s return policy. All respondents were asked:

       “If Amazon’s stated policy was that digital products were not returnable, but you

received an email from Amazon showing that you were charged by Amazon for a digital product

purchase that you did not recognize, do you think you would be entitled to a refund for that

charge?”

       Overall, 91% responded in the affirmative. This was also true for In-App and Non-In-

App Purchasers. Only 2% of all three respondent groups responded in the negative, while 7% of




                                               23
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each group responded that they were not sure. As can be seen in the table below, there were no

significant differences between In-App and Non-In-App Purchasers.

                                                        In-App        Non-In-App
                                         Total
              Entitled to Refund?                     Purchasers      Purchasers
                                       (N=1,237)
                                                       (N=301)         (N=936)
                  Yes                    91%              91%             91%
                  No                      2%              2%              2%
                  Not sure                7%              7%              7%



                                Final Observations and Conclusions

       40.    My report outlines behaviors and attitudes of Amazon digital product purchasers

and In-App Purchasers in particular with respect to contacting Amazon customer service and the

Amazon customer service experience from both an actual and expected viewpoint.

       The King report concludes that contacting Amazon’s customer service to request a refund

for a digital product purchase is complex and time consuming. The results of my study stand in

stark contrast to this assertion.   The vast majority of Amazon digital product purchasers,

including In-App Purchasers, found it easier or no more difficult to contact Amazon’s customer

service than they had experienced with other companies. The vast majority of Amazon digital

product purchasers, including In-App Purchasers, reported that the Amazon customer service

experience was better than or the same as other companies they had dealt with.

       This study also found that Amazon’s actual delivery of customer service contact and

experience exceeded customer expectations.

       The King report, which is based on her subjective, theoretical analysis, also concludes

that Amazon did not effectively convey to consumers that refunds were available for accidental




                                               24
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or unauthorized in-app purchases or how to request such refunds. The results of the study which

I conducted among 1,237 actual Amazon digital product purchasers challenges this assertion,

including the implicit contention that customers would not have understood that refunds were

available unless Amazon so explicitly stated in the emailed order confirmation:

           x   95% of all Amazon digital product purchasers and 95% of In-App Purchasers

               would contact Amazon if an unrecognized charge appeared in an email from

               Amazon. Less than 2% of all Amazon digital product purchasers (including In-

               App Purchasers) were unlikely to do so. And only 15% of those few purchasers

               who were unsure or unlikely to contact Amazon said so for a reason reflecting

               poorly on Amazon.

           x   92% of all Amazon digital product purchasers and 93% of In-App Purchasers

               expected unrecognized charges in emails from Amazon to be refunded. Only 3%

               of all digital product purchasers and 4% of In-App Purchasers did not think they

               would be entitled to a refund.

           x   91% of all Amazon digital product purchasers and 91% of In-App Purchasers

               expected unrecognized charges in emails from Amazon to be refundable even in

               light of Amazon’s stated policy that digital products are not returnable. Only 2%

               of all digital product purchasers and 2% of In-App Purchasers did not think they

               would be entitled to a refund even in light of the stated policy.

       Thus, the vast majority of Amazon digital product purchasers and In-App Purchasers in

particular would seek refunds for unrecognized charges detailed in emails from Amazon and

believe and have found that it would be easy to contact Amazon’s customer service and that the




                                                25
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Amazon customer service experience would and has been found to be better than or equal to

other companies.



Date: December 7, 2015
                                         Barry A. Sabol, Ph.D.
                                         President of Strategic Consumer Research, Inc.




                                           26
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            EXHIBIT A

       Curriculum Vitae of
       Dr. Barry A. Sabol




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                                Barry Allan Sabol, Ph.D.
                                             President
                                 Strategic Consumer Research, Inc.
                                        26250 Euclid Avenue
                                       Cleveland, Ohio 44132
                                           216-261-0308
                                      bsabol@scr-research.com


                                Professional Experience

President  Strategic Consumer Research, Inc.                                      1982  Present
    x   Founded firm in 1982
    x   Responsible for all phases of project design, analysis and reporting
    x   Responsible for client development and support
    x   Expertise in many types of research including:
        x   Advertising Effectiveness
        x   Awareness and Image Assessment
        x   Competitive Positioning
        x   Customer Satisfaction and Loyalty Measurement
        x   Market and Store Performance Assessment Tracking
        x   Market/Customer Segmentation
        x   New Concept Testing
        x   New Product/Service Evaluation
        x   Website Navigation Evaluation


Research Director  Fox and Associates, Inc.                                            1978 – 1982
    x   Responsible for the design, development and execution of quantitative consumer attitude,
        opinion, image, awareness and demographic research studies for clients of this full-service
        advertising agency.


Research Specialist  Psychological Research Services                                   1975  1978
    x   Responsible for the development and execution of projects within the areas of training needs
        assessment, training, training program evaluation, performance appraisal, organizational
        analysis, testing, test validation and survey research.




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                    Professional Organizations/Activities
1995  2006        Member of the Thiel College Board of Trustees
                   Greenville, Pennsylvania
                   Vice Chairman 2001-2002

1979  Present     Member of the American Marketing Association
                   Cleveland Chapter President in 1989-1990

1983  1990        Board Officer for the Cuyahoga County Drug Abuse Services
                   Chairman in 1990

1991  2000        Board Officer for The Cleveland Treatment Center, a Cleveland area
                   heroin-addiction treatment center


                                    Publications
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MSI.

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Rat. Brain, Behavior and Evolution, 1976, 13, 116-124.

Wilcott, R.C. & Sabol, B.A., Response Suppression Produced by Electrical Stimulation in the
Neocortex of the Cat, Neuropsychologia, May 1976.


                                 Teaching Experience
Guest Lecturer  MBA Marketing Research                                  2006 - 2010
 Weatherhead School of Management
 Case Western Reserve University, Cleveland, Ohio


                                   Academic History
Ph.D. Quantitative Design and Research Analysis                               1979
 Case Western Reserve University, Cleveland, Ohio

Masters Psychology                                                            1976
 Case Western Reserve University, Cleveland, Ohio

Bachelors Psychology                                                          1974
 Thiel College, Greenville, Pennsylvania




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                                           EXHIBIT B

                                  Past Four-Year Sworn
                                      Testimony by
                                   Dr. Barry A. Sabol

Dr. Barry A. Sabol has testified as an expert witness in one case in the past four years:

        Promark Brands Inc. and H.J. Heinz Company, Opposers,
        V. GFA Brands, Inc., Applicant
        Opposition No. 91194974
        í By deposition, March 12, 2013




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            EXHIBIT C

        Survey Instrument




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                                  DIGITAL PRODUCT PURCHASER
                                    FINAL SURVEY INSTRUMENT



Thank you for participating in our survey. There are no right or wrong answers. Your honest opinions are
all that count. This survey should take no more than 5 minutes to complete. First . . .


SCREEN A:       Do you have any children under the age of 17 currently living in your household?
                                            -1 Yes (CONTINUE)
                                            -2 No (THANK AND TERMINATE)



SCREEN B:       Have you ever purchased any one or more of the following DIGITAL PRODUCTS from
                AMAZON: (CIRCLE ALL PURCHASED)
                                            -1 A video
                                            -2 A song                       CONTINUE
                                            -3 An app
                                            -4 An in-app purchase

                                            -5 None of these (THANK AND TERMINATE)


    1. Have you ever contacted Amazon’s customer service for any reason about a digital product?
       A digital product is defined as a video, a song, an app or an in-app purchase.
                                            -1 Yes (ASK Q. 1A AND Q. 1B, THEN SKIP TO Q. 3)
                                            -2 No (SKIP TO Q. 2)


  1A. Compared to your experience with other companies, was it easier, about the same or more
      difficult to contact Amazon’s customer service?
                                            -1 Much easier
                                            -2 A little easier
                                            -3 About the same
                                            -4 A little more difficult
                                            -5 Much more difficult




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1B. Compared to your experience with other companies, was your experience with Amazon’s
    customer service better, about the same or worse than with other companies?
                                         -1 Much better
                                         -2 A little better
                                         -3 About the same
                                         -4 A little worse
                                         -5 Much worse


 2. Compared to other companies, do you think it would be easier, about the same or more difficult to
    contact Amazon’s customer service?
                                         -1 Much easier
                                         -2 A little easier
                                         -3 About the same
                                         -4 A little more difficult
                                         -5 Much more difficult


2A. Compared to your experience with other companies, do you think your experience with Amazon’s
    customer service would be better, about the same or worse than with other companies?
                                         -1 Much better
                                         -2 A little better
                                         -3 About the same
                                         -4 A little worse
                                         -5 Much worse


 3. If you received an email from Amazon showing that you were charged by Amazon for a digital
    product purchase that you did not recognize, how likely would you be to contact Amazon’s
    customer service?
                                         -1 Very likely                  (SKIP TO Q. 4)
                                         -2 Somewhat likely

                                         -3 Unsure
                                         -4 Somewhat unlikely            (CONTINUE)
                                         -5 Very unlikely


3A. Why would you be unsure or unlikely to contact Amazon’s customer service?




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4. If you received an email from Amazon showing that you were charged by Amazon for a digital
   product purchase that you did not recognize, do you think you would be entitled to a refund for
   that charge?
                                        -1 Yes
                                        -2 No
                                        -3 Not sure


5. If Amazon’s stated policy was that digital products were not returnable, but you received an email
   from Amazon showing that you were charged by Amazon for a digital product purchase that you
   did not recognize, do you think you would be entitled to a refund for that charge?
                                        -1 Yes
                                        -2 No
                                        -3 Not sure




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            Exhibit J


Exhibit J
                        UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF WASHINGTON
                                 AT SEATTLE




FEDERAL TRADE COMMISSION,

          Plaintiff,
                                           Case No. 2:14-CV-01038-JCC
     v.

AMAZON.COM, INC.

          Defendant.




                EXPERT REPORT OF ANDREW L. SEARS, PH.D.

                               December 7, 2015




                  CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
                                                   TABLE OF CONTENTS

                                                                                                                                       Page


I.     Qualifications ..................................................................................................................... 1
II.    Introduction ........................................................................................................................ 2
       A.         Assignment ............................................................................................................ 2
       B.         Information Considered ......................................................................................... 3
       C.         Summary of Opinions ............................................................................................ 3
III.   Analysis.............................................................................................................................. 6
       A.         Usability Must Be Viewed In Context ................................................................... 6
                  1.         Time and Experience Redefines What Is Usable ....................................... 7
                  2.         State of the Art for In-App Purchases in November 2011 ......................... 9
                  3.         Design, Release, and Redesign Is An Accepted Practice ........................ 10
       B.         Heuristic Evaluations Are Less Reliable and Prone to Error if Applied
                  Incorrectly ............................................................................................................ 11
                  1.         Heuristic Evaluations Are Subjective ...................................................... 13
                  2.         Reliable Application of Heuristic Evaluation Requires the Use of
                             Multiple Evaluators .................................................................................. 13
                  3.         Heuristic Evaluations Can Overestimate the Severity of Potential
                             Problems and Identify False-Positives ..................................................... 14
                  4.         Heuristic Evaluations Are Not a Substitute for Usability Testing ........... 15
       C.         Ms. King’s Heuristic Evaluation Is Incomplete and Unreliable .......................... 17
                  1.         Prominence of In-App Purchase Disclosures .......................................... 19
                  2.         Prominence and Clarity of Key Details Badge ........................................ 21
                  3.         Clarity of In-App Purchase Disclosures .................................................. 22
                  4.         Usability of In-App Purchase Flow and Disclosures ............................... 23
                  5.         Prominence and Clarity of Purchase Confirmation Screen ..................... 25
                  6.         Ms. King’s Analysis of Customer-Service Contacts Is Flawed ............... 25
       D.         Amazon Designed for Parents to Exercise Control Over Their Devices ............. 27
       E.         Dr. Rosenberg’s Usability Test ............................................................................ 28
IV.    Conclusion ....................................................................................................................... 29




                             CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
I.     Qualifications

1.     I am the Dean of and a Professor in the College of Information Sciences and Technology
at The Pennsylvania State University. I have been working in the field of computer science with
a focus on human-computer interaction since 1988. I earned a Bachelor’s Degree in Computer
Science from Rensselaer Polytechnic Institute in 1988 and a Ph.D. in Computer Science from the
University of Maryland, College Park, in 1993. The chair of my doctoral dissertation committee
at the University of Maryland was Professor Ben Shneiderman. Jennifer King relies upon
Professor Shneiderman in her expert report and identified him as one of the “[l]eading
researchers” in the field of human-computer interaction. I concur that he is one of the leading
researchers in the field of human-computer interaction. Indeed, Professor Shneiderman is
responsible for many innovative ideas, methods, and tools widely accepted today, such as direct-
manipulation interface design, advances in information visualization, and his well-respected
“Eight Golden Rules of Interface Design” first explained in his leading treatise “Designing the
User Interface: Strategies for Effective Human-Computer Interaction” published in 1986.
Professor Shneiderman also is well known for contributing to the development of the research
area of universal usability, a concept pertinent to my expert opinions set forth below.

2.     My research has explored many aspects of human-computer interaction, including the use
of mobile devices, touchscreen-based interfaces, web-based interactions, and accessibility in the
context of computing technologies. My research has been funded by various government
agencies, foundations, and corporations, including the National Science Foundation, the National
Institute on Disability and Rehabilitation
                               a                         Nationall Institute of Standards and
                                           Research, the Nationa
Technology, the Verizon Foundation, IBM, and Motorola.

3.     In addition to my academic research and teaching, I have advised a variety of companies
and organizations in the areas of human-computer interaction and user-interface design,
including design for mobile devices and touchscreen-based interactions.

4.     I served as a founding Editor-in-Chief of the Association for Computing Machinery’s
(ACM’s) journal “Transactions on Accessible Computing” before becoming a member of that
journal’s editorial board. I also served on the editorial boards of several additional journals,



                                           1
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including ACM’s “Transactions on Computer-Human Interaction,” the “European Journal of
Information Systems,” the “International Journal of Human-Computer Studies,” and “Universal
Access in the Information Society.”

5.     I served as Conference and Technical Program Co-Chair of the premier conference on
human-computer interaction: ACM Conference on Human Factors in Computing Systems (CHI
2001) and as both General Chair and Program Chair for the premier conference on accessibility
in the context of computing: ACM SIGACCESS Conference on Computers and Accessibility
(ASSETS 2004 and ASSETS 2005). I served as the Chair of the ACM Special Interest Group on
Accessible Computing and as a member of the ACM Council. I currently serve as a member of
the Board of Directors for the Computing Research Association. I was named an ACM
Distinguished Scientist in 2010.

6.     I have received numerous awards in recognition of my service to both the ACM Special
Interest Group for Computer Human Interaction (1998, 1999, 2001) and the ACM Special
Interest Group for Accessible Computing (2004, 2005). As a doctoral student, I was selected to
receive a fellowship by NASA, which supported my PhD studies, and I was also selected to
participate in the Doctoral Consortium at CHI 1992.

7.     I was first contacted by Amazon.com attorneys on October 23, 2015, and retained to
review and, if appropriate in my opinion, respond to Ms. King’s expert report. I am being
compensated for my work on behalf of Amazon at the rate of $1000 per hour. My compensation
is not contingent upon the outcome of my opinions or of this litigation.

II.    Introduction

       A.      Assignment

8.     I was retained in late October 2015 by counsel for Amazon to serve as an expert witness
for purposes of consultation and potential expert testimony in the case of FTC v. Amazon.com,
Inc. Specifically, I was asked to analyze the expert report of Jennifer King and to opine on the
following:

         a. Whether the methods and practices described and used by Ms. King in her expert
             report in this case are consistent with accepted and reliable methods and practices in


                                          2
                      CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
             academic and commercial fields related to human-computer interaction and user-
             interface design.

         b. Whether Amazon’s Kindle Fire tablet interfaces, notifications, and descriptions
             associated with in-app purchases were so far below contemporary, accepted
             business practices that they would have unfairly confused parents about the
             presence of and opportunity to make in-app purchases, about the presence of and
             opportunity to enable Parental Controls to restrict in-app purchases, or the
             availability of and means to request a refund for any accidental or unwanted in-app
             purchases.

         c. The veracity of Ms. King’s opinions, including her conclusions “that Amazon did
             not effectively convey to consumers downloading an in-app charge app (an app
             containing in-app charges) from the Amazon Appstore that children could incur in-
             app charges”; “that Amazon did not effectively convey to consumers downloading
             an in-app charge app from the Amazon Appstore that they would have to change
             their device settings to prevent children from incurring in-app charges without
             parental involvement”; “that Amazon did not effectively convey to consumers who
             incurred unauthorized in-app charges that refunds were available for those charges
             from Amazon”; and “that Amazon did not effectively convey to consumers who
             incurred unauthorized in-app charges how to request a refund for those charges
             from Amazon.”

       B.      Information Considered

9.     My opinions are based on more than twenty-five years of knowledge, skill, experience,
training, and education in the field of human-computer interaction and user-interface design. The
list of specific materials I considered and relied upon in forming my opinions in this report is
available at Appendix B.

       C.      Summary of Opinions

10.    Usability is a subjective concept that evolves with time and experience and must be
viewed with great care and consideration and in context. Context includes users, user goals, prior


                                           3
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experience, state-of-the-art, environment, system capabilities, and system goals. As a result, what
is considered well designed at one point in time may be considered poorly designed at another
point in time. Current understanding of usability may appear obvious in hindsight, but it is often
the result of significant research or extensive trial and error
                                                           r unavailable at launch.

11.    There is significant risk by imposing liability for negative results during usability trial
and error or while exploring new options in an effort to improve upon the status quo. Unless
liability is limited to situations in which the design was objectively unreasonable at launch or
made in bad faith—and not simply sub-optimal, particularly in hindsight—the risk of liability
will deter positive efforts and hamper innovation.

12.    Understanding usability requires knowledge of the intended users and the various tasks
those users may want to complete. Tasks are often
                                             f prioritized; compromises in design are often
necessary and recommended. Time and experience routinely redefine usability. Changed
understanding of user ability and technological capability often create new opportunities for
improved human-computer interaction and user-interface design.

13.    It is common and accepted practice for organizations to release a product, observe how
the product is used, gather feedback from users, and revise the product to address user concerns
and improve the user experience. Amazon’s in-app-purchase innovations for usability are
consistent with this accepted approach.

14.    Heuristic usability evaluations or “inspections” such as Ms. King undertook here have
significant limitations, particularly where they are performed by evaluators with limited formal
training or usability experience. Even when performed by experts, results from heuristic
evaluations typically differ from one individual to the next; thus, it is strongly discouraged to
rely on a single, subjective evaluation to categorically establish usability or “effectiveness.”

15.    There is no single accepted set of heuristics, and isolated heuristic evaluations are prone
to overemphasizing the severity of perceived problems, including identifying false-positives—
items that would not actually create problems for users interacting with a live system. Reliable
heuristic evaluations require the use of multiple evaluators to independently review a system and
systematically aggregate the results while carefully assessing the existence and severity of
potential problems.


                                           4
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16.    The methods and practices described and used by Ms. King in her expert report are
inconsistent with accepted and reliable methods and practices in academic and commercial fields
related to human-computer interaction and user-interface design. Ms. King’s goal of identifying
major flaws is particularly susceptible to the shortcomings of heuristic evaluation, and her
opinions were not informed by more reliable user testing or surveys.

17.    Ms. King often draws sweeping, unqualified conclusions about wide swaths of tablet
users and interfaces without statistical support. Ms. King erroneously assumes that Amazon’s
primary task is always to address in-app purchasing and Parental Controls; she fails to recognize
the variety of tasks at issue, the various users, the context of the marketplace and the device; and
she applies a standard of perfection or best practice, with the aid of hindsight, that is uncalled for
in the field and inappropriate where, as here, the question is whether Amazon’s practices were
unfair, not whether they were imperfect.

18.    Ms. King identifies a collection of potential or candidate problems of uncertain reliability
and unknown severity, and her solutions, where suggested, do not adequately consider context,
show little or no appreciation for competing design objectives, and could introduce unaddressed
and unintended consequences.

19.    Contrary to Ms. King’s opinion, I conclude that Amazon’s initial
                                                                initial design and refinementt
pprocess
  rocess were reasonable and consistent with the practice of the industry. In several ways it was
superior to the state-of-the-art, as it provided more detailed information about in-app purchasing,
immediate notification of purchases, and Parental Controls to give customers more options with
respect to their children’s activities. Amazon designed for parents to exer
                                                                       exercise
                                                                           cise control over theirr
account-connected devices, and Amazon’s launch-and-learn approach and constant refinement is
a preferred approach in the industry to improving usability.

20.    Amazon’s Kindle Fire tablet interfaces, notifications, and descriptions associated with in-
app purchases did not fall so far below contemporary,
                                             m        accepted business practices that they
would have unfairly confused parents about the presence of and opportunity to make in-app
purchases, about the presence of and opportunity to enable Parental Controls to restrict in-app
purchases, or the availability of and means to request a refund for any accidental or unwanted in-
app purchases.


                                           5
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III.        Analysis

            A.     Usability Must Be Viewed In Context

21.         Usability is largely a subjective concept that evolves with time and experience. There is
no single definition of usability. What is usable for one group of individuals may be poorly
designed for another group of individuals. What is well designed for one set of tasks may be
poorly designed for another set of tasks. What is considered well designed at one point in time
may be considered poorly designed at another point in time.

22.         It is therefore critical thatt context be considered when evaluating usability. Context
includes not only the users of the system and the goals of those users but also the users’ prior
experience, both with the system and with other systems that may have existed at the time, and
the overall environment in which the system will be used.1

23.         Understanding usability requires knowledge of the intended users and the various tasks
those users may want to complete. The more diverse the population of potential users, the more
challenging it can be to design solutions that effectively address the goals and abilities of all
users. Designing for diverse tasks also introduces challenges. Tasks are often prioritized, based
on the current understanding of which tasks users consider most important or which tasks they
will complete most often. It has been long accepted that compromises are necessary for well-
designed applications, and designs often must necessarily focus on key segments of the target
population and frequent or important tasks.2 As a result, some features that are important for a
specific segment of the population may be less obvious or accessible than other features, which
were considered more relevant or important for a larger subset of the population.

24.         Since the concept of usability evolves with time and experience, a system may be well
designed when introduced only to be critiqued or redesigned later because the community’s
understanding of usability or design has changed. While the new standard for what constitutes
“well designed” may appear obvious in hindsight and with evolving goals, it is often the result of
significant research or extensive trial and error, which was not available when the system was

1
 See, for example, Hartson, R., & P.S. Pyla, The UX Book: Process and guidelines for ensuring a quality user
experience, Elsevier (2012).
2
    Ibid.


                                               6
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first introduced. Many interfaces have been designed with the best of intentions and in such a
way that was consistent with or superior to what had been state-of-the-art at the time, only to
have aspects of the user interaction redesigned after the product was released because it was
determined that a redesigned solution would provide a superior user experience.3

                   1.      Time and Experience Redefines What Is Usable

25.         Time and experience routinely redefine usability and what both users and designers
consider well designed. The evolution of touchscreen-based interfaces and keyboards serves as
an example of how time and experience affects what is considered usable. In the mid- and late
1980s, it was widely believed that touchscreens could only be used to select relatively large
objects. At the same time, the state-of-the-art was to design interfaces such that selections were
made based on where the user’s finger initially contacted the screen.4 That was the norm, and
systems were designed leveraging this understanding.

26.         While the original strategy, known as “land on,” allowed for selection of large objects,
researchers developed new interaction techniques, including what became known as the “lift-off”
strategy. The lift-off strategy allows users to reposition their finger before lifting it from the
screen.5 The location where the finger is lifted from the screen is activated rather than the
location where the finger first touches the screen. Even with the lift-off strategy, however, the
size of the objects an individual could select remained limited. In the late 1980s, researchers
demonstrated that carefully designed touchscreen-based interactions could allow users to select
smaller targets than previously believed.6

27.         This changed understanding of how user ability (for finger location) and technological
capability (for smaller-area selections) combine created new opportunities for improved human-
computer interaction and user-interface design. And although those practices are now accepted

3
    Ibid.
4
 Potter, Richard L., Linda J. Weldon, and Ben Shneiderman. “Improving the accuracy of touch screens: an
experimental evaluation of three strategies.” Proceedings of the SIGCHI conference on Human factors in computing
systems. ACM, 1988.
5
    Ibid.
6
 Sears, Andrew, and Ben Shneiderman. “High precision touchscreens: design strategies and comparisons with a
mouse.” International Journal of Man-Machine Studies 34.4 (1991): 593-613.


                                               7
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standards in the touchscreen market, no reasonable human-computer-interaction expert would
conclude that the early touchscreen designs were ineffective or were so far below any accepted
standard to be considered unusable or unfair at the time they were introduced.

28.     The evolution of touchscreen-based keyboards may be even more dramatic.7 Land-on
selection has been replaced by lift-off selection. Larger keys have replaced by smaller keys. Even
small lift-off-based touchscreen keyboards have evolved significantly. For example, gesture-
based interactions have been integrated, allowing users to drag their finger from one letter to the
next, entering a complete word in a single action, and predictive technologies allow users to
enter complete words without having to enter each individual letter.8 Dictionary-based
techniques, combined with knowledge of common errors, allow touchscreen keyboards to
automatically correct some errors.

29.     Some improvements are driven by changes in the underlying technologies, while others
are a result of trial and error, a desire to improve upon the status quo, and exploring new options.
There is significant risk by imposing liability for negative results during such trial and error or
while exploring new options in an effort to improve upon the status quo. Unless liability is
limited to situations in which the design was objectively unreasonable at launch or made in bad
faith—and not simply sub-optimal, particularly in hindsight—that risk of liability will deter such
positive efforts and hamper innovation.

30.     A touchscreen keyboard that only allowed individual letters to be entered with each
touch—using the land-on or lift-off strategy—would have been state-of-the-art in the late 1980s.
In many contexts, this same keyboard would likely be considered poorly designed by today’s
standards, particularly given users’ exposure to and current understanding of auto-correct
algorithms, predictive algorithms, and gesture-based interactions in the context of text entry. The
time at which an interface was developed must be considered when analyzing whether it was a
reasonable solution when it was introduced.



7
 Sears, Andrew, et al. “Investigating touchscreen typing: the effect of keyboard size on typing speed.” Behaviour &
Information Technology 12.1 (1993): 17-22.
8
  See, for example, Zhai, Shumin, and Per Ola Kristensson. “The word-gesture keyboard: reimagining keyboard
interaction.” Communications of the ACM 55.9 (2012): 91-101.


                                              8
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31.        As a result, analyzing the usability of a system that existed at some point in the past, with
the goal of understanding how well a system was designed, requires great care and consideration
of the context in which the system was produced. Importantly, this requires consideration of
what was known and what was considered state-of-the-art at the time. A system may have been
well designed when introduced, based on what was known at the time, only to be less than ideal
at the present. Without that understanding and careful evaluation, there otherwise remains
significant risk that reliance on hindsight will produce merely differences of opinion on
optimization, not objective assessment of usability or reasonableness.9

                    2.      State of the Art for In-App Purchases in November 2011

32.        The evolution of how users were informed about in-app purchases is another example.
When Amazon introduced in-app purchases in November 2011, both Apple and Google had
already been providing apps that offered in-app purchases. The user experience provided by
Apple and Google, who were the largest providers of apps that include in-app purchases, was
state-of-the-art at the time. To be sure, Apple and Google are skilled, respected consumer
companies with particularly strong reputations for user-interface design and ease of use. Apple
began offering apps with in-app purchasing in October 2009.10 Yet according to the FTC’s
complaint against Apple, even by November 2011 Apple was not providing any up-front
disclosure regarding the existence of in-app purchases.11 Nor was Apple providing any
immediate notification to the device owner after an in-app purchase was completed. Similarly,




9
  Ms. King often ignores the importance of context and time. For example, she identifies one study finding that
confusion between apps being advertised as free but, in fact, not free to use has led to consumer disappointment and
lower consumer ratings. Expert Report of Jennifer King at 20. Yet the results of that study were reported in May of
2015, nearly four years after Amazon launched in-app purchases. Amazon could not have designed its products in
2011 based on the insights provided by an article published four years later.
10
     Expert Report of Ravi Dhar, October, 16, 2015.
11
  In re Apple Inc., Dkt. No. C-4444, Complaint, Federal Trade Commission (Mar. 2014) (FTC_AMZ_00000001).
Contrary to the representation in the FTC’s complaint against Apple, it may be that by November 2011 Apple
included on its app-description page a limited note about in-app purchases. (I understand from Amazon’s counsel
that the FTC refused to provide information to Amazon in this case about Apple’s or Google’s in-app purchase
disclosures and interfaces.) Even if so, Amazon still met and exceeded the state-of-the-art because it too included a
description, its description was detailed, and it specifically identified Parental Controls.


                                                9
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even by November 2011, Google was not providing any up-front disclosure regarding the
existence of in-app purchases.12

33.        When Amazon launched in-app-purchasing opportunities in November 2011, Amazon
went beyond then-accepted state-of-the-art. Amazon included a description of the availability of
in-app purchases on an app’s description page. That note began with large, all capitalized letters
stating “PLEASE NOTE.” It described in-app purchasing, including that such purchases were
paid for using “actual money.” And it explained that users could configure Parental Controls.13
That these details had been excluded by the other market participants supports the conclusion
that Amazon was operating above contemporary, accepted business practices with regard to
making this information available to all users including parents.

34.        Moreover, unlike Apple, in November 2011 (and through today), Amazon immediately
emailed an order-confirmation receipt to the account holder after each in-app-purchase. That
email receipt included detailed information about each purchase, including the name and cost of
the product and the order number. Itt also included links to the user’s
                                                                 user’s account page as well as to
Amazon help pages.14 That Amazon included those details and links in an immediate
confirmatory email further supports the conclusion that Amazon’s in-app purchasing practices
exceeded those of its largest competitors and then-standard practices.

                   3.      Design, Release, and Redesign Is An Accepted Practice

35.        Usability is not a formula-driven concept. It is based on the experiences of the users. As a
result, it is common for organizations to release a product, observe how the product is used,
gather feedback from users, and revise the productt to address user concerns and improve the user
experience. It is common for this to be an interactive process involving multiple releases as the
system is improved.15 This is consistent with the approach Amazon employed here. Design,

12
     In re Google Inc., Dkt. No. C-4499, Complaint, Federal Trade Commission (Dec. 2014) (FTC_AMZ_00000025).
13
  Expert Report of Jennifer King (October 16, 2015) at 25, Fig. 4; Expert Report of Ravi Dhar (October 16, 2015)
¶¶ 54-55.
14
  Expert Report of Jennifer King (October 16, 2015) at 43, Fig. 12; Expert Report of Ravi Dhar (October 16, 2015)
¶ 36 & Appendix A.
15
  Hartson, R., & P.S. Pyla, The UX Book: Process and guidelines for ensuring a quality user experience, Elsevier
(2012).


                                               10
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release, and redesign is not only supported by the usability community and literature but also has
distinct advantages in terms off obtaining the most pertinent feedback, ensuring earlier entry of
competitive alternatives, and furthering innovative approaches.

36.    As already noted, Amazon’s initial release of in-app purchasing in 2011 went beyond
what was state-of-the-art by providing both an up-front notification about in-app purchases and
immediate email updates whenever in-app purchases were made. This was followed by multiple
revisions to how in-app purchases were introduced and how in-app purchases were completed.
Passwords were introduced for certain in-app purchases in 2012 in response to insights gained
based on customer behaviors. The Key Details feature was introduced in 2013, providing users
with an additional way to learn about in-app purchases. Which purchases required a password
continued to evolve based on user experiences, with a new requirement in May 2013 that a
password be entered prior to the first in-app purchase regardless of the cost. This same dialog
box informed users that they could require a password for all future in-app purchases by turning
on Parental Controls. Building on knowledge gained from user experiences, the current interface
was introduced in June 2014. This interface requires users to explicitly choose between requiring
and not requiring a password for future purchases.

37.    An iterative approach involving product launch, user review and feedback, and
refinement—such as that used by Amazon—is a preferred approach that allows for continuous
improvement of the user experience. Usability and innovation in design will suffer if companies
avoid addressing known interface issues or refrain from exploring ways to improve user design
because they fear that making such improvements will invite litigation based on the (incorrect)
assumption by others that the changes indicate their original designs were unreasonable.

       B.      Heuristic Evaluations Are Less Reliable and Prone to Error if Applied
               Incorrectly

38.    Even at a fixed point in time, usability is a subjective concept. What is ideal for one
individual may be less than ideal for another. What is usable for one individual may be less than
clear to another individual. There is no “formula” based approach that can be applied to ensure
that a system is usable. As a result, various methodologies have been developed to evaluate




                                          11
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usability in the context of information technologies. When used properly, these methodologies
can help identify and address usability problems.

39.        Many methodologies are available for evaluating usability. The website Usability.gov, as
Ms. King mentions in her report, is one useful resource that summarizes a number of
methodologies. However, Usability.gov does not provide a comprehensive understanding of the
issues involved and should not be relied on in isolation.

40.        Some usability evaluation methodologies are based on direct input from users, often
based on interactions with some version of the system in question. These are important
techniques because, as highlighted by usability expert Dana Chisnell, on whom Ms. King also
relies, there is no substitute for observing users interacting with a system if the goal is to
understand the user experience.16 Other methodologies rely on input from usability experts, who
provide insights based on their own personal review of or interaction with some version of the
system. Due to the subjective nature of usability, an effective evaluation—whether user- or
expert-based—relies on input from multiple individuals rather than on the input of just a single
individual.

41.        Ms. King’s identified method for evaluating the “effectiveness” of Amazon’s in-app-
purchasing process is not a usability test but a “usability inspection.” But a usability inspection is
a collection of techniques, not a single methodology.17 Later, Ms. King clarifies that she
conducted a “heuristic evaluation.” Stated differently, she “review[ed] an application interface
for compliance with an accepted set of heuristics.”18

42.        The history of heuristic evaluation within the human computer interaction community is
typically traced back to the early 1990s and research reported by Jakob Nielsen. As detailed
below, however, extensive subsequent research now reveals that there are important limitations
with a heuristic evaluation. Heuristic evaluations are inherently subjective, and they are even less
reliable when the evaluator has limited formal training or experience in usability concepts.

16
  Chisnell, Dana. “What you really get from a heuristic evaluation.” UX Magazine, Feb. 19, 2010.
http://uxmag.com/articles/what-you-really-get-from-a-heuristic-evaluation
17
 See, for example, Mack, R. L., & Nielsen, J. (Eds.). (1994). Usability inspection methods. New York, NY: Wiley
& Sons.
18
     Expert Report of Jennifer King (October 16, 2015) at 13 & n.3.


                                                 12
                             CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
Indeed, even experienced heuristic evaluators typically produce different results when evaluating
the same subject. There is no single “accepted set of heuristics.” Isolated heuristic evaluations
are also prone to overemphasize the severity of perceived problems and identify false-
positives—items that would not actually create problems for users interacting with a live system.
The more reliable, accepted method for heuristic evaluation requires the use of multiple usability
experts to independently review the system, followed by careful analysis involving multiple
individuals that assesses the severity of the potential problems. This severity analysis reduces
false-positives and better assesses the severity of potential problems. Ms. King’s much more
informal process does not account for the synthesis of information that would reduce the
presence of false-positives and better assess the severity of potentially problems, and therefore
her conclusions are subject to those flaws.

                    1.      Heuristic Evaluations Are Subjective

43.          Critically, studies confirm that usability is a subjective concept and different individuals
applying this same technique will often arrive at different conclusions. Expertise (or lack thereof)
affects those conclusions, and heuristic evaluation is more effective when the individuals
performing the evaluation have formal training orr usability experience. IImportantly, even when
the individuals are usability experts, results typically differ from one individual to the next.
Because variation in usability opinions is inevitable, it is strongly discouraged to rely on a single,
subjective evaluation to categorically establish usability or “effectiveness.”19

                    2.      Reliable Application of Heuristic Evaluation Requires the Use of
                            Multiple Evaluators

44.          Also critical to an effective heuristic evaluation is the use of multiple evaluators to
independently assess and then evaluate others’ assessments. The need for multiple evaluators has
been a well-documented guiding principle for at least 20 years.20 Even Usability.gov, on which
Ms. King relies, emphasizes this requirement.21 Jakob Nielsen, also on whom Ms. King relies

19
  http://www.nngroup.com/articles/how-to-conduct-a-heuristic-evaluation; Nielsen, Jakob. “Finding usability
problems through heuristic evaluation.” Proceedings of the SIGCHI Conference on Human Factors in Computing
Systems (CHI ’92), ACM, New York, NY, USA, 373-380.
20
     Ibid.
21
     http://www.usability.gov/how-to-and-tools/methods/heuristic-evaluation.html.


                                                13
                            CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
and who is often credited as one of the scholars who introduced this approach to the community,
similarly cautions about the importance of using multiple evaluators.22 To use techniques like
heuristic evaluation properly, several usability experts should independently review the system.
This initial review should be followed by a systematic approach to aggregate evaluations,
synthesize the inputs gathered, and assess the existence and severity of potential problems.

                    3.       Heuristic Evaluations Can Overestimate the Severity of Potential
                             Problems and Identify False-Positives

45.        Because heuristic evaluations, which are designed to uncover potential problems, are
subjective comparisons of an interface to a set of guidelines or heuristics, such an evaluation
                                                                  Accordingly, any item identified
often identifies problems that do not actually exist in practice. A
by an individual evaluator should be considered a potential or candidate problem.23 The potential
usability problems identified via inspection-based techniques including heuristic evaluation will
vary in importance. Some of the items identified will correspond to minor usability problems,
causing little more than an occasional annoyance. Other items will correspond to severe usability
problems, which may interfere with an individual’s ability to complete a task. Importantly, items
identified using heuristic evaluation have also been shown to be false-positives. In other words,
some of potential problems identified by individual evaluators, including evaluators who are
usability experts, will not represent real problems that need to be addressed.24

46.        A systematic process of reviewing the existence and severity of the potential problems,
which also needs to include several individuals, is vital to address and eliminate false-positives
while also distinguishing between issues that may produce little more than an occasional
irritation and those that may cause severe problems for users.25 Unlike usability tests, which rely
on users interacting with the system and encountering problems, heuristic evaluation relies on




22
     http://www.nngroup.com/articles/how-to-conduct-a-heuristic-evaluation.
23
  Cockton, Gilbert, and Alan Woolrych. “Understanding inspection methods: lessons from an assessment of
heuristic evaluation.” People and Computers XV—Interaction without Frontiers. Springer London, 2001. 171-191.
24
 Sears, Andrew. “Heuristic walkthroughs: Finding the problems without the noise.” International Journal of
Human-Computer Interaction 9.3 (1997): 213-234.
25
     http://www.nngroup.com/articles/how-to-rate-the-severity-of-usability-problems/.


                                                14
                            CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
individuals reviewing a system and identifying things they think may be problems. The nature of
heuristic evaluation makes the problem severity rating process even more important.

47.        The concern of false-positives has been in the forefront since heuristic evaluation was
introduced. One of the original papers introducing the heuristic technique highlighted the
potential for false-positives.26 Other researchers subsequently confirmed the problem of false-
positives and the importance of a separate process for reviewing problem severity in the context
of heuristic evaluation.27 Researchers have also demonstrated that heuristic evaluation can
produce numerous potential problems that are not identified or corroborated through user
testing.28 Finally, Jakob Nielsen continues to highlight the critical importance of an effective
severity rating process, stressing the importance of having several people independently review
the severity of each potential problem.29

                    4.       Heuristic Evaluations Are Not a Substitute for Usability Testing

48.        Ms. King states that the “overriding goal” of her heuristic evaluation is to “identify major
flaws.””30 She also says “a usability inspection [such as she performs] can provide similar insights
to those generated through user testing, particularly when reviewing interfaces for conformance
with basic principles.””31 Both of these statements raise serious concerns.

49.        First, heuristic evaluations are nott known or designed to focus on “major flaws.” As
                                                                                              A
described above, heuristic evaluations identify a mixture of potentially severe problems, minor
problems, and false-positives. Most often, the number of minor problems identified is far greater
than the number of severe problems identified.



26
  Nielsen, Jakob, and Rolf Molich. “Heuristic evaluation of user interfaces.” Proceedings of the SIGCHI conference
on Human factors in computing systems. ACM, 1990.
27
 Sears, Andrew. “Heuristic walkthroughs: Finding the problems without the noise.” International Journal of
Human-Computer Interaction 9.3 (1997): 213-234.
28
  Law, Effie Lai-Chong, and Ebba Thora Hvannberg. “Analysis of strategies for improving and estimating the
effectiveness of heuristic evaluation.” Proceedings of the third Nordic conference on Human-computer interaction.
ACM, 2004; http://www.nngroup.com/articles/usability-problems-found-by-heuristic-evaluation/.
29
     http://www.nngroup.com/articles/how-to-rate-the-severity-of-usability-problems/.
30
     Expert Report of Jennifer King (October 16, 2015) at 14.
31
     Expert Report of Jennifer King (October 16, 2015) at 14.


                                                 15
                             CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
50.        Second, the results produced by heuristic evaluations are not as reliable as those produced
through user testing and do not necessarily produce similar insights.32 In fact, the reference Ms.
King uses to support the assertion about the similarity of those results supports the opposite
conclusion. Ms. King relies on Dana Chisnell’s 2010 article titled “What you really get from a
heuristic evaluation” for her similarity position,33 but that article actually concludes otherwise.34

51.        Chisnell makes several statements that are in direct conflict with Ms. King’s
interpretation of Chisnell’s work. Chisnell states, for example, that “[u]nfortunately, the request
[by a client to do a heuristic evaluation of a product] usually suggests that a heuristic evaluation
can substitute for usability tests.” But Chisnell confirms that heuristic evaluation is “an
inspection, not an evaluation. It is not about the user experience.”35 Chisnell further verifies that
any such heuristic review that “claims to answer” questions about a user’s actual experience “is
just guessing.” Chisnell also confirms that heuristic evaluations such as Ms. King’s are likely to
identify design problems that are not actually problematic: “Worse, they may identify things that
don’t comply with the heuristics that should not be changed.”36

52.        Chisnell explains why Ms. King’s individual, subjective heuristic evaluation inspection is
unreliable in evaluating Amazon’s in-app purchasing process: “Heuristic evaluation may help a
team know whether their UI [user interface] complies with someone else’s guidelines. But
observing people using a design in a usability test gives a team primary data for making design
decisions for their users using their design . . . .” Notably, Chisnell identifies touchscreen devices
and online connectivity (the interfaces at issue here) as particularly susceptible to error from a
heuristic evaluation: “[user testing is superior,] especially in a world evolved far beyond
command line entry and simple GUIs [graphic user interfaces] to options like touchscreens,
social media, and ubiquitous connectivity.” As Chisnell concludes, “For me, observing people
using a design will always trump an inspection or audit for getting solid evidence to determine a


32
     http://www.nngroup.com/articles/usability-problems-found-by-heuristic-evaluation/.
33
     Expert Report of Jennifer King (October 16, 2015) at 14.
34
  Chisnell, Dana. “What you really get from a heuristic evaluation.” UX Magazine, Feb. 19, 2010.
http://uxmag.com/articles/what-you-really-get-from-a-heuristic-evaluation
35
     Emphasis added.
36
     Emphasis added.


                                                 16
                             CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
design direction.” Heuristic evaluations can be useful, when applied properly, for determining if
a system conforms to guidelines. But as Chisnell notes, the fact that something does not conform
to a predefined set of guidelines does not mean that there is a problem that needs to be addressed.

           C.      Ms. King’s Heuristic Evaluation Is Incomplete and Unreliable

53.        Ms. King’s report contains questionable conclusions drawn from an incomplete and
unreliable heuristic evaluation. By conducting an individual, subjective evaluation in a vacuum
with an “overriding goal” to “identify major flaws,” Ms. King uses an approach that is
particularly susceptible to overemphasizing the severity of perceived problems and identifying
false-positives. Ms. King’s conclusions were not informed or corroborated by user testing or user
surveys, and she does not consider the fact that the overwhelming majority of customers used in-
app purchasing without complaint.37 Yet, Ms. King often draws sweeping, unqualified
conclusions about wide swaths of tablet users without statistical support—opining that “many”
customers would not understand in-app purchasing, that “many, if not most” customers would
never see Amazon’s in-app-purchasing notices, that “many users were not likely to know that a
free app would have any additional costs attached” (even though no additional costs were ever
necessary to use the free apps at issue here), and that “in the majority of cases” Amazon’s
badging alone must effectively convey the presence of in-app purchasing. Ms. King presents her
own personal, broad opinions on these topics while discounting the judgments of Amazon’s team
of web and tablet designers, who have considerable experience and real-world success improving
user interfaces and user experiences.

54.        Moreover, Ms. King’s analysis seems to erroneously assume that Amazon’s primary task
is always to address in-app purchasing and Parental Controls. She often fails to recognize the
variety of tasks at issue on each screen and how the various groups of potential users would
perceive these tasks, particularly for a multimedia device designed to provide a multitude of
services to a variety of customers. She fails to recognize that most Amazon customers prefer a
frictionless purchasing experience unencumberedd by additional dialog boxes and password
prompts.38 She often ignores her own opinion that adding more text likely means that users will

37
     Expert Report of Ravi Dhar (October 16, 2015) ¶¶ 103-07 & Table 2.
38
     Expert Report of Donna Hoffman (October 16, 2015) ¶¶ 55-64, 73-76.


                                                17
                            CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
skim the text rather than read it. And, Ms. King’s analysis focuses almost exclusively on the
most uninformed user who is unwilling to make any effort to understand the purpose and ability
of the purchased tablet device. Indeed, she goes so far as to conclude that the term “real money”
only “subtly” conveys the use of actual currency and that the term “future in-app purchases” is
“vague.”

55.     Ms. King similarly ignores the fact that Kindle Fire tablets are media-consumption
devices, which necessarily implies some purchasing ability via that device—an understanding
that is reinforced by the fact that device owners must first link the tablet to an Amazon credit-
card account before making any purchase on the device. In
                                                       I other words, Ms. King assumes that
the average Kindle Fire account owner is unaware that his or her device, once enabled for credit-
card charges, could be used by another user for credit-card purchases. That is not a reasonable
assumption because ownership of such an account-connected device should and likely would
prompt at least of a modicum of vigilance by tablet owners, particularly parents. In my opinion,
it was reasonable for Amazon to proceed on the understanding that users, particularly parents,
would not simply hand an Internet-connected and credit card-enabled device to children without
any supervision over purchases. It was and remains a reasonable design choice to build into such
devices parental choice and regulation, which is what Amazon provided via its notices and
Parental Controls (and later via FreeTime).39 Ms. King ignores this context and reaches a
conclusion that is based on the far less reasonable assumption that Kindle Fire account owners
would exercise almost zero supervision or responsibility over how others, particularly children,
used their devices once enabled for purchases over the Internet.

56.     Nor does Ms. King clearly identify to what standard she holds Amazon. She appears to
demand a level of perfection or “best” practice from inception of the product, with the aid of
hindsight, that is uncalled for in the industry orr in the academic literature. No single evaluator
can effectively and reliably determine a best practice, particularly in a developing market with a
developing interface. The field of human-computer interaction does not recognize a single
standard for best practices or even for complete “effectiveness.” Ms. King’s approach is

39
 Business planning documents for the Amazon Appstore indicate that Amazon early on identified Parental
Controls as a tool available for parents who would supervise their child’s use of a device. Amazon_265968-70,
Amazon_265973, Amazon_265968, Amz_FTC_0037659.


                                              18
                          CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
inappropriate here where the question is whether Amazon’s practices were unfair, not whether
they were imperfect. Indeed, Ms. King’s unqualified conclusions provide an inaccurate and
inappropriate description of the tablet market, and her analysis fails to consider the state-of-the-
art or industry practice when Amazon launched opportunities for in-app purchasing and
introduced various interfaces over time. She similarly disregards whether Amazon’s approach
was reasonable even if not “best,” whether it was part of a refinement process that employed data
and information from actual user experience and feedback with the goal of continuously
improving the user experience, or whether it was made in good faith and not intended to deceive.

57.    As a result, Ms. King produces a collection of potential or candidate problems of
uncertain reliability and unknown severity, and her solutions, where suggested, do not
adequately consider context, show little or no appreciation for competing design objectives, and
could introduce unaddressed and unintended consequences. Some of these candidate problems
are likely false-positives. Even those items that are not false-positives simply correspond to items
that deviate from a set of guidelines, and those “deviations” do not necessarily mean that changes
to the system are appropriate or that users would experience difficulty as a result of the issues
identified. The following examples highlight why multiple, professional evaluators are necessary
when applying such usability inspection techniques.

               1.      Prominence of In-App Purchase Disclosures

58.    Beginning less than a week after Amazon first started offering opportunities for in-app
purchasing, Amazon included on the app-description page information about in-app purchases
allowing users to understand the meaning of in-app purchasing and to understand that Parental
Controls were available for use in the context of in-app purchases. This information was
appended to the end of the app description, highlighted by the uppercase text “PLEASE NOTE.”
The note itself informed users that the “app contains in-app purchasing, which allows you to buy
items within the app using actual money.” That text clearly and in understandable terms states
that purchases can be made from within the app and that these purchases are made using real or
“actual” money. The note continues by informing users that they “can configure parental controls
from the device Settings menu by selecting Parental Controls.” That text also clearly and in




                                           19
                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
understandable terms informs users that they have the ability to enable Parental Controls via the
settings menu.

59.        In my opinion, and contrary to Ms. King’s view, in the context in which it was
encountered, the phrase “in-app purchase” was sufficiently clear. Moreover, because the device
is connected to the account holder’s Amazon account, which includes a method of paying for
purchases such as a credit card, it is reasonable to expect users to understand that these “in-app
purchases” would result in charges to their Amazon account.

60.        The use of uppercase to highlight “PLEASE NOTE” makes the in-app purchase note
more prominent than it would be otherwise. The fact that the app developer could also use
uppercase within the app description does not change this fact or completely eliminate its
usefulness, as Ms. King suggests. There can be multiple important pieces of information within
the app description including the in-app purchase note and other items identified by the app
developer. The use of uppercase would help to attract the users’ attention to these items that were
considered important.

61.        Nor did Ms. King identify any instance in which uppercase was used so often that it was
no longer a distinguishing feature. And had Amazon made the entirety of the in-app-purchase
note uppercase (as opposed to the attention-grabbing first two words), it may have been more
difficult for users to read and they may have then, as Ms. King notes, only skimmed or
completely ignored the text.

62.        Ms. King opines that “in the majority of cases,” users would not see or understand the in-
app-purchase description, yet she performed no user testing or statistical measurement to draw
such a conclusion. And there is simply no support for Ms. King’s unqualified position that
because other text may have also been displayed in uppercase, the in-app-purchase text was
“difficult, if not impossible, to notice” and was categorically “ineffective.”40

63.        Finally, Ms. King ignores the simple fact that not all notices and information can be
prominent. Not everything can be distinct, else everything becomes indistinct. Tradeoffs
regarding importance and placement must be made. Everything cannot always appear “above the


40
     Expert Report of Jennifer King (October 16, 2015) at 26 (emphasis added).


                                                20
                            CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
fold,” nor should it. It was reasonable and fair and consistent with industry norms for Amazon to
conclude that the most important information on the app-description page, and that which
appeared at the top of the screen, describe the purpose and use of the app itself. In-app
purchasing is optional and supplemental; its prominence should be commensurate with that
significance. And Amazon reasonably adjusted that prominence as the significance of in-app
purchasing also evolved in the market.

                 2.    Prominence and Clarity of Key Details Badge

64.    The Key Details badging was added in June 2013 as an additional means of highlighting
important or useful information. As Ms. King notes, the Key Details were “Above the fold,”
making them even more visible than other text when the app description is initially displayed.
The bulleted list makes it clear that this is a list of topics and not the complete details. The Key
Details label is presented in a color and font similar to other text on the screen, and the words
effectively convey that this section includes important information.

65.    Ms. King asserts that the title suggests that the section contains information the user
“may wish to know” but that it “does not communicate to the user who is concerned about the
cost of the app that it contains information that he or she must know regarding potential charges
prior to downloading or using the app.” I disagree. The title “Key Details” is a useful way to
highlight important details, particularly as users would understand that the term “Key” is
synonymous with “important.” The purpose of the title was not, as Ms. King suggests, to
specifically “communicate to the user who is concerned about the cost of the app that it contains
information that he or she must know regarding potential charges prior to downloading or using
the app.” The purpose of the title was to highlight the availability of important information or
“key details.”

66.    I also disagree with Ms. King’s analysis of the text provided for the In-App Purchases
key detail. This text clearly and in understandable terms conveys that “actual money” is used,
that purchases can be made from within apps, and that you can configure these purchases from
within Parental Controls. I disagree with her assertion that the notice does not convey the “fact
that IAPs have real costs associated with them.”




                                           21
                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
67.        Ms. King states that users must already be familiar with the term “in-app purchasing” for
“the element to be immediately effective.” I disagree. The choice of words makes it such that the
phrase clearly refers to a “purchase” in the context of an “app” or gives the reasonable parent
enough information to inquire further about the type of purchasing at issue.

68.        Ms. King does not offer alternatives or consider the unintended consequences of
implementing those alternatives. With respect to the Key Details badging and implicit
throughout Ms. King’s report is the contention that Amazon should have added more text and
more notices to describe in-app purchasing and Parental Controls in greater detail. But even she
admits that “people prefer to skim, rather than read lengthy amounts of text” and that additional
“task interruption [that diverts attention from the primary task, e.g., selecting and using the app]
is a powerful disincentive.”41 Ms. King makes no effort to reconcile those inconsistent positions
or address the balance required to most efficiently give all users, including parents and
nonparents, the information and tools to make informed decisions about their devices and the
individuals they permit to use those devices.

                    3.       Clarity of In-App Purchase Disclosures

69.        Ms. King asserts that it is important to disclose “in-app purchases in a brief and concise
statement.” She also asserts “given the fact that in-app purchases can quickly become quite
costly, the importance of communicating their cost is crucial.” However, her two assertions can
be in conflict since it may be difficult to “communicat[e] their cost” in a “brief and concise
statement” due to the potential for multiple, different in-app purchases with different costs within
a single app. And she often criticizes Amazon for using brevity and conciseness in its notices.
Given the trade-off, it is important that the message be brief; otherwise, as Ms. King has noted,
people may be less likely to read to notice.

70.        Ms. King argues that the use of the phrase “parental controls” was “likely to introduce
confusion or an additional learning barrier for novice parents or users who are not parents
attempting to familiarize themselves with the system.” She draws her conclusion from her
assertion that the term “parental controls” was originally introduced in the context of content


41
     Expert Report of Jennifer King (October 16, 2015) at 24, 38.


                                                 22
                             CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
blocking and “purchase controls did not emerge until the late 2000s.” Thus, according to Ms.
King, for some unidentified portion of the user population “pre-existing familiarity with the term
may trigger primary associations with content restriction rather than purchase restrictions.” Ms.
King’s evaluation of the understanding of the term “parental controls” (particularly as late as
November 2011) is unnecessarily and incorrectly narrow. Reasonable users would understand
the term “parental controls” to refer to restrictions set up by parents—a restriction to content or a
restriction to purchasing, or both. Much like the definition of the term “in-app purchasing” is
self-evident, so too is the term “parental controls,” particularly in this context.

71.     Ms. King appears to ignore common sense while focusing exclusively on only the most
uninformed users who are unwilling to make any effort to understand the purpose and
capabilities of the device they purchased. There is of course the possibility that “some” users will
not understand the term “parental controls,” just as there is the possibility that some users will
not understand any term or notice. Any interface design and any choice of words can result in
“some proportion of the user population” misunderstanding some details; that possibility cannot
be avoided, especially where a company must balance the needs and desires of many varied
customers. Ms. King demands a level of perfection that is both unjustified and nonexistent. That
some users may not have understood that commonly used and widely understood term does not
make its use “ineffective.”42

                 4.       Usability of In-App Purchase Flow and Disclosures

72.     In May 2013, even though only a small percentage of users were experiencing any
misunderstanding about in-app purchases, Amazon introduced a password prompt on each
device for all first-time in-app purchases. That dialog box not only required entry of the account
holder’s password to complete the purchase but also further explained in-app purchases;
reiterated that if the account holder wanted to require a password for future purchases, he or she



42
  Ms. King also ignores that Amazon and its Appstore provide unfiltered customer reviews on every app-detail
page. Those reviews, which are a widely recognized source of useful information, include commentary (both
positive and negative) about the availability of in-app purchasing and Parental Controls. See Expert Report of
Michael Callahan (October 16, 2015) at 10. By making available not just many reviews but all reviews (critical and
otherwise), Amazon’s design choice helps train customers to use those reviews as a source of information. Ms. King
fails to consider that context.


                                              23
                          CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
should set up Parental Controls; and provided a direct hyperlink to enable those parental-control
settings.

73.     Despite this effort by Amazon to again convey both the opportunity for in-app purchases
and the ability to disable them (creating additional friction unwanted by most of its customers in
order to help those customers who may have needed additional assistance), Ms. King identifies
“at least three” issues with the dialog box. She first observes that “the call to action (entering a
password) dominates the focus of this prompt and suggests the other text is less important.” Ms.
King ignores the fact that the password prompt immediately above the space for entering the
password says, “To complete your purchase, enter your Amazon password.” The wording of the
prompt conveys to the account holder that someone is making a purchase on the device, and this
is the primary purpose of the dialog box. Moreover, the title of the dialog box, which is presented
in larger font size than any other text, also says, “Confirm In-App Purchase,” prominently
verifying for the account holder that password entry will result in a purchase. These are
reasonably the most important aspects of the dialog box, and they are made sufficiently clear to
the user.

74.     Second, Ms. King suggests that users would not understand the phrase “real money”
because it appears “without mentioning the dollar amount of the particular charge or using a
dollar signs or other signals to emphasize that there is a financial transaction.” I strongly disagree
with Ms. King’s analysis. The lack of dollar signs or a specific dollar amount on this dialog box
would not cause the reasonable user (or even an uninformed user) to misunderstand that he or
she would be spending money by completing the transaction.

75.     Finally, Ms. King opines that the phrase “future in-app purchases” is vague such that
“even users familiar with in-app purchases are unlikely to understand that after entering their
password a child would be able to incur additional in-app charges without password reentry.” I
disagree. She asserts that users who “read the full sentence” may “fail to understand that they
must change their device settings to prevent children from incurring additional in-app charges
without password entry” because the “If you’d like” at the beginning of the sentence
characterizes the information as optional. I disagree. I believe this sentence presents the user with
clear instructions in the form widely accepted formula: if GOAL then ACTION. If the user



                                           24
                       CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
would like to require passwords for future in-app purchases, they must “turn on Parental
Controls.” The standard by which Ms. King evaluates this dialog box, as well as other prompts,
is unreasonably demanding, unsupported by academic literature, and implies that no phrase
would ever be sufficient.43

                 5.       Prominence and Clarity of Purchase Confirmation Screen

76.      Ms. King critiques the “Purchase Confirmation Screen,” asserting that “When Amazon
required password entry, some parents may not have seen this screen after entering their
password and handing the device back to a child.” Her critique misses the point. By presenting a
confirmation dialog box, Amazon provided the opportunity for users to confirm their transaction.
It is always possible that someone may not notice such a confirmation if they quickly hand the
device to someone else, but this does not negate the fact that Amazon provided users with an
opportunity to confirm their transaction.

77.      Ms. King also asserts that “Other parents may have seen the screen, but may not have
read the text [about Parental Controls] given that the primary call to action is the close button in
the top right.” Again, this is always a possibility when a screen is designed to address multiple
goals. In this case, the primary goal is to confirm a transaction. A secondary goal was to convey
the status of the Parental Controls, providing users with yet another opportunity to verify and
modify the status of these controls. Ms. King’s analysis seems to assume that the primary task is
always to deal with the Parental Controls related issues, failing to recognize the variety of tasks
supported by this dialog box and which tasks were considered most important for the majority of
users.

                 6.       Ms. King’s Analysis of Customer-Service Contacts Is Flawed

78.      Ms. King’s analysis of customer-service contacts is likewise flawed and suffers from the
same defect of searching for and highlighting information that supports a theory rather than
evaluating usability objectively. In particular, Ms. King began with over 152,000 “records of

43
  Notably, Ms. King highlights Nielsen’s position that it is best practice to disclose additional fees as soon as
possible. Expert Report of Jennifer King (October 16, 2015) at 20-21. But she ignores that Amazon in multiple
locations disclosed—before even downloading an app and long before making any in-app purchase—that
opportunities for in-app purchasing were available and optional. Amazon also disclosed every specific fee before the
user made a purchase.


                                              25
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individual consumer complaints corresponding to certain Amazon complaint codes.” But this
entire set of records was predisposed to represent situations where customers raised concerns,
thus deliberately reinforcing the existence of her allegedly uncovered “themes.” Importantly, Ms.
King provides no information or analysis regarding the total number of transactions during this
period of time, limiting the ability to understand the prevalence of concerns based on this source
of information alone.

79.       Moreover, Ms. King pruned those records to approximately 28,000 records of chat
sessions and emails that included the phrase “Accidental Order – Child.” By limiting the sample
to only those contacts with the term “Accidental Order – Child,” Ms. King necessarily restricted
her analysis to records predisposed to support her “themes” about accidental orders made by
children—to the exclusion of contacts made by all Amazon customers about in-app purchases let
alone the total number of in-app purchases that occurred during this period.

80.       Taking a random sample of that focused subset of records, Ms. King manually reviewed
400 records, identifying a smaller subset of 219 records she deemed “informative” because the
customer explicitly noted that the basis of the complaint was an unintentional order for an in-app
purchase by a child.”44 It should come as no surprise that Ms. King discovered “themes” about
accidental child purchases when her analysis began from a highly filtered set records consisting
of just over 0.1% of the total customer contacts.

81.       Further, it is unreliable to draw meaningful conclusions based on approximately 20 self-
selected quotes at the end of this process. Moreover, she presented the quotes without context.
Ms. King provides no analysis of the outcomes for these interactions or the prior online and
tablet shopping experiences for those customers. Understanding outcomes and customer history
is critical because it speaks to the user experience and the satisfaction of the user after they
contacted Amazon.

82.       Nor does Ms. King identify how many of the 400 randomly selected records supported
each of her “themes.” As presented, no theme was supported by more than five quotes and two
were supported by just two quotes. Approximately 2.28% of the 219 selected records were
presented in support of the most common themes, but a more appropriate analysis would focus at

44
     Emphasis added.


                                            26
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least on the 400 randomly selected records, in which case only 1.25% of the records supported
the most common themes. Even then, however, those records were carefully selected by Ms.
King from the broader set of over 152,000 records and this full collection of over 152,000
records represents just a fraction of the total in-app purchases during this period.

83.        Finally, different conclusions can be drawn from even those limited quotes Ms. King
selects. For example, Ms. King relies on the quote, “my 5 year old was playing a free game on
my kindle and apparently unlocked sections of the game that you have to pay for” to support her
conclusion that “some customers assumed that a free app would not have a component that
allowed for paid purchases.” But that selected quote can just as easily support the inference that
the consumer already understood that free games could have “sections of the game that you have
to pay for” when unlocked and chose to disregard the available controls to prevent accidental
purchases when providing the device to a child.

           D.       Amazon Designed for Parents to Exercise Control Over Their Devices

84.        Ms. King emphasizes the need for parents to be able to control their children’s use of
credit-card-enabled devices, yet she ignores the design objectives and strategies that Amazon
employed when creating in-app purchasing for Amazon customers. The earliest consideration of
design objectives on the part of Amazon Appstore engineers and business leaders acknowledged
that parents would want the functionality to effectively control their children’s ability to make
purchases on an account-connected device, while simultaneously wanting the freedom to allow
their children access to such devices. Those customer needs were fully anticipated, and the
Amazon designers and planners included those objectives in their plans.

85.        For instance, as early as May 2011, months before in-app purchasing was first
introduced, Amazon’s design team circulated a Business Requirements Document that set forth
the proposed roadmap for in-app purchasing and the design objectives that had been identified.45
Under the heading “Customer Needs,” Amazon’s designers and planners observed that “Parental
Control” would be desired by parents, stating, “Adults buying for children (or enabling their
children to buy for themselves) will want the ability to guard against large, unexpected charges -


45
     Dep. Ex. 47, Deposition of A. Paleja (July 14, 2015).


                                                 27
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e.g. through addition of a PIN requirement or spending limits.”46 Ms. King ignores the fact that
Amazon built into its design the tools necessary for responsible parents to exercise the
supervision that they desired by “opting in” to enable Parental Controls.47

           E.           Dr. Rosenberg’s Usability Test

86.        As discussed above, a heuristic evaluation is not a substitute for usability testing, which
has the advantage of directly observing and evaluating users’ interaction with an interface. It is
my opinion that a usability test would provide relevant information about the conclusions I have
reached.

87.        On December 4, 2015, after I had formulated my opinions discussed above, Amazon’s
counsel informed me that another expert, Craig Rosenberg, Ph.D., had performed a usability test
in this case. I requested the opportunity to review it and did so.48 Based on my review of the
Rosenberg test, I have the following additional observations and opinions regarding how it
relates to the opinions I independently reached:

           a.           Dr. Rosenberg’s test is the type of usability test that I would find useful when
                        evaluating a user-interface design.

           b.           Findings in Dr. Rosenberg’s test buttress many of my opinions identified above.
                        For example:

                   i.          Nearly all test subjects viewing an app-description page understood that it
                               was possible to incur additional charges within an app that offered in-app-
                               purchasing opportunities;

                  ii.          All or nearly all test subjects understood the language used in the
                               “PLEASE NOTE” and Key Details notices relating to in-app purchasing
                               and Parental Controls, and nearly all subjects understood that they could
                               set Parental Controls to limit in-app purchases; and



46
     Ibid. at 00265969.
47
     Ibid. at 00265976.
48
     Expert Report of Craig Rosenberg (December 7, 2015).


                                                   28
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                 iii.         Nearly all test subjects understood the language used in the dialog box
                              introduced in May 2013 for first-time in-app purchases relating to in-app
                              purchasing and Parental Controls, and nearly all subjects understood the
                              dialog box presented the option of requiring a password for future in-app
                              purchases.49

IV.        Conclusion

88.        Heuristic evaluations of user interfaces are subjective and, particularly when limited to a
single evaluator, are prone to overestimate the number and severity of potential problems. It is
my opinion that the heuristic evaluation by Jennifer King is an incomplete analysis and draws
unreliable conclusions. Contrary to Ms. King, I conclude that Amazon’s initial design and
refinement of its user interface relating to in-app purchasing were reasonable and consistent with
the practice of the industry. They did not fall so far below contemporary, accepted business
practices that they would have unfairly confused parents about the presence of and opportunity to
make in-app purchases, about the presence of and opportunity to enable Parental Controls to
restrict in-app purchases, or the availability of and means to request a refund for any accidental
or unwanted in-app purchases.


Dated December 7, 2015



_____________________________________________
Andrew L. Sears, Ph.D.




49
     The test results revealed similarly positive results for the version of the dialog box introduced in June 2014.


                                                  29
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Appendix A: Curriculum Vitae of Dean Andrew Sears

                                             Andrew L. Sears

The Pennsylvania State University                                                              142 Fenwick Dr.
332 Information Sciences and Technology Building                                         Port Matilda, PA 16870
University Park, PA 16802                                                                       sears@acm.org
Andrew.Sears@psu.edu


Education
Ph.D., Computer Science. University of Maryland-College Park, May 1993

B.S., Computer Science. Rensselaer Polytechnic Institute, May 1988

Experience
Sept 2015 – Present           Interim Chief Information Security Officer, The Pennsylvania State University

July 2015 – Present           Professor and Dean, College of Information Sciences and Technology, The
                              Pennsylvania State University

Aug 2011 – June 2015          Professor and Dean, B. Thomas Golisano College of Computing and Information
                              Sciences, Rochester Institute of Technology

Aug 2008 – July 2011          Constellation Professor of Information Technology and Engineering, UMBC

Dec 2007 – Nov 2010           Professor of Research, US Department of Veterans Affairs

Oct 2007 – June 2013          Professor of Anesthesiology, University of Maryland, School of Medicine

Oct 2005 – July 2008          Associate Director, National Center for the Study of Elections, UMBC

Aug 2005 – July 2011          Affiliate Professor, Erickson School of Aging Studies, UMBC

July 2003 – July 2011         Professor, Information Systems Department, UMBC

July 2002 – July 2011         Chair, Information Systems Department, UMBC

Sept 2002 – June 2005         Member, Bioinformatics Research Center, UMBC

July 2001 – July 2002         Graduate Program Director, Information Systems Department, UMBC

Oct 2001 – July 2011          Director, Interactive Systems Research Center, UMBC

July 1999 – July 2003         Associate Professor, Information Systems Department, UMBC

July 1993 – June 1999         Assistant Professor, School of Computer Science, Telecommunications and
                              Information Systems, DePaul University

Aug 1988 – July 1993          NASA Fellow/Research Assistant, Human-Computer Interaction Lab, Computer
                              Science Department, University of Maryland – College Park.



                                             30
                         CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
Oct 1990 – July 1993           Software Engineer, NASA Goddard Space Flight Center, Greenbelt, Maryland

May 1990 – Aug 1990            Usability Engineer, Sun Microsystems, Billerica, Massachusetts

Prior Testimony
In the Matter of Certain Mobile Handset Devices and Related Touch Keyboard Software,” Investigation number
       337-TA-864, U.S. International Trade Commission.

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Sears, A. (1997). Forums for Improving HCI Education, SIGCHI Bulletin (pp. 6-7), Volume 29, Number 2, New
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Sears, A. (1993). Layout Appropriateness: Guiding user interface design with simple task descriptions, Ph.D.
       Dissertation, Computer Science Department, University of Maryland, College Park, MD.

Sears, A. (1993). Layout Appropriateness: Guiding user interface design with simple task descriptions, HCIL Open
       House '93 Videotape, Human-Computer Interaction Lab, University of Maryland, College Park, MD.

Sears, A., & Shneiderman, B. (1991). Touchscreen Keyboards, HCIL Open House '91 Videotape., Human-Computer
       Interaction Lab, University of Maryland, College Park, MD.

Sears, A., & Shneiderman, B. (1991). PlayPen II: A novel finger painting program, HCIL Open House '91
       Videotape, Human-Computer Interaction Lab, University of Maryland, College Park, MD.

Select Research Support
10/10 – 9/11 NIST (iDoxSolutions)       Voting System Dexterity Analysis                          PI     $45,744

9/10 – 8/11   NSF                       Accessible Electronic Health Records: Defining            PI     $24,747
                                        a Research Agenda

10/09 – 9/12 US Department of           Cognitive decline, work, and technological               PI     $180,000
             Education, NIDRR           interruptions




                                              41
                          CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
7/09 – 6/10   MD Commission on       IT support for community health                            PI    $49,684
              Community Health

6/09 – 6/10   MD Judiciary, Office   Web design: Information Architecture,                      PI   $120,000
              Of Communications      Accessibility, and New Technologies
              and Public Affairs

4/09 – 3/10   IBM                    Interruption recovery in an aging workforce:               PI    $40,000
                                     The role of cognitive abilities and visual cues

2/09 – 1/10   MD Department of       Anomaly detection for traffic management data           Co-PI    $53,580
              Transportation – State
              Highway Administration

1/09 – 12/09 Quality Assured         Consortium for Information Technology and               Co-PI    $40,000
             Services                Health Outcomes Research (CITHOR)

7/08 – 6/09   MD Commission on       IT support for community health                            PI    $49,684
              Community Health
              Resources

7/08 – 1/09   Department of          Evaluation of a web based Multiple                      Co-PI    $67,500
              Veterans Affairs       Sclerosis education

9/07-9/08     Para Consulting        Healthcare and computer assisted education              Co-PI    $23,616
              (VA funding)

9/07 – 6/08   MD Commission on       IT support for community health                            PI    $93,999
              Community Health
              Resources

9/07 – 9/08   Para Consulting        Multiple Myeloma VA Education Program                   Co-PI    $62,395
              (VA funding)

5/07 – 4/08   State of Maryland      Maintaining and supporting website                      Co-PI   $125,913
              Board of Elections     mdelections.umbc.edu

1/07 – 12/09 NSF                     MRI: Acquisition of equipment to establish a research      PI   $180,000
                                     Infrastructure to support HCI and UA research

9/06 – 8/07   NSF                    Human-centered computing: Defining a research agenda PI          $47,212

2/06 – 12/06 State of Maryland       Candidates Database                                     Co-PI    $63,460
             Board of Elections

2/06 – 12/06 State of Maryland       Campaign Finance Database                               Co-PI   $138,468
             Board of Elections

2/06 – 8/06   State of Maryland      Electronic Voter Interfaces                                PI    $57,176
              Board of Elections




                                             42
                         CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
2/06 – 1/07   NSF                     Consortium on IT accessibility                               PI    $28,766

12/05 – 11/08 US Department of        Optimized Hands-Free Speech Recognition                      PI   $449,653
              Education, NIDRR

11/05 – 4/06 The Paciello Group       FEMA web site usability study                                PI     $8,117

11/05         The Verizon Foundation IT accessibility research                                     PI    $25,000

8/05 – 1/06   State of Maryland       State Elections Board Technical Evaluation                Co-PI   $114,800
              Board of Elections

6/05          IBM                     Increased accessibility thorugh speech-based                 PI    $30,000
                                      interactions for mobile technologies

6/05 – 5/07   NSF                     Consortium for research on accessible computing              PI    $28,673

3/05 – 2/06   NSF                     IT-Oriented Functional Assessments                           PI    $99,320

6/04          IBM                     Increased accessibility thorugh speech-based                 PI    $40,000
                                      interactions for mobile technologies

8/04 – 8/07   US Department of        Graduate Assistantships in Areas of National Need         Co-PI   $622,665
              Education

9/03 – 8/06   NSF                     Using speech recognition to enhance communication            PI   $408,902
                                      capabilities for individuals with physical disabilities

4/03 – 3/06   NSF                     REU Site: Human-Computer Interaction                      Co-PI   $236,146

9/02 – 8/03   NSA                     Visualization for intrusion detection                     Co-PI   $149,827

9/02 – 8/03   NSA                     Visualization for intrusion detection:                    Co-PI    $99,862
                                      Identifying promising research directions

9/01 – 8/06   NSF                     Universal access for situationally induced                   PI $1,050,020
                                      impairments

9/01 – 8/06   NSF                     REU Supplement: Universal access for                         PI    $33,000
                                      situationally induced impairments

1/01 – 12/01 Aether Systems, Inc.     Speech recognition based data entry for handheld             PI    $93,320
                                      mobile computing devices

3/01 – 2/02   NSF                     Human-Computer Interaction Doctoral                       Co-PI    $30,000
                                      Research Consortium

9/99 – 8/03   NSF                     Using speech recognition to enhance communication            PI   $456,284
                                      capabilities for individuals with disabilities

9/99 – 9/04   Motorola, Inc.          Text input methods for hand-held devices                     PI   $105,034




                                             43
                         CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
6/99 – 12/99 Intel Corporation         Exploring system performance, cognitive demands,         PI      $12,650
                                       interface design and user productivity

10/98 – 12/99 Platinum Technologies    Software for assessing system response time and user     PI      $81,750
                                       productivity

4/98 – 12/99 Intel Corporation         Exploring the relationship between system                PI    $122,213
                                       performance and user productivity

4/97 – 3/98   Microsoft Corporation    The impact of internet delay and document                PI      $17,887
                                       content on user perceptions

9/91 – 5/93   NASA                     Layout Appropriateness: Guiding user interface           PI      $44,000
                                       design with simple task descriptions

Select Editorial Activities
x Member of Editorial Board, ACM Transactions on Accessible Computing (2013-present)
x Associate Editor, ACM Transactions on Computer-Human Interaction (2011 – present)
x Associate Editor/Member of Editorial Board, European Journal of Information Systems (6/2009-12/2012)
x Member of Editorial Board, International Journal of Human-Computer Studies (2008 – present)
x Member of Editorial Board, International Journal of Mobile Human-Computer Interaction (2008-2010)
x Editor-in-Chief (with Vicki Hanson), ACM Transactions on Accessible Computing (2006-2013)
x Co-Editor, Special issue of ACM Transactions on Computer Human Interaction (2006)
x Co-Editor, Special issue of Behaviour and Information Technology on Accessible Computing (2005)
x Member of Editorial Board, Journal of Organizational and End User Computing (2003 – 2007)
x Member of Editorial Board, International Journal of Human-Computer Interaction (2001 – 2009)
x Member of Editorial Board, Universal Access in the Information Society (2000 – 2015)
x Editor, Special Issue of the International Journal of Human-Computer Interaction on Empirical Studies of
    WWW Usability (to be published as issue 12(2) in 2000)
x Guest Editor (with Arnold Lund) for a Special Issue of IEEE Software on Creating Effective Interfaces, Volume
    14, Number 4 (July/August 1997)

Select Conference Committee Activities
x Co-chair, Technical Program, International Conference on Multimodal Interaction, 2013
x Associate Chair, Program Committee, ACM Conference on Computer Human Interaction 2012
x Judge, Student Research Competition, ASSETS 2011
x Associate Chair, Program Committee, ACM Conference on Computer Human Interaction 2011
x Associate Chair, Program Committee, ACM Conference on Computer Human Interaction 2010
x Judge, Student Research Competition, ASSETS 2008
x Co-chair, Doctoral Consortium, Assets 2006
x Conference Chair, Assets 2005
x Chair, Program Committee, Assets 2004
x Registration Chair, ACM Conference on Universal Usability 2003
x Publicity Chair, Assets 2002. Responsible for all publicity for the conference.
x Conference and Technical Program Co-Chair, CHI 2001. Responsible for committee selection (approximately
    35 volunteers and 20 professional staff), budget development (over $2.2 million), and managing all logistical
    and technical aspects of the conference. CHI is the premier conference on human computer interaction and
    regularly attracts over 2500 attendees.
x Associate Chair, Program Committee, ACM Conference on Universal Usability 2000.
x Student Volunteers Co-chair, CHI 99. Responsibilities: Organize, schedule, and oversee 150 volunteers
x Tutorials Co-chair, CHI 98. Responsibilities: Run review process, select tutorials, deal with all logistical
    concerns, oversee tutorials program. The tutorials program traditionally makes approximately ½ of the revenue


                                              44
                          CONFIDENTIAL PURSUANT TO PROTECTIVE ORDER
    for the conference. The tutorials program included 36 tutorials over 3.5 days and resulted in approximately 3500
    ½ day tutorial units being sold. This was one of the most successful tutorials programs at any CHI conference.
x   Doctoral Consortium Faculty Advisor, INTERACT’99.

Select Awards/Honors
x ACM Distinguished Scientist, 2010
x SIGACCESS Recognition of Service Award for serving as Conference Chair of Assets 2005, 2005
x SIGACCESS Recognition of Service Award for serving as Program Chair of Assets 2004, 2004
x Best Paper Award, Hawaii International Conference on Systems Science, Internet and Digital Economy Track,
    2005
x SIGCHI Recognition of Service Award for serving as Chair of CHI 2001, 2001
x SIGCHI Recognition of Service Award for Chairing the Chicago Area Chapter of SIGCHI, 1999
x SIGCHI Recognition of Service Award for serving as Tutorial Chair for CHI 1998, 1998
x Selected to participate in the CHI 1992 Doctoral Consortium, 1992

Other
x Organizer, CHI 2011 Workshop on Data Driven Accessibility with L. Findlater, K. Gajos, A. Hurst, S. Trewin,
   and J. Wobbrock (May 2011).
x Organizer, CHI 2002 SIG on “User involvement in the web development process.” With Jonathan Lazar –
   Towson University, Julie Jacko – Georgia Institute of Technology, and Julie Ratner (April 2002).
x Conducted a workshop at CHI 2000: “A Compendium of Practical Techniques for HCI Instruction.” With
   Marian Williams – University of Massachusetts – Lowell (April, 2000)
x Co-chair and founder of the ACM SIGCHI Educational Resource Development Group (June 1996 – May 1998)
x Member, ACM SIGCHI International Advisory Task Force
x Organized and moderated the panel at CHI 98: “Famous HCI Educators Tell All” with Marian Williams -
   University of Massachusetts – Lowell (April, 1998)
x Panelist at HFWeb 3 - The Third Conference on Human Factors and the Web. “Web Usability: Search for a
   yardstick.” Organized by Jean Schotz – NIST (June, 1997)
x Organized and moderated the panel at CHI 97: “None of the above: What’s really essential in HCI Education?”
   with Marian Williams - University of Massachusetts – Lowell (March 1997)
x Conducted workshop at CHI 96: “Educating HCI Practitioners: Evaluating what industry needs and what
   academia delivers.” with Mary Czerwinski, Laurie Dringus, and Barbara Bernal Thomas (April, 1996)
x Conducted workshop at CHI 95: “Increasing collaboration between industry and academia in HCI education.”
   With Maxine Cohen, Laurie Dringus, and Susan Hornstein (May, 1995)
x Participant in workshop at CHI 94: “Designing the teaching of HCI.” Organized by Jonas Lowgren, Clark
   Quinn, Jean Gasen, and Peter Gorney (April 1994)
x Conducted workshop at ACM SIGUCCS '89.: “Hypertext Workshop.” (October 1989)

Select Service
x 2013-Present, Member, USACM (ACM US Public Policy Council) Accessibility Committee
x 2013-2015, Member, Board of Trustees, Al Sigl Community of Agencies
x 2011-2014, ACM SIG Governing Board Representative to the ACM Council
x 2010-2012, Vice Chair for Operations, ACM Special Interest Group Governing Board Executive Committee
x 2009 – 2012, Member, ACM Special Interest Group Governing Board
x 2009 – 2015, Chair, ACM SIGACCESS
x 2006 – 2009, Member, Steering Committee, Maryland Governor’s Workforce Investment Board, IT industry
    workforce initiative
x 2006 – 2009, Vice chair, ACM SIGACCESS
x 2005 – 2015, Member, Assets Conference Steering Committee, ACM SIGACCESS
x 2001 – 2006, Secretary/Treasurer, ACM SIGACCESS
x 1997 – 1999, Founding Chair, Chicago area Chapter of ACM SIGCHI



                                              45
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Appendix B: Materials Considered

   x   Expert Report of Ravi Dhar (October 16, 2015)
   x   Expert Report of Donna Hoffman (October 16, 2015)
   x   Expert Report of Michael Callahan (October 16, 2015)
   x   Expert Report of Jennifer King (October 16, 2015)
   x   Expert Report of Daniel Hamermesh (October 15, 2015)
   x   Expert Report of Craig Rosenberg (December 7, 2015)
   x   Amazon_ 00265966-77; Amz_FTC_0037648-66; Amazon_00008749-00008892;
       Amazon_00290192-00290446; Amazon_00385350-00385372.
   x   Deposition Ex. 189 (M. Harbut)
   x   Deposition transcript of Ryan J. Kortekaas (July 23, 2015)
   x   Deposition transcript of Ameesh Paleja (July 14, 2015)
   x   In re Apple Inc., Dkt. No. C-4444, Complaint, Federal Trade Commission (Mar. 2014)
       (FTC_AMZ_00000001)
   x   In re Google Inc., Dkt. No. C-4499, Complaint, Federal Trade Commission (Dec. 2014)
       (FTC_AMZ_00000025)
   x   Amazon Memorandum to Federal Trade Commission (May 30, 2014)
   x   Amazon Presentation to FTC, Part 2 (In-App Purchasing at Amazon A Discussion with
       the Federal Trade Commission) (Jun3 2014)
   x   Device and Feature Specifications,
       https://developer.amazon.com/appsandservices/solutions/devices/kindle-
       fire/specifications/01-device-and-feature-specifications.
   x   Fire tablet, 7" Display.
   x   Potter, Richard L., Linda J. Weldon, and Ben Shneiderman. “Improving the accuracy of
       touch screens: an experimental evaluation of three strategies.” Proceedings of the
       SIGCHI conference on Human factors in computing systems. ACM, 1988
   x   Sears, Andrew, and Ben Shneiderman. “High precision touchscreens: design strategies
       and comparisons with a mouse.” International Journal of Man-Machine Studies 34.4
       (1991): 593-613
   x   Sears, Andrew, et al. “Investigating touchscreen typing: the effect of keyboard size on
       typing speed.” Behaviour & Information Technology 12.1 (1993): 17-22
   x   Zhai, Shumin, and Per Ola Kristensson. “The word-gesture keyboard: reimagining
       keyboard interaction.” Communications of the ACM 55.9 (2012): 91-101




                                          46
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x   Cockton, Gilbert, and Alan Woolrych. “Understanding inspection methods: lessons from
    an assessment of heuristic evaluation.” People and Computers XV—Interaction without
    Frontiers. Springer London, 2001. 171-191
x   Nielsen, Jakob, and Rolf Molich. “Heuristic evaluation of user interfaces.” Proceedings
    of the SIGCHI conference on Human factors in computing systems. ACM, 1990
x   Sears, Andrew. “Heuristic walkthroughs: Finding the problems without the noise.”
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x   Law, Effie Lai-Chong, and Ebba Thora Hvannberg. “Analysis of strategies for improving
    and estimating the effectiveness of heuristic evaluation.” Proceedings of the third Nordic
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x   Chisnell, Dana. “What you really get from a heuristic evaluation.” UX Magazine, Feb.
    19, 2010. http://uxmag.com/articles/what-you-really-get-from-a-heuristic-evaluation
x   Hartson, R., & P.S. Pyla, The UX Book: Process and guidelines for ensuring a quality
    user experience, Elsevier (2012)
x   Nielsen, Jakob. “Finding usability problems through heuristic evaluation.” Proceedings of
    the SIGCHI Conference on Human Factors in Computing Systems (CHI ’92), ACM,
    New York, NY, USA, 373-380.
x   Shneiderman et al., Designing the User Interface: Strategies for Effective Human-
    Computer Interaction.
x   http://www.nngroup.com/articles/how-to-rate-the-severity-of-usability-problems/
x   http://www.nngroup.com/articles/how-to-conduct-a-heuristic-evaluation
x   http://www.nngroup.com/articles/usability-problems-found-by-heuristic-evaluation/.
x   http://www.usability.gov/how-to-and-tools/methods/heuristic-evaluation.html.




                                      47
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